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                         IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF IOWA
                                 DAVENPORT DIVISION

JOHN DOE,                                 )
            Plaintiff,                    )
     vs.                                  )         Case No: 19-CV-00047
                                          )
UNIVERSITY OF IOWA;                       )
BOARD OF REGENTS, STATE OF IOWA;          )         COMPLAINT
TIFFINI STEVENSON EARL,                   )
individually and in official capacity;    )
IRIS FROST, individually and in           )
official capacity;                        )         JURY TRIAL DEMAND
LYN REDINGTON, individually and in        )
official capacity;                        )
ANGIE REAMS, in official capacity;        )
CONSTANCE SCHRIVER CERVANTES,             )
individually and in official capacity;    )
JOHN KELLER, individually and in          )
official capacity;                        )
MONIQUE DICARLO, individually and in      )
official capacity;                        )
MARK BRAUN, individually and in           )
official capacity.                        )
                Defendants.               )




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L.       COUNT 13: 42 USC § 1983 (Violation of Right to Freedom of Speech under 1st and 14th

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                                             I.     NATURE OF ACTION

1.       Plaintiff John Doe1 (“Doe”), by and through his attorney Rockne Cole of Cole Law Firm PC, file

suit after Defendants at the UNIVERSITY OF IOWA (UI) and Defendants at the BOARD OF REGENTS,

STATE OF IOWA (The Board) harmed him irreparably by a campus disciplinary process that failed to

meet the minimum standards of due process. Doe seeks damages and injunctive relief to remedy

emotional, mental, and economic harm, damage to his future education and career prospects, and loss of

his tuition payments caused by Defendants arising out of false allegations of sexual misconduct.

2.       Sally Roe (Sally or Complainant One) and Lisa Roe (Lisa or Complainant Two) were two women

in a UI group/lab whom Doe stated were friends. They both accused Doe of sexual misconduct after Doe

accused Complainant One of recording incorrect hours in the lab sign-in sheet to receive credit for school

work when she was not doing work in the lab and being continually late in her work. Both accused Doe

of alleged sexually touching them without their consent in August/September 2016, sexual harassment,

and bringing alcohol to the group/lab.




1
  Contemporaneously with the filing of this Complaint, Plaintiff has filed a Motion for Permission to Proceed under
Pseudonym, given the extremely sensitive and private nature of the matters alleged herein. The Defendants are aware
of his identity and will not be prejudiced in any way. Plaintiff also seeks to maintain the privacy rights of his accusers,
and other student-witnesses in the underlying student disciplinary proceeding. He is requesting permission to identify
his accusers as "Sally Roe" and "Lisa Roe”, and other current and former University students discussed by their
initials.
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3.     The Investigator, Defendant Stevenson Earl, after conducting a biased and unlawful investigation,

where she excluded exculpatory information, recommended Doe to be suspended or expelled from UI if

found responsible for sexual assault.

4.     Sally filed the first complaint almost six months after the alleged sexual encounter. As it relates to

sexual assault, the false allegations were from a night, Sally and Doe went on a date. The allegations were

kissing without verbal consent and touching her breast over her bra once.

5.     About two weeks after the first complaint, Lisa filed the second complaint six months after the

alleged sexual encounter. As it relates to sexual assault, the false allegations were touching of her breast

without consent once. This should have raised a red flag to the investigators as to why the two accusations

were so close together, yet the alleged incidents occurred over six months in the past.

6.     Lisa Roe filed the complaint after the first complainant, Sally, gave her contact information of the

Title IX Coordinator out of the blue and apparently said: “I’m here for you.” Yet, both claim they knew

no details about each other’s involvement with Doe.

7.     Lawsuits seeking to remedy a university’s gender-biased application of Title IX policies

sometimes come too late. For example, at least two male students committed suicide after their universities

mishandled allegations that they engaged in sexual misconduct. See, e.g., Ashe Schow, She Accused Him

Of Stalking After A One-Day Facebook Chat. The Campus Process Led Him To Overdose, Lawsuit

Claims.      (https://www.dailywire.com/news/44385/she-accused-him-stalking-after-one-day-facebook-

ashe-schow)(accessed Mar. 10, 2019); Ashe Schow, Texas student commits suicide after Title IX

Kangaroo Court, (https://www.watchdog.org/issues/education/texas-student-commits-suicide-after-title-

ix-kangaroo-court/article_c16a55b7-0e53-5303-b39f-f5b4e4b834ae.html)(accessed Mar. 10, 2019).


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8.       Like the decision in Brown2, the facts detailed below outline how Defendants at UI; and

Defendants at The Board (collectively Defendants) violated UI Policies, Doe’s Title IX, due process, and

equal protection rights. Defendants did this by creating a gender-biased, hostile environment against males

based in part on UI’s pattern and practice of disciplining male students who engage in consensual sexual

activity with female students.

9.       UI’s disciplinary process presumed guilt, prevented Doe from defending himself during the

investigation, adjudication, or appeal staged, arbitrary admitted and excluded evidence, and discriminated

against Doe due to outmoded stereotypes relating to aggression by men while ignoring similar behavior

by the women in this case.

10.      Defendants at UI; and the Board knew they were violating judicial decisions which held that

conduct such as theirs was violative of students’ Title IX and due-process rights.

11.      UI Defendants’ violations of UI’s Policies, Doe’s Title IX, due process, and equal protection rights

occurred because of:

          (a) UI Defendants’ gender biased motivations against male students like Doe; which is

demonstrated, in part, in the direct and Indirect Evidence of Gender Bias3 outlined in this Complaint;


2
  The lawsuits filed by male students often trigger hostile reactions which Brown Univ. discussed by noting:
“ . . . . the Court is an independent body . . . [that] cannot be swayed by emotion or public opinion. After issuing the preliminary
injunction this Court was deluged with emails resulting from an organized campaign to influence the outcome. These tactics,
while perhaps appropriate and effective in influencing legislators or officials in the executive branch, have no place in the
judicial process. This is basic civics, and one would think students and others affiliated with a prestigious Ivy League institution
would know this. Moreover, having read a few of the emails, it is abundantly clear that the writers, while passionate, were
woefully ignorant about the issues before the Court. Hopefully, they will read this decision and be educated.” Doe v. Brown
Univ., Case No. 16–017 S, 2016 WL 5409241 (D.R.I. Sept. 28, 2016).
3
  The term “Indirect Evidence of Gender Bias” as used in this Complaint refers to statements from which at least the following
inferences can be drawn: (1) a primary advocacy on behalf of females who allege males engaged in sexual misconduct; (2)
minimal or no advocacy on behalf of males who are alleged to have engaged in sexual misconduct towards females; (3) minimal
or no advocacy for protecting females from sexual misconduct perpetrated by other females; and/or (4) minimal or no advocacy
for protecting males from sexual misconduct perpetrated by females.
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and/or (b) UI Defendants bias for female students who accuse Asian male students of engaging in sexual

misconduct, demonstrated in part, in the direct and indirect evidence of bias outlined in this Complaint.


                                            II.   PARTIES
Plaintiff

12.    Plaintiff, John Doe, is a male resident of Iowa and was a student at the University of Iowa (UI)

during the relevant time period.

13.    Doe was a graduate student pursuing his Master’s degree at UI when UI expelled him unlawfully

in October 2017 for what they call sexual misconduct.

14.    Doe had ambitions of getting a Ph.D. in counseling psychology.

Defendants

15.    Defendant University of Iowa ("UI") is an Iowa collegiate institution and Public University in

Iowa City, Iowa.

16.    UI receives federal funding and aid.

17.    Defendant ‘Board of Regents, State of Iowa,’ (The Board) operates, governs, and has legal control

and responsibility for the functions of the UI.

18.    Alleged herein, UI, and the other named Defendants were operating under the authority and

supervision of The Board.

19.    Defendant Tiffini Stevenson Earl (“Stevenson Earl” or “The Investigator”) is a Compliance

Specialist and ADA Coordinator at UI’s Office of Equal Opportunity and Diversity. She was UI’s ‘Judicial



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Administrator/Investigator’ for the Title IX investigation during the relevant time period. She is sued in

her official and individual capacity.

20.       Defendant Iris Frost (“Frost” or “The Adjudicator”) is an Associate Professor in UI’s Department

of Rhetoric. She was a former prosecutor in Johnson County, and was UI’s chosen ‘Adjudicator’ in the

biased disciplinary process against Doe. She is sued in her official and individual capacity.

21.       Defendant Lyn Redington (“Redington” or “Dean of Students”) was UI's Assistant Vice President,

and Dean of Students for Student Affairs. She expelled Doe and did not provide a rationale for his

disciplinary action even though UI policy states that the Dean of Students should provide one for the

action they chose.4 She is sued in her official and individual capacity.

22.       Defendant Angie Reams is the UI’s Interim Associate Vice President and Dean of Students for

Student Affairs since Redington left UI. She is named only in her official capacity for injunctive relief.

23.       Defendant Constance Schriver Cervantes (“Cervantes” or “The charging officer”) is a compliance

coordinator at UI’s Office of Equal Opportunity and Diversity (“EOD”). She was the UI’s chosen charging

officer, and the person whose contact information UI provided to Doe if he had questions regarding the

hearing. She is sued in her official and individual capacity.

24.       Defendant John Keller (“Keller”) is the UI’s Associate Provost for Graduate Education. He

rejected the appeal Doe sent to the UI’s Office of the Provost. Keller had the opportunity and the authority

to take corrective action to end the inaccurate discrimination to Doe after receiving Doe's notice of internal

appeal sent to UI's Office of the Provost.He is sued in her official and individual capacity.




4
    https://dos.uiowa.edu/policies/student-misconduct-procedure/
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25.    Defendant Monique DiCarlo (“DiCarlo” or “Title IX Coordinator”) was UI’s ‘Sexual Misconduct

Response Coordinator’ when Doe’s investigation began. During July 2017, while Doe was still going

through UI’s Student Judicial Procedure, UI gave DiCarlo the additional position of ‘Title IX

Coordinator.’ Upon information and belief, DiCarlo is the Chair of the Anti-Violence Coalition.

26.    DiCarlo conducted the initial intake interview of the complainants in the investigation.

27.    Upon information and belief, DiCarlo overlooks the gender-biased training investigators and

Adjudicators receive.

28.    Upon information and belief, DiCarlo influenced the gender-biased programs offered by Ending

Violence at Iowa, such as the Men and Masculinities Coalition, and the IDEAL Campus Culture Project,

the gender-biased ‘self-defense workshops,’ and others offered by The Office of the Sexual Misconduct

Response Coordinator (OSMRC), thereby setting up a hostile environment for males.

29.    Upon information and belief, DiCarlo was responsible for rejecting, on behalf of UI, the

Department of Education’s new sexual misconduct interim guidelines, a time during which Doe was going

through UI’s Student Judicial Procedure.

30.    DiCarlo is sued in her official capacities as ‘Sexual Misconduct Response Coordinator,’ ‘Title IX

Coordinator,’ Chair of the Anti-Violence Coalition, and in her individual capacity.

31.    Defendant Mark Braun (Braun) is the Executive Director of the Board of Regents, State of Iowa

(“The Board.”) Braun had the authority to take corrective action to end the discrimination Doe gave him

actual notice of in his written brief. However, Braun disregarded and rejected at least part of the appeal

that Doe sent to the Board. He is sued in his official and individual capacity.

32.    At all relevant times herein, Defendants acted under color of state law.

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                                 III.      JURISDICTION AND VENUE

33.     This Court has subject-matter jurisdiction over Plaintiff's federal claims under 28 U.S.C. §§ 1331

and 1367 because the claims either involve questions arising under Title IX of the Education Amendments

of 1972, 20 U.S.C. §§ 1681-88 ("Title IX") or denial of Fourteenth Amendment Due Process under 42

U.S.C. § 1983.

34.     This Court has personal jurisdiction over all Defendants because the actions giving rise to

Plaintiff's lawsuit occurred in Iowa City, Iowa.

35.     The venue is proper in this Court under 28 U.S.C. § 1391 because a substantial part of the events

or omissions giving rise to the claim occurred in the Southern District of Iowa.


                                IV.     INTRODUCTION TO JOHN DOE

36.     John Doe is an international student. He is a citizen of a South Asian country5 (Country One);

however, he has never lived in that country.

37.     Doe’s parents migrated from South Asia to a country in the Middle East in which Doe was born.

However, the Middle Eastern country (Country Two) does not offer birthright citizenship nor permanent

residency to foreigners.

38.     Growing up, Doe survived multiple wars and sought shelter in refugee tents as a child, and under

tables in schools as a teenager when air raid sirens sounded.




5
  Due to the credible fear of his physical safety and the Government’s latest crackdown on spying and arresting citizens who
criticize or misrepresent the country, Doe chooses to not name the country in case he gets deported.
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39.      Doe came to the United States by himself to pursue his undergraduate degree at UI beginning in

Fall 2008.

40.      During the Spring 2014 semester, when Doe was an undergraduate student, he joined a student-

run research group supervised by Dr. Michael Lovaglia (“Dr. Lovaglia”), a UI Professor in the Department

of Sociology.

41.      The group was in a transition of moving out of Seashore Hall basement to W411 Seashore Hall,

which became the designated location for the group when Doe joined the group. The room was called a

“lab.”

42.      Upon information and belief, this group/lab was not registered under UI, nor UI’s Department of

Sociology.

43.      Dr. Lovaglia created this group/lab to facilitate students to design and conduct their independent

research.

44.      Doe learned about the group/lab in 2014 while taking a class with Dr. Lovaglia, who was also his

academic advisor for his undergraduate degree in sociology.

45.      Dr. Lovaglia, a UI professor of nearly 30 years, characterized Doe as one of the “best students” he

had and described him as friendly and a “very social person.”

46.      When Doe joined the group/lab, there were no positions for anyone, and Doe saw no students with

any positions in the group/lab.

47.      When Doe joined the group/lab, it was informal, and it remained informal. Any student in any

program could join the group/lab if they were interested. It was accessible to students 24 hours a day



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during the weekdays. Most students in the group/lab met during the evening/late hours. Group/Lab

meetings were on Friday at 12:30 p.m. for about one hour.

48.    Dr. Lovaglia was not present in the group/lab other than the times he attended some group/lab

meetings.

49.    In 2015, Doe received his Bachelor of Arts, in psychology and sociology. However, Doe kept

attending the lab as he wanted to do his independent research.

50.    In early 2016, after Doe had graduated, everyone that attended group/lab at the time decided it

should have a name, and they named it “Sociology Undergraduate Research Group” (“SURG” or “lab”).

51.    Doe was accepted into UI’s Graduate College in January 2016, and in the summer of 2016, Doe

officially began a Master’s program in mental health counseling and rehabilitation.

52.    In 2016, Doe and another student, Ms. E.C., were working on their independent research studies

in SURG. People who ran studies could request help, and everyone tried to help those who asked for help.

53.    Although Doe continued the independent research project, he created while a part of SURG during

his undergraduate years, his graduate program had no affiliation with SURG. Sociology is part of UI’s

College of Liberal Arts and Sciences. Doe’s program was at the UI College of Education and therefore

was in a completely different department and different UI college.

54.    Doe was not receiving any credit nor assistance from SURG.

55.    Doe denied the sexual misconduct allegations. Doe asserts:

         A. He was innocent, and wrongly found to have committed the offense.
         B. Regardless of Doe’s alleged misconduct UI found him “responsible” for, his gender as
            a male affected the severity of the penalty.


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           C. Regardless of Doe’s alleged misconduct UI found him “responsible” for, his race
              and/or national origin affected the severity of the penalty.

56.    Both complainants admitted they were not afraid of Doe physically.

57.    None of the two complainants reported these allegations to law enforcement authorities/police.

58.    Throughout the investigation, UI’s discrimination, errors, and flawed procedures resulted in a

Kafkaesque process. UI was negligent and failed to provide Doe with a meaningful standard of due

process.

59.    UI created a prejudicial hostile environment for accused males like Doe as it:

       a) Prevented Doe from investigating or interviewing witnesses due to anti-retaliation;
       b) Employed gender, outmoded and archaic stereotypes taking into consideration the female
          reports while completely ignoring similar concerns expressed by Doe, policy, his attorney
          could not UI was negligent and failed to provide Doe with a meaningful standard of due
          process,
       c) Hired prosecution oriented adjudicators such as Frost while refusing to hire adjudicators
          experienced in the criminal law of sexual misconduct, who had defended accused males;
       d) Prevented Doe from cross-examining either of the accusers through his attorney during the
          hearing;
       e) Applied different evidentiary standards for determining the credibility of the accused and
          accusers,
       f) “Started by believing” the female accusers while presuming the guilt of the accused,
       g) Ignored exculpatory information that would find males like Doe not responsible, such as Sally
          describing the entire event was “consensual” to Dr. Lovaglia days after the event,
       h) Applied different standards to males and females that were not found in the UI Disciplinary
          Procedure, and
       i) Refused to consolidate the hearing as requested by Doe’s attorney, thereby having accused
          males like Doe simultaneously face both the accusers, their advocates, their attorneys, and UI’s
          charging officer attorney, and a biased Adjudicator, all of whom were females, when it is their
          time to testify.


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       j) Provided no such support for the accused males. Doe did not have any idea what to do when a
          formal hearing was recommended, while UI provided the female accusers' information and
          access to resources, such as attorneys and advocates, for free.
       k) Expelled males like Doe without giving a rationale for the expulsion as required by UI policy.

60.    Doe consistently voiced such concerns in his appeals to the UI Office of the Provost and The Board

regarding the discrimination and lack of due process he endured during UI’s Student Judicial Procedure.

61.    Both the Provost and the Board had the authority to take corrective action to afford an impartial

due process and end the discrimination after Doe gave them notice.

62.    Doe also stated he did not want to sue UI and offered ample opportunities to rectify the issues by

bringing them to UI’s attention. Doe brought most issues regarding UI’s Student Judicial Procedure in

this complaint to UI and the Board’s attention.

63.    Neither UI nor the Board addressed the issues.

64.    In Doe’s own words in his appeal:

         “What followed after these complaints were filed in was appalling. The internal university
         investigation that led to this result was so tainted by ineptitude and bias, that it violated my
         contractual and legal right to a fair disciplinary process. This does not align with what I have
         viewed UI as over the many years I have been here for, nor does it align with the values that
         UI embodies.”

65.    UI did not provide Doe with the accommodations available to him he requested during the

investigation.

66.    All of this conduct derailed Doe’s education, tarnished his reputation, and permanently damaged

his future career and educational prospects




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67.     UI’s violation of Title IX for discrimination toward Doe created a prejudicial and a hostile

environment. These unjustified actions violated its contract with Doe and the requirements of Title IX of

the Education Amendments of 1972.

68.     UI expelled Doe from his program for what UI calls sexual misconduct in October 2017, when

Doe had just two short months of studies remaining on campus before he graduated.

69.     Doe’s next and final semester before receiving his degree would have been an off-campus

practicum. Doe could have completed that anywhere in the country, and he would have become the first

generation of his family to get a Master’s degree.

70.     Instead, Doe lost his F-1 visa6, placing him at risk of removal proceedings to a South Asian country

in which he has never lived.

71.     This made it especially dangerous as the militant group, ISIS, targeted students in that country who

study/studied in the United States, along with people who identify as secular, or as academics7.

72.     During the disciplinary proceedings, Doe applied for political asylum in the U.S., which altered

his visa status8. Doe’s application is pending at the time of submitting this Complaint. Unless the

Department of Homeland Security grants the asylum, Doe will be in removal proceedings from the U.S.

73.     Upon information and belief, since 2005 up until Doe was expelled, UI expelled less than ten

people in total for sexual misconduct, including Doe.



6
  Expulsion from the school which has issued the most current Form I-20 would cause one to lose the status of Foreign Student
and the right to legally remain in the United States. Under such circumstances, the student is expected to depart the United
States immediately. www.f1studentvisa.com/maintaining-status.html.
7
  At each stage of the UI’s Student Judicial Procedure, Doe made UI aware of these legitimate fears and concerns. Doe likewise
made the Board aware of this and even provided evidence. Both showed no understanding of his unique situation.
8
  Doe was supposed to have his family visit him for his graduation in 2018. Due to UI’s unlawful conduct, that did not occur,
and Doe has not been able to see his family since January 2015.
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74.    According to UI Dean of Students statistics, Doe was the sole student to get expelled for sexual

misconduct in the 2017-2018 academic year.


                                 V.     STATEMENT OF FACTS
A.       COMPLAINANT ONE – SALLY ROE

FALL 2016

75.    Six months after the alleged encounter, and after Doe criticized her writing in hours for credit

when she was not helping in the lab, Sally alleged that Doe touched her breast one time without her

consent, kissed her without asking for verbal permission on the same day, engaged in non-consensual

tickling on another occasion after Doe stated she tickled him first, and for sexual harassment.

76.    In the Fall of 2016, Sally Roe (“Sally”), a white, first-year student majoring in Criminal Justice

enrolled in the UI course instructed by Dr. Lovaglia.

77.    Dr. Lovaglia informed the students about a group/lab he supervises and suggested that the students

could attend a meeting on Friday, September 2, 2016, at 12:30 p.m. if they were interested in research.

78.    Sally attended the meeting, and John Doe met Sally (and Lisa) for the first time.

79.    After the meeting, Sally and Doe talked about their interests in terms of majors and career

ambitions. After everyone that attended the meeting left, they exchanged phone numbers, and spent time

together for about two hours after the meeting.

80.    Doe said Sally was playful. During the conversation, Doe and Sally discussed pranks, and Sally

claimed pranks did not work on her.




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81.     Later that day, at around 4 p.m., Sally started a conversation with Doe via text messaging. During

the exchange, Doe asked Sally if she would like to attend an “improv comedy show” with him later that

evening around 10 p.m. and Sally said yes.

82.     Doe told Sally that the show had a dress code which required one to wear red flannel shirts via

text. There was no such dress code. Both Doe and Sally separately went to the improv show wearing red

flannel shirts.

83.     Doe stated to the Investigator that upon arriving, Sally laughed about wearing the same shirts. Doe

claimed pranks did work on her. Sally playfully responded, “Never trusting a sociology major again!”

84.     After the show, at about 10:30 p.m., Doe asked Sally if she wanted to go to his apartment. Sally

agreed. They walked there.

85.     In his apartment, Doe offered Sally wine, and she accepted; each had only half a glass. They

drank/talked for about 20-30 minutes, getting to know each other better while sitting beside each other on

a couch.

86.     Sally and Doe then laid on their backs on the couch with their heads beside each other and observed

Doe’s light projector projecting light onto the ceiling while they talked.

87.     About 30 minutes after being in the apartment, Sally and Doe went to the fire escape in the

building's hallway. They both rested beside each other on a small beanbag and spoke for about 10 minutes.

88.     While in the fire escape, Sally spilled her wine; Doe offered her some of his, and she accepted.

89.     There was no disagreement in facts from both Doe and Sally until here.




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90.    After they conversed for some time, Doe said there was a pause in the conversation of about 30

seconds when, after they stared at each other’s lips, they kissed mutually (The “First Kiss”).

91.    Doe stated there was no sign the kissing was unwelcome from both parties, and Sally and he kissed

for about 5 minutes while they kept their hands on each other’s shoulders.

92.    Sally admitted to the Investigator she and Doe kissed. She then added, “I didn’t outright say I

wasn’t sure about it, but I did try to pull away when I felt uncomfortable.”

93.    Doe disagreed Sally tried to pull away at any stage during the kiss.

94.    Both Doe and Sally agreed that after they stopped kissing, they remained on the fire escape before

Doe got cold. They moved back inside Doe’s apartment.

95.    Doe told the Investigator that inside his apartment, they sat on the couch and kissed mutually while

sitting up. (The “Second Kiss.”)

96.    Sally also admitted to this kiss. However, Sally then added she “Did not say no to the kissing.”

97.    Sally further added that sometime while kissing, Doe allegedly rubbed her breast (over her bra),

and she tried to pull away when uncomfortable.

98.    Throughout all of UI investigation, Sally did not tell Doe directly not to kiss her or touch her breast

nor express any form of resistance. However, her body language of allegedly pulling away from Doe, was

her indication and warning to Doe she was not interested in him allegedly kissing her or allegedly rubbing

her breast.

99.    Doe again specified Sally never pulled away while they kissed, that all kissing that night was

mutual, and expressly denied he touched/rubbed Sally’s breast.


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100.    Around midnight after they sat and conversed in Doe’s apartment, Sally suggested she had to leave

as it was getting late.

101.    Both agreed that while Doe walked Sally to her place, they casually chatted about existentialism.

102.    Doe told the Investigator they kissed once while walking to her place, but Sally denied this.

103.    Both agreed that outside of Sally’s dorm, after Doe dropped Sally off, they kissed again.

104.    Doe told the Investigator Sally said she had a great night, and they then kissed “passionately” for

about 20-30 seconds.

105.    Sally told the Investigator Doe kissed her. She did not say no. She did not indicate if she “pulled

away” this time or offer any form of resistance.

106.    There were no complaints of force being used by any of the complainants and Doe was not found

to have used any force against anyone by the Investigator.

107.    Doe suggested they hang out again, and Sally said “Sure!” Sally admitted to this.

108.    Upon leaving, Doe then called his best friend, S.B., on his phone and provided him a brief version

of what transpired that night. Doe said he was excited to see Sally again soon. At the formal hearing, Doe

supplied a phone record of the phone call transaction from his cell phone carrier.

109.    Sally said to the Investigator, she went to a dorm besides her, where her friend from high school

lived, and told him what occurred between Doe and her. According to Sally, “I think we ended up joking

about it because I didn’t take it so seriously at the time.” (emphasis added).

110.    On September 3, 2016, the following afternoon, Doe sent a text message to Sally about submitting

a paper for his class a minute before it was due online. Doe said, “Totally on top of life. I think,”. Doe


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stated to the investigator that it was a football game day, and Sally replied 3 hours later—Haha/LOL that’s

interesting followed by a comment or two.

111.       On September 4, 2016, Doe sent Sally a text message saying he saw someone drunk fall of a

railing. Sally replied 3 hours later and indicated she amused by Doe’s text.

112.       Doe, being socially intelligent, then inquired if he was correct in assuming Sally was not as

interactive as the day they met. Sally replied she was thinking of a platonic relationship. Doe said that was

fine and thanked her for letting him know.

113.       Doe sought counseling services from a licensed social worker every week since 2015, and he

informed her sometime then what occurred between Sally (and Lisa) and him.

114.       Doe also told Ms. E.C., a member of SURG he was friends with, what occurred between Sally

(and Lisa) and him.

115.       During UI’s Judicial process, Doe provided many text message exchanges and multiple pictures

of Sally and him to UI that began after this platonic conversation9. (s)

116.       From September 2, 2016 - January 27, 2017, Sally frequently initiated communications with Doe

via text. Text message evidence shows both parties were playful with each other; they initiated

conversations, and exchanged jokes. s.

117.       Doe and Sally remained friends after the platonic conversation and engaged in text conversations

lasting 2-3 hours at least twice a week. They joked around together in the lab.




9
    Sally did not provide any conversations of Fall 2016 that occurred between her and Doe for evidence.
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118.     All parties were flirtatious in their text messaging, and in the formal hearing report, the Adjudicator

indicated that to be true.

119.     During midterms, Sally and Doe had both stayed up late and had text conversations between study

sessions. These conversations sometimes went on till 4 a.m., and topics included recommendations for

study music, and encouraging each other through their all-night studying.

120.     Doe then started becoming confused about Sally’s intentions regarding their relationship. Doe

mentioned this matter to his therapist in one of their sessions during then.

121.     Sally said to the Investigator for about a month after the September 2, 2016 encounter, nothing

inappropriate occurred with Doe. However, Doe then complimented her once in a text message

conversation they were having10.

122.     In the text message, Sally was telling Doe what she wanted to do in her career, and Doe said

because Sally had a keen sense of purpose early in her career, it makes her “attractive.” However, Sally

said Doe used the word “sexy” instead of “attractive.”

123.     Sally asked if such comments were necessary, considering she just got a boyfriend. Doe knew

Sally was talking to someone but did not realize they committed into a relationship.

124.     Sally never explicitly told Doe she was uncomfortable regarding this conversation. However, later

that week, on around October 10, 2016, Sally mentioned to Dr. Lovaglia, she was receiving more attention

than she wished from Doe.




10
    When asked if she had evidence of this text message conversation during the investigation, Sally said that she did not have
it anymore.
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125.       Sally then informed Dr. Lovaglia of the full story on what occurred the night she went on a date

with Doe to the improv show.

126.       Sally expressed to Dr. Lovaglia everything that took place in Doe's apartment on September 2,

2016, was mutual and consensual, and she only changed her mind about the relationship later.

127.       Dr. Lovaglia took handwritten notes of what Sally had informed him that day11 and said he would

talk to Doe. Dr. Lovaglia brought these handwritten notes with him to the formal hearing.

128.       On or about October 14, 2016, a few days later, Dr. Lovaglia and Doe went on a stroll around the

city and river. While they walked, Dr. Lovaglia asked Doe about how he was adjusting to being a new

graduate student before he brought up a few women had joined SURG that semester.

129.       As they conversed, it became apparent to Doe that Dr. Lovaglia knew details about the date

between Sally and him.

130.       Dr. Lovaglia never named Sally but advised Doe not to date people from the lab with his new role,

and be professional about it. Dr. Lovaglia never directly spoke to Doe about the concern Sally had about

him.

131.       Doe told Dr. Lovaglia he was confused about the role he was speaking about.

132.       Doe was confused because Doe’s graduate program he had started was not associated with the

SURG group/lab, and it was in a different department and college in UI. Doe was not receiving any credits

nor any assistantship from the group/lab.




11
     Dr. Lovaglia brought these written notes with him at the formal hearing. UI put them in the exhibits.
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133.   At the formal hearing, Dr. Lovaglia confirmed that Doe initially had a challenging time

understanding and told Dr. Lovaglia he was confused.

134.   Dr. Lovaglia explained to Doe, a first-generation graduate student, that graduate school comes

with a new role, and he would be subject to a different set of expectations as it relates to sexual

relationships with undergraduate students.

135.   Dr. Lovaglia also confirmed that Doe told him he did not realize this was an issue.

136.   Dr. Lovaglia told Doe he should have oriented Doe to his new role and took responsibility for not

doing so. At the formal hearing, Dr. Lovaglia blamed himself for the mess this created.

137.   Dr. Lovaglia advised that because Doe now understood his new role as a graduate student, there

would be consequences if something like this happened again. Doe understood and changed his behavior

accordingly.

138.   Doe understood he should not have sexual relations with anyone from the group/lab. Doe was

already friends with a few SURG members, some for over a year, and decided he would remain friends

with everyone in the lab.

139.   Doe apologized to Sally about what occurred via text.

140.   Doe was put in a precarious position, and he was unhappy at the inappropriate way Dr. Lovaglia

handled the situation.

141.   Most of these communications occurred via text between Doe and E.C.




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142.   Doe had never asked for any role in the lab, nor was he given a role in the lab. Doe believed Dr.

Lovaglia was disorganized in how he operated the group/lab, and he had previously suggested he help in

organizing.

143.   When interviewed, Dr. Lovaglia told the Investigator a sexual misconduct incident occurred in his

lab in the past (about two years before Doe joined). This incident would have been before the lab

transitioned.

144.   Upon information and belief, UI investigated the previous sexual misconduct, and Dr. Lovaglia

informed that the person was C.K.

145.   Upon information and belief, about two years before Doe joined Dr. Lovaglia’s group/lab, Dr.

Lovaglia was the Director of a proper, registered lab in UI named “Center for the Study of Group

Processes.”

146.   Upon information and belief, Dr. Lovaglia was part of the Ph.D. dissertation committee for

doctoral students of the lab, and he published studies in journals with these students.

147.   Upon information and belief, UI investigated one of these doctoral students - a white male in his

forties at the time, named C.K., for sexual misconduct.

148.   Upon information and belief, C.K. was also a sociology instructor in UI’s Department of

Sociology, a doctoral teaching assistant who graded students signed up for lab credits, and the lab manager

for Dr. Lovaglia’s lab.

149.   Upon information and belief, C.K. dated an undergraduate woman in the lab whom he had an

instructor/student relationship with.

150.   Upon information and belief, UI found C.K. responsible for sexual harassment.
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151.   Upon information and belief, UI allowed C.K. to graduate and get his degree. (s)

152.   After his discussion with Dr. Lovaglia, Doe took proactive initiatives to cut down on conversations

with Sally. Doe tried to avoid being in the lab after lab meeting ended as Sally often attempted to stay and

converse with Doe while they were alone.

153.   Doe provided evidence of his careful attempts in avoiding Sally to the Investigator, but the

Investigator made no note of this in her report. The evidence shows that in a text message conversation in

October 2016, Doe texted E.C., and asked for help in finding a survey. Doe then said they could work

together after the lab meeting ended. He then said it had to be away from the lab, because: “I don’t want

to be anywhere near Sally as soon as lab meeting gets done.” .

154.   While Sally and Doe both engaged in some playful texting, teasing, and banter throughout the time

they were in contact with each other; Doe was clear in his intentions, they would be just friends.

155.   After October 2016, Doe understood the need for some boundaries; however, Sally did not. For

example, on November 6, 2016, Sally joined an Improv Group Doe had just started with a few others.

156.   Sally knew improv was an essential part of Doe’s life. Doe had explained this to Sally. Doe

explained how he would go to Chicago every weekend from Iowa City for a year to do improv comedy at

Second City, the largest improv comedy enterprise. There were three to four other groups in Iowa City

Sally could have joined, yet she chose to join the one Doe started.

157.   Annoyed, Doe sent Sally a text message and asked her intentions before texting “leave me alone.”

Doe was not happy that Sally was trying to get into his personal life, despite her never doing improv.

158.   Upon Sally joining the improv group, Doe consulted R.F., who started the improv group with Doe,

over Facebook Messenger. Doe told him he and one member of the improv group had a history of

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intimacy, and Doe feared it might affect the group dynamic . Doe did not explicitly tell R.F. the individual

he referred to was Sally to respect her privacy. Doe provided evidence of this at investigation and the

hearing.

159.    Doe also contacted E.C. and expressed his displeasure of Sally Roe joining the improv group by

saying, “I hate my life right now. This is my improv group.”

E.C. texted back, saying, “Hahaha she does improv?”

Doe replied by saying, “No she doesn’t! I’m trying to get rid of her from my life and she just keeps joining

shit that I love.”

Doe ended the thread by saying, “Improv is my safe zone”

149A. Doe provided Stevenson Earl with this evidence, and she made no note in her report.

160.    Despite Doe expressing his displeasure to Sally about her joining the improv group, Sally started

attending the group.

161.    In November 2016, Doe once stopped by SURG around 9 p.m. to work on his research study and

saw Sally was also in the lab.

162.    Doe had beer in his backpack as he planned to sip on them while he proofread the survey he wrote.

163.    Doe asked Sally if she wanted a beer while they both worked in the lab. Sally said, yes. Sally had

admitted to this. Doe and Sally each sipped on one can of beer over an hour while they worked. After

finishing work, they engaged in casual conversations for approximately 30 minutes.

164.    Sally did not allege inappropriate sexual comments during this discussion. When telling the

Investigator what they spoke about, Sally said one topic they talked about was pickup artists. She said




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Doe told her he got into an argument with a pickup artist because the pickup artist was sexist toward

women. Sally did not state such topics of conversation made her uncomfortable.

165.   Doe told the Investigator that Sally shared with him how she was bad in relationships and did not

know how they worked. They spoke about Doe’s past relationship and then talked about self-improvement

as it related to dating advice for both men and women. The conversation about pickup artists was related

to unhealthy men’s dating advice, a topic discussed in Dr. Lovaglia’s class “Sociology of Self

Improvement.”

166.   Doe stated the books discussed were “The Rules,” a dating advice book for women, and a book

called “The Game,” a dating advice book for men, written by a self-described pickup artist.

167.   Doe stated when discussing “The Game” Sally and Doe spoke about how unhealthy it was because

the book objectified women. Such topics were typical discussions in sociology, and Doe had given a

presentation on this topic when Doe took that class with Dr. Lovaglia

168.   After 10:30 p.m., when Sally’s boyfriend, D.L., was finishing working at the recreation center to

come to pick her up, Sally poured the rest of the beer in her water bottle while getting ready to leave.

169.   The evening ended by Doe walking Sally downstairs, Doe telling Sally to have a good night, and

giving Sally a casual side hug.

170.   Although Sally did not make a big deal about the hug, her boyfriend and UI did. According to

Sally, she and Doe hugged only about four times, and she did not allege they were sexual in nature. All

these interactions were platonic side hugs.

171.   During the Fall 2016 semester, everyone in the lab worked on two projects. The first project was

by Dr. Lovaglia’s sociology intro class project, and the second one was E.C.’s survey. For the first project,

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Doe took the initiative to organize Dr. Lovaglia’s class project. Doe promised Dr. Lovaglia he would

email the results of his project to him by the date he requested.

172.    Everyone in the lab delivered their portion of the work on time except Sally. Because Sally was

late, Doe submitted Dr. Lovaglia’s work much later than he requested. When submitting the work, Doe

took responsibility for being late and did not blame Sally.

173.    In December 2016, Sally submitted E.C.’s data from her project late as well while everyone else

in the lab submitted their work on time. Her lateness meant they could not compile the data before the

winter break (s).

174.    Seeing this was becoming an issue, Doe asked E.C. to talk to Sally about her lateness (s).

175.    Toward the end of the Fall 2016 semester, Doe needed help with his research project and asked if

members would feel comfortable doing it over winter break.

176.    Doe requested the members helping to have it submitted by the end of winter break, so he could

present the results of his study when school started again.

177.    Sally took the initiative to enter the data.


WINTER BREAK 2016/201712

178.    Over the winter break of 2016/2017, Sally and Doe communicated with each other a few times.

They mostly joked around as friends. Sally sent Doe pictures of books she was reading for leisure during

the break.




12
  Sally did not initially complain about anything making her uncomfortable during the winter break before or during the
investigation, thus such allegations were not investigated by Defendant Stevenson Earl. The Adjudicator at the formal hearing,
Defendant Iris Frost overlooked these text messages.
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179.   These communications happened while they were off campus.

180.   Since Sally started attending the improv club Doe started in Fall 2016, it was not unusual of Sally

and Doe to have playful banter back and forth.

181.   During one of their conversations during winter break, Doe teasingly accused Sally of loving

power because she ordered a SURG member to clean the lab tables for her, and also requested Doe to

purchase a new couch for the lab and carry it to the lab. Doe made a joke about BDSM and an adult actor

named “Missy,” and Sally replied with her usual wit, and the conversation ended in a playful manner.


SPRING 2017

182.   On January 19, 2017, Doe sent a text reminder to Sally about data as everyone else from the lab

submitted their data except Sally . Doe told everyone else in the lab he would present the results of his

data during lab meeting on January 27, 2017.

183.   On January 20, 2017, after a lab meeting ended, everyone except Lisa Roe, Sally, and Doe left the

lab. Lisa Roe wanted to talk to Doe about her receiving poor grades in the previous semester and asked

him if he knew of helpful resources. Since Lisa Roe wished to speak to Doe privately, he asked Sally to

leave, and a 15-minute conversation took place.

184.   However, Sally did not leave the building. Instead, she waited right outside the lab during Doe and

Lisa Roe’s discussion. After Lisa Roe left, Sally returned to the lab to talk to Doe about their winter breaks.

185.   Doe, who started the first job of his career that week, held an office hour in the lab as UI was still

figuring out a location for his office hours.

186.   When Sally came back to talk to him, Doe clarified he was starting office hours in a few minutes

and would have to ask Sally to leave if someone came to speak to him. This did not bother Sally.
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187.   Sally, knowing that Doe was vulnerable as he could not leave his office hours, continued with

where she and Doe left off during their texting session in the winter break.

188.   Sally admitted to being in the lab with Doe alone and casually conversing with him that day.

189.   Doe stated to the Investigator that Sally was not interested in doing any research that day. However,

she signed in for lab hours she needed for her credit she was receiving from the lab from Dr. Lovaglia,

even though she had pending work for the lab.

190.   Because Dr. Lovaglia mentioned that the lab was so messy, it looked like a frat house; Doe

suggested cleaning/decorating the lab. While decorating the lab, Sally and Doe came across a filing cabinet

in the top floor of the building. Sally stole a pair of “Iowa Hawkeyes” sunglasses from the filing cabinet

for herself, handed one to Doe, and took photos together back in the lab wearing those sunglasses (“Before

tickling pictures.”

191.   Doe stated to the Investigator that Sally was playful. They joked and laughed (.)

192.   Doe said to the Investigator he knew Sally and Lisa Roe were friends. So, Doe suggested taking a

picture and sending to Lisa Roe after they filled up one of the recycle bins .

193.   Doe and Sally both decided to sit on the recycle bin. While sitting on the recycle bin, Sally tickled

Doe on the ribs (left side) as she asked him to scoot over while sitting on the recycling bin. Doe was

apparently taking too much space in sitting on the recycle bin.

194.   Sally stated to the Investigator that she does not remember if she tickled Doe.

195.   Doe retrieved a cassette recorder sitting on a shelf located to the right of the lab entryway. Doe

stated Sally did not want the recorder to be in the lab, and Doe insisted they could not throw it out.



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196.   Sally tickled Doe on the ribs before she tried to pull the recorder from his hands.

197.   Doe stated to the Investigator he held the recorder tight, and Sally could not get it from him.

198.   Later, Doe wanted to put up ceiling lights for the lab, he had purchased, in his way. However, Sally

wanted to put it up her way. Doe and Sally argued playfully about how to string the lights to the ceiling.

Doe tried to get the string from Sally to do it his way.

199.   Sally started getting up on a chair to put up the string in her way. Because Sally had tickled Doe

to get the recorder back, Doe tickled Sally to get the lights back.

200.   Sally excluded a lot of information during the interview and alleged that Doe walked up to her and

tickled her for no reason while she tried to hang up lights Doe purchased.

201.   Sally claimed the tickling was near her arms and Doe also said it was a similar place by saying it

was near below arm, near ribs.

202.   Doe said Sally never indicated the tickling made her uncomfortable that day. Doe told the

Investigator Sally was laughing during the tickling.

203.   Sally admitted she laughed, but then said it was because tickling makes her laugh; however, she

told the Investigator she said stop.

204.   Doe denied Sally ever said stop.

205.   Sally initially attempted to paint the image of this day as her being uncomfortable and creeped out

by Doe to the Investigator.

206.   After they hung the lights, Sally and Doe left the lab to look around in the hallways to find more

items for the lab. Sally and Doe came across a microwave sitting in the hallway. The microwave had a


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sheet of paper taped that read in large letters “Trash.” Sally taped it to her chest and posed while she

laughed. Doe took two pictures of her.

207.   These pictures were taken after Doe tickled Sally to get his light strings from Sally. (“After tickling

pictures”)

208.   Doe also provided these pictures in both the investigation and the hearing. Evidence from the

pictures shows Sally looked comfortable and was laughing.

209.   Shortly after, Sally and Doe finished decorating the lab and left the lab around 6:45 p.m.

210.   During the day, Sally never mentioned being uncomfortable at any point during this day.

211.   Sally stayed with Doe in the lab despite hearing Doe explain he was holding office hours.

212.   At some point, while they were decorating the lab, Sally and Doe discussed their plans for the

weekend since it was Friday. Doe told Sally he was going to a play later that day. He did not invite Sally.

213.   Sally, who never watched a play at UI until then, decided she might go, and attended that evening

with her boyfriend, D.L. Doe went to watch the play with his friend. After noticing Doe and his friend,

D.L. and Sally, who were already sitting down, exchanged in friendly small talk with Doe.

214.   Sally and Doe exchanged text messages that night after the play (s). Sally mentioned nothing about

tickling, and none of the text message exchange between Doe and Sally showed Doe made Sally

uncomfortable at any point earlier in the day. The conversation, which took place over hours, was casual

and friendly, and mostly about the play they watched.

215.   Doe provided these text messages as exhibits in both the investigation and at the hearing.




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216.    Doe stated to the Investigator that on January 24, 2017, Sally again signed her name on the lab

sign-in sheet but spent time laughing and messing around with her roommate, E.J., and her boyfriend,

D.L.

217.    The due date for the research project and presentation was approaching, and Doe was pressed for

time with his work. He found Sally’s behavior incredibly burdensome to the lab and unprofessional since

Sally did no work that day.

218.    That evening, Doe had music playing from a study playlist in Spotify.com called “Brain food,” in

low volume. It is a playlist meant to boost concentration with a mild stimulating ambient effect. Sally

turned up her music to get Doe to turn his off, which Doe found distracting and annoying.

219.    Doe reminded Sally to have the data entry done as soon as possible by January 26, 2017, so he

would have time to compile the data accurately for his presentation on January 27, 2017.

220.    Sally said that would not be a problem and she would have it completed by then.

221.    On January 26, 2017, Sally failed to provide the data on the requested day again.

222.    Doe, upset he could not present the results of the study, emailed and canceled lab meeting the

following day because he did not have the work to present.

223.    Doe assumed Sally would have provided the data at the end of the winter break, which was when

he requested, and everyone in the lab provided the data on time. However, two weeks passed, and Sally

still did not provide the necessary data.

224.    After Doe canceled the lab meeting, Sally sent a passively aggressive email to Doe at 3:30 am, and

it contained all her data.



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225.   Doe woke up and replied to the email. He first thanked Sally for submitting the data. He then

empathized how the first few weeks of a semester can be hectic. Doe then lamented Sally’s history of

work-related problems and stated how she turned work late for the lab and yet received credit by writing

in hours when not working.

226.   Sally did not respond to the email, however, that afternoon, Sally sent Doe a lengthy furiously

compiled text message starting with, “I don’t know what your problem is but this stops right now.”

227.   In the text message, Sally then accused Doe of tickling her and making her feel uncomfortable.

Doe defused the situation by being neutral. s.

228.   The Investigator asked Sally if she received credit as part of the lab, and she replied, “Yes.” The

Investigator then asked Sally whether Doe questioning her work ethic in the lab and receiving credit for

it made her upset, and she replied, “Yes.”

229.   On February 3, 2017, there was a lab meeting in which Dr. Lovaglia was not present. During the

meeting, Sally was inappropriately conversing with others in the lab about Doe.

230.   Doe stated to the Investigator that Sally talked about partying and taking jello shots that weekend,

how her ex-boyfriend got a restraining order and deserved it, and other inappropriate topics when Doe

was working on data in the lab.

231.   Doe stated to the Investigator the conversational topics made Doe uncomfortable, and so he did

not participate in them.

232.   Doe continued by telling and writing to the Investigator, Defendant Stevenson Earl:

         “Sally was talking a lot that day, and at one point someone asked something about me that I
         was not paying attention to entirely as I was focused on E.C.’s data on SPSS (statistical
         software). I just heard Sally casually add, “The thing you have to know about Doe is that
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         when you want to deal with him, you have to put him in his place.” I found this comment to
         be incredibly rude. I decided not to engage in that conversation, and this was the first
         conversation that day that I did not participate in. Later, I decided to not participate in the
         others.”

233.   When the Investigator asked Sally participated in these inappropriate conversations, Sally claimed

she did not remember.

234.   However, after UI expelled Doe, Sally admitted to the Board, in her written brief, that she had

these conversations, but said she was telling these to another person in the lab.

235.   According to the Investigator’s handwritten notes, Sally’s boyfriend and roommate encouraged

Sally to report concerns. Sally told the Investigator she “did it for them” (emphasis added)

236.   After the lab meeting ended, Sally went to Dr. Lovaglia’s office and complained about Doe. She

told him about “tickling hanging lights” and “aggressive about data” according to the Investigator’s

handwritten notes.

237.   In the conversation with Dr. Lovaglia, Sally reported Doe touched her in ways that made her feel

uncomfortable when she referred to being tickled. The Investigator found this statement as evidence that

“sexual assault” occurred on September 2, 2016, in Doe’s apartment, thereby linking two unrelated events.

238.   On February 5, 2017, Dr. Lovaglia told Doe the lab was under investigation, and Doe could no

longer be part of the lab. Dr. Lovaglia handed Doe a letter that told him to avoid contact with everyone

from the lab.

239.   On February 10, 2017, Doe received an email from the Dean of Students, Defendant Lyn

Redington, who designated Defendant Tiffini Stevenson Earl as a judicial administrator/investigator to

determine whether Doe had violated the Code of Student Life, the Sexual Misconduct, Dating/Domestic


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Violence, or Stalking Involving Students policy, Anti-Retaliation Policy, Policy on Consensual

Relationships Involving Students or other university policies. The letter also alleged Doe retaliated against

Sally after she addressed her concerns to Dr. Lovaglia.

240.   Through the UI disciplinary proceedings, Doe denied he behaved in a non-consensual sexual

manner toward Sally, and he denied his actions were in retaliation against Sally.

241.   The Investigator, Stevenson Earl, initially interviewed Sally on February 14, 2017.

242.   The Investigator interviewed Doe on April 4 and 6, 2017, for both Sally and Lisa.

243.   Doe came with his legal counsel, Davis Foster, a known and experienced criminal lawyer in Iowa

City who represented many students of UI in university disciplinary matters such as sexual misconduct.

244.   Constance Shriver Cervantes, an attorney in UI’s Office of Equal Opportunity and Diversity

(EOD), also participated in the interview.

245.   At the beginning of the interview, the Investigator expressed she would be a neutral/unbiased

Investigator.

246.   The Investigator and Cervantes interviewed Doe for about five hours on April 4, 2017, and about

three hours on April 6, 2017.

247.   The interview appeared to be fair to Doe based upon the information available to him at that time.

248.   Defendant Stevenson Earl did a follow-up interview with Sally on May 5, 2017.

249.   Doe stopped attending the improv group he started with R.F. Doe told R.F. in a private

conversation on Facebook Messenger he could not attend the group because of this impending

investigation and it was related to a person who attended the improv group. Doe was professional and


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never disclosed to R.F. who the person was to respect her privacy. Doe then told him he lost his job at UI

but was hopeful things would work out fine.

250.   UI interviewed R.F., and they found their accounts corroborated.

251.   However, according to the Investigator’s notes for Sally, the Title IX Coordinator, DiCarlo,

disclosed Doe’s private information about his job to Sally during the investigation. This was

unprofessional. DiCarlo shared and discussed private conversations between Doe and R.F. with Sally

before Stevenson Earl decided the outcome of the investigation. There was no reason, as it related to

investigating sexual misconduct, for DiCarlo to disclose to Sally what Doe told another person in private

about the status of his job.

252.   In the appeal, Sally voluntarily shared the grade she received from the lab credits, showing her

grade did not get affected. Doe believes she shared her grade to prove to him that him being upset with

her performance did not affect her.

Dr. Lovaglia

253.   The Investigator interviewed Dr. Lovaglia on May 12, 2017.

254.   Dr. Lovaglia described the workings of the group/lab and the lab’s philosophy: “if interested, come

and talk about research.”

255.   When asked by the Investigator if there were any rules in this lab, Dr. Lovaglia answered: “not

really.”

256.   According to the Investigator’s report, Dr. Lovaglia stated that during his first meeting with Sally

on October 14, 2016, Sally told him Doe paid more attention to her than she wanted.



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257.   Dr. Lovaglia stated that after he asked Doe to leave the group/lab, he reorganized the structure of

it and gave students roles. There were clear expectations of what was required of them.


SUMMARY OF ALLEGATIONS FOR SALLY ROE

258.   Sally alleged Doe kissed her and rubbed her once on her breast without her consent on

September 2, 2016.

259.   In both cases, Sally stated she did not verbally object. However, she also stated she did not provide

affirmative verbal consent either.

260.   Sally does not deny that she and Doe kissed multiple times.

261.   Doe denies he ever touched/rubbed Sally’s breast and stated all kissing was both consensual and

mutual.

262.   Sally waited nearly six months to make a formal report of misconduct, after being accused by Doe

of what Doe believes is essentially academic misconduct.

263.   Although Sally told Dr. Lovaglia about one month after the alleged incident how everything that

happened in Doe’s apartment was consensual, her story changed almost six months later when she wanted

Doe investigated for sexual misconduct.

264.   When the Investigator asked Sally why she came forward several months after the initial alleged

incident, Sally’s response did not address the main offense regarding the alleged sexual assault, but rather

alleged sexual harassment.




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DEFENDANT STEVENSON EARL’S FINDINGS FOR SALLY ROE

265.   On June 23, 2017, Defendant Stevenson Earl, the Investigator, found Doe responsible for violating

student conduct rules during the Fall 2016 and Spring 2017 semesters. The list of Rule violations includes

Rule D.13 (sexual assault and sexual harassment) and Rule D.17 (impermissible use or possession of

alcohol).

266.   In summary, the Investigator noted there were no witnesses to the alleged sexual assault or

harassment.

267.   The Investigator mainly made her finding based on her assessment of Sally’s credibility.

268.   The Investigator wrote there was no evidence presented to indicate force (physical violence or

threats) intimidation, or coercion was used at any time.

269.   According to the Investigator, Sally was more credible because she reported her concerns to

Witnesses Lisa, Mr. D.L. (her boyfriend), and Mr. R.C. (her close friend from high school) and Dr.

Lovaglia, and her reports to them were similar to that made to the Investigator, though she limited details

she provided to each witness.

270.   The Investigator found Doe not to be credible even though “his version” mostly, matched Sally’s

account, unless she questioned him about behaviors prohibited by university policy, i.e., behaviors “sexual

in nature.” Investigator Report 1.

271.   The Investigator wrote that when questioned about those behaviors, Doe’s responses seemed

overdramatic because of how Doe characterized the sexual contact (Doe explained with details such as

what he was doing with his hands while Sally kissed him).




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272.     The Investigator also assumed that Doe exaggerated the number of times Sally and he kissed,

especially given Sally never denied kissing took place. (Doe stated Sally and he kissed while walking to

Sally’s dorm. Sally denied that kiss occurred but admitted to all other kissing, which included kissing in

his apartment multiple times, and kissing upon being dropped off at her dorm.)

273.     The Investigator gave no reason to believe why she thought the kiss while walking to the dorm did

not occur, and why she found Sally credible.

274.     In her report, the Investigator recommended suspension or expulsion of Doe from UI if found

responsible for sexual assault. (emphasis added).



B.        COMPLAINANT TWO – LISA ROE

LISA ROE’S VERSION OF EVENTS:

275.     About two weeks after Sally’s allegations, Lisa, who Doe stated was a friend of Sally, filed the

second complaint six months after the alleged sexual encounter. Lisa alleged that Doe touched her breast

once without her consent, and sexually harassed her throughout the fall of 2016.

276.     On or around August 31, 201613, Doe asked Lisa, a white, second-year student double majoring in

biology and art, to meet at the lab and discuss the lab and research. Doe provided a website.

277.     Doe asked Lisa if she wished to stay and study after the lab, and she agreed.




13
   Doe states that this occurred on or after September 5, 2016. Doe states that he met Sally and Lisa on the same day on
September 2, 2016, and thus it cannot be before then. Sally also stated that she met Doe on September 2, 2016. In her initial
reporting, Lisa stated that it was September 5, 2016. However, Lisa then changed it to August 31, 2016, during her first
interview and stated that she was not sure of the date. UI had used August 31, 2016 as the date the incident allegedly occurred.
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278.   Lisa alleged Doe left to get his books and apparently returned with beer. Lisa claimed she did not

know that Doe would bring beer back to the lab.

279.   While sitting at a table in the lab, next to each other, Doe offered Lisa a beer, which she said did

not want to drink because it was a school night and she did not like beer. No information was provided on

what her response was when Doe allegedly offered beer.

280.   Lisa stated Doe opened his beer and drank it.

281.   Lisa alleged Doe of asking questions that made her uncomfortable; she did not know what to think

of the questions/situation and thought he was kidding. For example, Lisa claimed that Doe, out of nowhere,

allegedly asked Lisa her favorite sex position, the kinkiest sexual act she had performed.

282.   Lisa stated that she avoided answering Doe’s alleged questions related to sex.

283.   Lisa alleged Doe of opening her beer, and apparently putting it to her lips, telling her to drink,

which she says she just took a sip of.

284.   Lisa stated that she became uncomfortable, nervous, and upset by Doe’s behavior, but said nothing

and did not leave for reasons unknown.

285.   Lisa states she asked where the restroom was, so she could have privacy and send a text message

to T.M., her ex-boyfriend, to ask him to pick her up from the lab. Doe told her where the restroom was,

and she left the lab to go to the restroom.

286.   Rather than escaping the building from Doe’s alleged horrific behavior, Lisa claimed that she went

into the men’s restroom.




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287.   Lisa alleged that Doe also went into the men’s restroom. Lisa said she did not know it was Doe

until he allegedly said, "Wow I can tell you have a lot of sex by the way your pee sounds," and rather than

telling him to leave, or tell him that she finds such behavior offensive, Lisa said she believes she responded

by asking him how he could tell.

288.   Lisa then went back to the lab to be alone with Doe again but told Doe that a friend was coming

to pick her up.

289.   Doe, equipped with the knowledge that a friend was coming, then apparently used a “bossy and

condescending tone” and encouraged Lisa to move to the couch.

290.   Lisa, an adult woman, did not ask Doe why he was talking to her in such a manner, and instead

acquiesced and moved to the couch.

291.   Lisa alleged that while sitting beside each other on the couch, Doe attempted to kiss Lisa, but she

leaned back away from him.

292.   Lisa claimed that she did not say no to anything.

293.   While sitting beside each other, Lisa alleged that Doe then placed his hands under Lisa’s shirt and

bra and touched her left breast (skin to skin) and fondled for about 30 seconds.

294.   At the hearing, Lisa confirmed that she never told Doe no or nor voice her concern about the

kissing or the alleged breast touch to Doe.

295.   Other than her allegedly leaning away, Lisa provided no non-verbal cues indicating she was

uncomfortable nor did she allege any resistance.




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296.     Throughout the entire process from the first complaint through the final disciplinary decision, no

one claimed that Doe used any implied or express threats of force during the encounter.

297.     Lisa alleged Doe touched breast once without consent.

298.     Lisa then stated that she removed Doe’s hand from under her shirt, and he sought to kiss her again,

but she declined and told Doe her friend was coming to pick her up. No information was provided on how

she declined.

299.     Lisa alleged that using a “bossy tone,” Doe told Lisa she had to hug him before she left, and so

Lisa hugged him.

300.     No information was shared about where she left to while she waited for T.M to arrive.

301.     T.M. arrived about 20 minutes later.14 Lisa stated nothing about Doe meeting T.M. to the

Investigator, and according to her story, he could not have met him since she left Doe and waited for T.M.

to arrive.

302.     Lisa stated during the walk home, T.M. thought Lisa was acting “hysterical” because she was

walking fast, crying, and kept looking back over her shoulder.

303.     Lisa stated T.M. became nervous because he thought something bad happened based on her

attitude, and so he asked her what happened. Lisa told him Doe tried to kiss once, but she moved away.

At the hearing, Lisa stated that that was the end of the discussion, and she went home and went to bed.




14
  At the time of this incident, T.M. was a friend of Lisa; someone she liked. At the time, this Complaint was filed, he was her
boyfriend.
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304.   After the August 31, 2016 incident, Lisa alleged that Doe would always get close to Lisa’s face

and try to kiss her while in the lab, but she would decline. Lisa alleged this happened on at least five

occasions in the lab, but did not specify the dates, time, or place of the alleged incidents.

305.   After the incident, she did not initially inform T.M. that Doe touched her breast, but told him only

about the attempted kiss

306.   Once Lisa started dating T.M. again toward the end of September 2016, Lisa told Doe she had a

boyfriend, and she believed that Doe understood. Lisa claimed that Doe would not seek to touch Lisa any

longer but would continue to make sexual comments; however, Lisa provided no details or evidence as to

the sexual innuendo used by Doe.

307.   Throughout the Fall Semester, Lisa alleged that Doe apparently asked Lisa to come to the lab at

night. At the hearing, Dr. Lovaglia stated that the students were encouraged to work in the lab at night as

people have classes during the day.

308.   Lisa alleged that sometime in October 2016, Doe asked Lisa if he could put a collar around her

neck and have sex with her. Lisa did not report this interaction to anyone until she filed the formal

complaint with UI nearly six months later.

309.   Lisa alleged that Doe demonstrated the use of the collar by placing his hands around Lisa’s neck.

Lisa claims she apparently casually removed Doe’s hands from her neck and changed the subject of the

conversation.

310.   Lisa alleged that Doe, via text message, asked Lisa if she was good in bed and asked questions

about the lab. Lisa did not provide these alleged text messages as evidence for reasons unknown.




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311.    Lisa stated that she answered Doe’s questions about the lab but avoided answering his questions

about sex. Lisa alleged that Doe also referenced to her as a girl with nice “boobs”; however, she provided

no details as to when, where, or how this conversation happened.

312.    Lisa alleged that Doe asked Lisa to dinner on four or five occasions. No information was provided

on when he asked her to dinner, or where he suggested. Lisa stated that Doe would supposedly get upset

if Lisa declined the requests.

313.    Lisa alleged that in December 2016, Doe asked her to have dinner. They ate at Chipotle. After

eating at Chipotle, they went to Doe’s apartment.

314.    Despite being allegedly sexually assaulted by Doe earlier in the semester, Lisa voluntarily entered

Doe’s apartment, knowing she will be by herself with him that night.

315.    In Doe’s apartment, Lisa agreed to consume wine with Doe alone because he is “bossy,” and she

did not want Doe to become upset. No information was provided on how they picked up the wine bottle.

316.    Lisa stated that they were at Doe’s apartment for just 30 minutes.

317.    Lisa never alleged that Doe tried to sexually assault her again even though he was alone with Doe

multiple occasions throughout the Fall semester (at least once a week).

318.    T.M. picked Lisa up, and neither T.M. nor Lisa testified that Lisa was at all upset or uncomfortable

after being with Doe alone in his apartment, drinking wine15.




15
  Doe claims that it was a few hours, and that they finished a bottle of wine together while listening to Christmas carols on
Spotify radio station, something Lisa requested.
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319.     Considering that T.M., her boyfriend, previously saw Lisa acting “hysterical” when she left Doe

on the first day they hung out in the lab, he was not worried by his girlfriend drinking wine alone with the

alleged perpetrator in his apartment after the alleged sexual assault.

320.     Lisa stated she did not like meeting with Doe after dark because of his overall behavior toward

her, despite Doe providing plenty of text message evidence where Lisa tells Doe to come to the lab late at

night while she is by herself, and although her own testimony contradicts that she would meet with Doe

and drink with him only at night.

321.     Lisa stated Doe’s comments made her uncomfortable, and initially, she did not know if Doe was

serious. Lisa realized he was serious when Doe allegedly attempted to kiss her. Therefore, according to

Lisa, that means she realized that Doe was serious from the first day they spent time together in the lab

alone.

322.     Lisa explained the alleged sexual assault and alleged sexual harassment that continued for six

months vaguely, without giving many details of the allegations.

323.     Lisa provided absolutely no evidence of the allegations she had made. There were no first-hand

witnesses and no text messages provided.


JOHN DOE’S RESPONSE

324.     Before Doe spoke about Lisa’s allegations in the interview, he notified the Investigator that Lisa’s

allegations were outrageous and utterly false.

325.     Doe then shared his truth and provided ample evidence to prove his innocence.

326.     Doe provided text messages over many months, pictures from the lab when they were alone

together, and a video from the lab when they were alone together, all of which point to the truth.
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327.   Doe started by saying Lisa first attended the initial lab meeting on September 2, 2016, the same

day that Sally did and met Doe for the first time then. Sally Roe stated September 2 as well.

328.   Doe stated that August 31, 2016, is not the day the alleged incident occurred. Doe stated that the

alleged incident occurred on or after September 5, 2016.

329.   Lisa told Doe in their first encounter at the lab, she had an art class right after lab and had to leave

early. They exchanged numbers. It was a very brief encounter.

330.   Around September 5, 2016, Lisa came to the lab at about 8:30 p.m. and Doe gave her a link to an

intro website that UI encouraged everyone to do if they are part of a lab.

331.   This is where the stories diverge.

332.   Doe had nothing else to say and asked Lisa if she wanted to socialize. Lisa stated that she was free

and that she had only an art project due the next day.

333.   While socializing, Doe asked Lisa if she enjoyed drinking and if she wanted to get a drink together.

Doe stated that Lisa said yes.

334.   Doe stated that Lisa, and he started walking to a bar (Brothers) from Seashore Hall to grab a drink.

335.   While walking there, Lisa remembered she did not bring her fake ID with her that day.

336.   Doe suggested “Konnexion” instead, which is a convenience store one block away from Seashore

Hall, and they made the short walk together and purchased beer. Doe lives above Konnexion.

337.   Doe told the Investigator the cameras outside Seashore should have picked up footage of them

walking to the store and back as they used Iowa Avenue entrance. Doe requested her to investigate if

getting footage was still feasible, and the Investigator ignored him.


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338.    Sally claimed that she never left Seashore building and that Doe went to bring his books and laptop

by himself and that Doe brought back beer.

339.    At the formal hearing, T.M., Lisa’s boyfriend, revealed that Lisa told him they went to purchase

beer from a gas station, thus corroborating Doe’s statement. (emphasis added)

340.    After purchasing beer from the store, Doe and Lisa went up to Doe’s apartment to pick up his

laptop so he could work on his research.

341.    While leaving his apartment, Doe almost walked out, forgetting to pick up the bag with alcoholic

beverages, and Lisa reminded him he was leaving the beers in the apartment and picked it up herself.

342.    They returned to the lab, sat on the couch, and Lisa sat to the right of Doe. Doe denied that they

sat at the table and tried to study.

343.    They opened the beers individually right after sitting down and conversed over a beer about

activities they do when they are not studying.They had a casual conversation for about 15 minutes.

344.    Doe vehemently denies putting the beer can to Lisa’s mouth and making her drink the beer.

345.    While conversing on the couch for about 15 minutes, Doe asked Lisa if she was single. Lisa

answered yes and then added it is kind of complicated because she lived with her ex-boyfriend.

346.    The conversation continued, and Doe asked Lisa if wanted to go on a date, and Lisa said yes; Doe

laughed and asked why, and Lisa replied, “I don’t know. You’re somewhat kind of attractive.”

347.    Doe said “Somewhat,” and both laughed.

348.    Conversation slowed down. Both Doe and Lisa started kissing (for 5 minutes); talked (teasing each

other) and kissed more:


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349.    At some stage, while kissing, Doe asked Lisa her favorite sex position, and she told him, cowgirl

because she likes to “be in charge.”

350.    Lisa’s leg over Doe’s lap while facing towards him. They were close to each other.

351.    Lisa lifted shirt and invited Doe to touch her breast.

352.    Doe, after asking for verbal consent by asking “May I?” and receiving it, lifted Lisa’s bra, and

touched one of her breasts. Lisa did not indicate she was uncomfortable.

353.    This was after 10 p.m.; Seashore Hall quiet at that time of night. They heard someone walk by, so

Doe pulled Lisa’s shirt down and nudged her off to the side. Doe accidentally kicked over a beer can that

was on the floor in doing so.

354.    The person they heard was the custodian (Mike) who opened the door, and Doe said, “Sorry, we

spilled something, and we are cleaning it up” after which Mike left.

355.    According to Doe, Lisa seemed embarrassed.

356.    Lisa and Doe cleaned up the beer, and after a few minutes of chatting, Lisa said that she had to get

going soon. Lisa sent a text to her friend to pick her up.

357.    Lisa said Doe could walk her downstairs. They walked downstairs. Lisa and Doe waited outside

for 5-10 minutes for her ex-boyfriend to pick her up. While waiting, they engaged in small talk. Lisa stated

that she had to sketch her foot for her art class homework.

358.    Doe stated that T.M. arrived and Lisa introduced them after which they shook hands and engaged

in small talk.




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359.   At the hearing, T.M. also affirmed that Lisa introduced them, thus corroborating with Doe’s

statement.

360.   Later that night, Doe and Lisa shared nice to meet you messages and Lisa texted Doe a picture of

her homework—a sketch of her foot.

361.   During this encounter, Doe drunk half of his beer and was not intoxicated. No witness testified

about either Doe or Lisa being intoxicated that evening.

362.   Doe stated that during this encounter, both Doe and Lisa went to the bathroom. However, Doe

used the men’s, and Lisa used the women’s. Doe completely denies discussing her sex life or her urine.

363.   Doe testified about many normal social interactions with Lisa at the lab and socially while they

were alone. For example, just three weeks after the alleged incident, Doe stated that while he and Lisa

were in the lab alone at about 8 pm, Lisa suggested going to get something to eat as Doe said he was

hungry.

364.   Lisa and Doe went to the restaurant Iowa Chop House together; Lisa took out her fake ID and

ordered alcohol. Lisa got two fruity beers by herself even though she previously declared that she does

not like beer, does not drink them on the weekdays, and that Doe apparently put beer can on her mouth

and made her drink it. Lisa ate nothing and just drank beers. Lisa admitted to going to Iowa Chop House

with Doe and ordering beers for herself.

365.   After they left Iowa Chop House; Doe and Lisa went to Indian Café and both had Chai. They were

there for 30-40 minutes.

366.   During the disciplinary process, Doe provided multiple text messages initiated by Lisa, pictures,

and video corroborating the truth as to the type of relationship he had with Lisa.

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367.    For example, Doe shared a video of Lisa hanging up a sign-in sheet in the lab in October 2016,

while they were alone in the lab at night. Lisa is giggling and laughing in the video because of what Doe

was saying. Lisa seemed perfectly comfortable in the video while being playful with Doe.

368.    Sometime around then, Doe learned Lisa was back with her ex-boyfriend.

369.    Doe adamantly denies asking Lisa in October 2016 if he could put a collar around her neck and

have sex with her and denies he demonstrated this by placing his hands around her neck. In his own words,

Doe told Stevenson Earl:

         “These statements are horrifically disturbing, and it makes me angry that someone could
         lie about something so profane. Such claims are extremely serious, and there is no excuse
         for using them against someone for personal gain.”

370.    On at least four occasions after the alleged assault, Doe testified that he walked Lisa home late at

night after working together late at the lab. These were usually around 2 a.m., and Doe walked her home

in the Iowa cold winters just so she can be safe from the people coming out of the bars during bar close.

371.    Lisa confirmed the late-night walks and did not say anything inappropriate happened on those

walks. However, she said she did not ask Doe to walk her home.

372.    During these late lab sessions Lisa did not allege Doe ever tried to do anything inappropriate.

373.    From November 2016 to late January 2017, Doe presented multiple text message conversations to

and from Lisa, demonstrating a mutually supportive friendship in which Doe helped Lisa with resume,

with applications, general advice, and did everything he could to support her academically.

374.    On December 20, 2016, they met up in the lab (s), worked on Lisa’s resume and engaged in small

talk.



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375.   Once done, they talked—Lisa told him about living in England and playing soccer, and Lisa lifted

her t-shirt, showing him a scar near her stomach from surgery for a ruptured spleen from a soccer injury

and told Doe to touch it.

376.   Doe stated that Lisa’s boyfriend kept calling; Lisa lied to him telling him she was busy working.

They talked from about 4 p.m.-8:30 p.m. They did not have dinner that day, and Doe said he was hungry,

and he would eat dinner and invited Lisa to join.

377.   They went to Chipotle to have dinner. First, they went to Doe’s apartment, so he could get a thicker

jacket for the walk, and Lisa saw wine bottle in Doe’s apartment. Lisa asked if they could come back and

drink wine after Chipotle, but the wine bottle was empty, and Lisa then asked if they could pick up a bottle

of wine, and Doe agreed.

378.   After dinner at 9:30 p.m. they went back to Doe’s apartment, and they drank until about 11:45

p.m. Lisa stated that she was only there for 30 minutes at first and then she changed the story to 15

minutes. Lisa brought her food back with her, and Doe put it in the fridge. Lisa suggested Christmas music

as background music, and they conversed over hours as friends.

379.   Lisa does not allege Doe of doing anything inappropriate during then. However, she stated at the

hearing that she was fearful, even though she admitted that she chose to take the stairs to go up to Doe’s

apartment by herself and drink wine while by herself.

380.   Lisa’s boyfriend called and asked where she was, and she told him to pick her up from Java House,

a block away from where Doe lived.




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381.    On Friday, December 23, 2016, Lisa initiated contact with Doe by sending Doe a text message

saying ‘21 things that are so uncomfortable’ with one on the list being ‘Wearing a backpack while sitting

in a chair.’

382.    In Spring 2019, Lisa sent a text to Doe saying she was having a “panic attack” because of her poor

grades from the fall and that her academic advisor was not being supportive about her applying for medical

school. Lisa felt discouraged.

383.    Being a good friend, Doe by texted back and provided empathy, support, and resources for her.

(s):

          "I understand. I want you to know that I'll be your biggest supporter in chasing your dream
          and doing what you want to do rather than having your dreams defined by your advisor.”
          "There are no guarantees in life but if you commit to your dreams, take massive action and
          surround yourself with people that believe in you, you can surprise yourself with what you
          can achieve. I hope that helps to calm down some nerves. Sorry I was in class and busy
          and couldn't get to your earlier”

384.    These were some of the last conversations between Doe and Lisa.

385.    When Doe was under investigation in February 2017, Dr. Lovaglia told him to leave the lab and

not contact anyone.

386.    About a couple of weeks later, Lisa filed complaint for sexual misconduct.

387.    Throughout UI’s Judicial Process, Doe had alleged that Sally and Lisa conspired against him, and

suggested this was Sally’s idea.


FOLLOW-UP INTERVIEW WITH LISA ROE + DOE’S REBUTTALS
388.    During this follow up interview, Lisa provided several material details that directly contradicted

her earlier statements to the Investigator and her later statements at the hearing.

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389.     The Investigator, Stevenson Earl, scheduled a follow-up interview with Lisa on May 5, 2017The

purpose of the follow-up interview was to confirm which parts of Doe's interview she could confirm or

deny.

390.     The Investigator asked Lisa in this interview why she came forward, and during this time she

replied, “Came forward b/c after talking to Sally Roe, Doe was crossing line b/c of lab/student

relationship.” (Emphasis added.)

391.     These are handwritten investigation notes on the investigative file titled “May 5, 2017, 2nd

Interview w/Lisa Roe.”

392.     Lisa stated that Doe introduced himself as lab manager.

393.     Doe claims he was never given the title lab manager because both he and Dr. Lovaglia were on

the same page regarding his new responsibilities as a graduate student after they went on a walk. Evidence

shows it was then that Doe understood he could not date people in the lab.

394.     Regarding the purchase of beer with Doe on the night she accused Doe of touching her breast, Lisa

did not remember if she told Doe about not having a fake ID

395.     Lisa did not remember if she left the building and went to Konnexion with Doe.

396.     Lisa did not remember going up to Doe’s apartment with him to grab his laptop, but she denied

she wanted to look around his apartment.

397.     However, Lisa said that she did not sit on the couch “after they returned to the lab.” (emphasis

added)

398.     At the hearing Lisa testified that she was at the lab the whole time, and Doe went to get the beer.


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399.    However, T.M., her boyfriend, testified that Lisa told him she went with Doe to a gas station to

purchase alcohol.

400.    Lisa denied sitting on the couch after they returned to the lab, and she stated that they both sat at

the table and studied together. No information was shared about what they could have studied together on

the first night they met.

401.    Lisa then admitted that she moved to the couch after she told Doe that T.M. was on his way to pick

her up, and that Doe, still apparently sexually assaulted her even though he would have known that a

witness was near.

402.    Lisa stated she only took one sip of her beer, which “Doe made her do,” and did not indicate that

she was intoxicated.

403.    Lisa then admitted that Doe did ask her if she was single and would like to go on a date, and stated

that she told him her situation is complicated because she lives with her ex-boyfriend.

404.    Lisa denied kissing Doe during the encounter. Lisa stated Doe got close to her face, but she kept

backing up.

405.    Lisa denied placing her shirt above her breasts

406.    During the hearing Lisa denied that Doe asked her if he could play with her breasts and giving him

verbal consent to do so.

407.    Lisa then admitted that a beer was kicked over, but Doe cleaned it up.

408.    At the hearing, Lisa admitted that the janitor did interrupt them




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409.   In her first interview, Lisa stated that at this time, she got up and ran away, cried, and waited for

T.M. to come.

410.   However, after Doe shared the truth, Lisa then admitted walking down with Doe and waiting for

T.M. with Doe beside her. She did not state if she was crying anymore.

411.   Doe stated that while he waited with Lisa for T.M. to arrive, they discussed Lisa’s homework she

would do that night for her art class.

412.   Lisa stated that she did not introduce Doe and T.M. to each other; and that Doe introduced himself.

At the hearing, she added that Doe was “acting weird” in front of T.M. apparently as if he was “trying to

hide something bad that happened.”

413.   At the formal hearing, T.M. testified that Lisa introduced them, corroborating Doe’s statement,

and that they had small talk. He did not specify that anything weird occurred.

414.   Lisa then admitted that she did text Doe a picture of her foot she sketched for her art class but

stated that it was apparently later in the week and not during the same night.

415.   T.M. testified that Lisa really loved the lab in the beginning (emphasis added)

416.   However, Lisa alleged that she got sexually assaulted on the first day in the lab which made her

cry and be hysterical.

417.   Lisa still stated that Doe asked her if he could put a collar on her and have sex with her, stating she

remembered because he put his hands around her neck. No other information is known from the

Investigation of this alleged incident as the Investigator did not probe into it.

418.   Lisa then admitted to giggling and laughing in a video that showed her hanging the sign-in sheet.


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419.     At the formal hearing, Lisa stated that she did not know about this video and had never seen it until

before the hearing when Doe put it in the exhibits.

420.     Lisa admitted to eating at the Iowa Chop House with Doe in October 2016. But Lisa said that she

told Doe to get something to eat, and she would just continue working; however, she alleged that Doe told

her to come with him to eat. Lisa apparently could not say no and then admitted to going to Iowa Chop

House.

421.     Lisa then admitted that at the Iowa Chop House she did use a fake ID while there to order alcohol

for herself. She then admitted to going to the Indian café afterward with Doe because he wanted some

chai tea.

422.     Lisa then admitted to studying alone late in the lab and Doe offering to walk her home, but she

stated that each time she declined.

423.     Doe stated that he had walked Lisa back multiple times late at night in the freezing Iowa cold just

so she can be safe around 2 a.m.

424.     In fact, Doe has helped her gather information to apply to biology labs, helped her edit her resume,

helped her with mental and emotional health issues she was having and provided her support after she did

poorly in her Fall semester. When Lisa was asked about this, she then admitted this did occur but then she

changed the topic.

425.     Lisa identified nothing inappropriate during those study sessions.

426.     Lisa then admitted telling Doe she lived in England and telling him about an injury she sustained

playing soccer.



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427.   Lisa stated that she told Doe about her scar and she would not have shown him her scar because it

is too far up, and she denies that she told Doe to touch it. Lisa stated her scar came up because she was

apparently trying to come up with a study about her scar in a sociology lab.

428.   Lisa then admitted to going to Chipotle with Doe in December 2016.

429.   Doe stated and provided evidence in text messages they had been working in the lab from p.m.

until 8:30 p.m., and they missed dinner. Doe asked Lisa if she wanted to grab a bite, and she agreed.

430.   Lisa denied they went to get to Doe’s apartment to get Doe’s jacket.

431.   However, at the hearing, she admitted that she did go to pick up Doe’s jacket.

432.   Lisa denied asking Doe if they could drink wine afterward while they were alone in the apartment.

She states after they left Chipotle, Doe went to get wine. Lisa provided no information of where she waited

while Doe “went to get wine”

433.   However, at the hearing, Lisa admitted that she did accompany Doe to get wine.

434.   Lisa denied being at Doe’s apartment, listening to music and drinking for hours, contradicting her

previous interview where she admitted to being in his apartment and drinking wine.

435.   However, there is a text message record where she thanked Doe “for not changing the station even

though you hated it.”

436.   When asked at the hearing, if she felt fearful of being assaulted when she went back to Doe’s

apartment by herself alone in December, Lisa stated she did not fear for her physical safety.

437.   Lisa denied telling T.M. to pick her up at the Java House, and telling Doe not to come outside.




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438.     However, at the hearing, both T.M. and Lisa admitted that he came to pick her up at the Java

House.

439.     Lisa admitted to sending Doe an article titled 21 Things That Are So, So Uncomfortable in

December. When asked why, Lisa stated she sent it because Doe would always tell her not to sit in a chair

with her backpack on. She stated this was one of Doe’s ways of telling her what to do.

440.     Lisa stated that Doe did text her asking her if she was good in bed and referencing to girls with

nice boobs. She recalls this because it related the topic in Professor Lovaglia’s class to sex.

441.     Lisa provided no evidence of the text message.

442.     Doe was not in Professor Lovaglia’s Intro to Sociology class. He was in a completely different

department.

443.     Lisa provided no corroborative evidence in the Investigation.

444.     In seven months, Lisa did not report the “sexual assault” or the “sexual harassment” to any person,

to the UI, or any law enforcement agency.

445.     Lisa stated that she learned this was sexual assault after she spoke to DiCarlo. (emphasis added)

446.     However, Lisa’s resume demonstrates that she has a firm grasp on what sexual assault means since

she had been teaching students and faculty at UI about sexual assault since Summer 2016.

447.     Despite Lisa’s story containing significant changes in subsequent retelling, both Stevenson Earl

and Frost found Lisa credible and used these criteria as her credibility assessment.

448.     Frost, the Adjudicator, wrote that Lisa had “excellent recall” in her report.




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449.   Cross-examination would have allowed the above dialogue to occur, and not only show how

inconsistent Lisa is, but prove how extreme of a false accusation this was, something Doe had been saying

since the first day of the investigation to UI.

450.   UI knew or should have known these were false allegations as otherwise they would not be

selectively not asking questions that would show inconsistencies.

451.   UI knew or should have known that Lisa did not make these allegations in good faith, and rather

than sanctioning her, they sanctioned Doe with expulsion.

452.   UI knowingly prosecuted false sexual assault allegations that were obvious even at face value

made by Lisa.


Dr. Lovaglia

453.   Dr. Lovaglia stated that Lisa reported no issues to him. He learned about this when the Dean of

Students, Redington, emailed the notice to Doe and copied him in the email.


SUMMARY OF ALLEGATIONS OF LISA ROE

454.   Lisa alleged Doe touched her breasts one time without consent, that he tried to kiss her during the

Fall, and that one time, he placed his hands around her neck and said a sexual thing for no apparent reason.

455.   Lisa waited for nearly six months to report Doe.

456.   After her second interview, the Investigator emailed Lisa and asked her again why she came

forward several months after the initial incident. Lisa provided a different response this time:

       “I was so embarrassed and in shock that something like this happened to me, that I didn’t
       want to talk about it. But since the harassment (sic) kept going and I was starting to not feel
       safe at the lab, I decided I needed extra help.”


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457.   Dr. Lovaglia told Doe to leave the lab at the beginning of February, and thus Doe could not have

been there at the lab as Lisa is claiming nor could there have been any harassment going on since Doe was

not in contact with her. Doe alleges that her “extra help” is accommodations Lisa requested for doing

poorly in the previous semester, which was the last conversation Lisa had with Doe.


DEFENDANT STEVENSON EARL’S FINDINGS FOR LISA ROE

458.   The Investigator, Defendant Stevenson Earl, noted Lisa alleged attempted kisses and touching her

breast was unwelcome and non-consensual.

459.   Doe alleged the sexual touching (kissing and touching Lisa’s breasts) was consensual, and he had

verbal consent to touch her.

460.   The Investigator wrote there was no evidence presented to indicate that Doe used force (physical

violence or threats), or coercion. She then stated that it is questionable if Doe used intimidation when Lisa

alleged that Doe used a “bossy and condescending tone” in his voice but did not hold Doe responsible for

it.

461.   The Investigator, Stevenson Earl, who has a law degree from UI, put the burden on Doe to prove

his innocence by writing she had “no reason for not believing Lisa’s account” and thus, credited her

account, even though there were no corroborating details, nor could any other witness verify she has

reported the details to them in any conversations with them.

462.   The Investigator found Doe non-credible because his account “was extremely different from

Complainant’s account, both when he was questioned about minor details related to the incident on or

around August 31, 2016, and about behaviors that are potentially prohibited by university policy, i.e.,

behaviors that are sexual in nature.”

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463.   At some point during her interview, Lisa allegedly had tears in her eyes. The Investigator,

Stevenson Earl, used her tears in her credibility assessment. Stevenson Earl used a cognitive distortion

such as emotional reasoning as a credibility assessment. Emotions are individual, arbitrary, and

unanalyzable. In his appeal to the Board, Doe mentioned this by writing: “Generally speaking, logic is the

preferred means upon which to assess rational decision making or credibility, not emotions.”

464.   The Investigator also noted Doe’s “overdramatic responses,” and that one of his supporting

witness testimonies appeared “scripted.” She did not explain why she believed this. Further, the only thing

Doe’s supporting witness could have provided was information about seeing them in the lab once in

December 2016, seeing them hug each other, and them having a playful conversation with each other.

When asked for specific details of the conversation, he did not remember a lot of it. During her analysis

for credibility, the Investigator, thus, used Doe’s friend forgetting a lot of details of the conversation that

occurred between Doe and Lisa in the lab months later as a way to determine Doe not credible in the truth

he shared of what occurred on the night Lisa alleged being groped.

465.   Doe stated that the outrageous claims Lisa is making are extremely serious, and there is no excuse

for using them against someone for personal gain. Rather than asking Doe about what he meant by

personal gain, the Investigator put the burden on Doe to say he provided no additional details about the

personal gain comment.

466.   None of the examples of text messages, pictures, and videos provided by Doe between him and

Lisa from October to the last conversation they have had, portray the things Lisa is saying about Doe. This

points to how contradictory Lisa Roe’s statements are from everything she had stated earlier.




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467.    For instance, Doe provided plenty of text messages showing how Lisa continuously invited him to

come to the lab late at night, knowing they would be by themselves.

468.    The Investigator did not ask Lisa to explain these texts. In other text messages, Lisa seems playful

and appreciative of Doe.

469.    In the video from October 2016 Doe provided of them in the lab while alone, she seems to laugh

and playfully converse with Doe.

470.    In the pictures Doe provided, she is smiling and posing for the pictures taken. Lisa did not include

a single piece of physical evidence to support her claims.

471.    Since lab/student relationship is not an actual policy as Lisa stated, but instructor/student is,

something UI investigated Doe for, Lisa was likely talking about instructor/student relationship.

472.    Evidence shows that Sally, knowing that Doe was not an instructor for the lab, attempted to anger

Lisa by suggesting to her he was in such a role. This is a piece of critical exculpatory evidence intentionally

left out by the Investigator.

473.    However, the instructor found he did not violate the consensual relationship with the student’s

policy because:

        “The evidence does not indicate that John Doe’s role in the lab was in the instructional
        context. Information received from Dr. Lovaglia does not indicate that John Doe instructed,
        evaluated, or supervised directly or indirectly, Complainants, or any other lab members
        research. The evidence indicates that any lab member can run the meetings and conduct
        research at any time in the lab.”

474.    In her report, the Investigator recommended Doe to be suspended or expelled from UI if found

responsible for sexual assault.



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475.   Doe not only proved his innocence under a preponderance of evidence standard, but Lisa had

proved these were false allegations under a preponderance of evidence standard.

476.   Rather than sanctioning Lisa for the false allegations, UI had found Doe responsible for all

allegations.


C.       BIASED INVESTIGATION – DEFENDANT STEVENSON EARL
477.   In or around the beginning of August 2017, UI was informed that Doe was being represented by

attorney Marcus Mills, a former UI General Counsel.

478.   UI scheduled the hearing for September 17, 2017. Redington named Defendant Cervantes as the

charging officer for UI.

479.   In September 2017, Doe’s new attorney asked Defendant Cervantes for the handwritten and typed

investigative notes taken in the investigation right away.

480.   Upon information and belief, Ms. Cervantes did not know that the Investigator, Stevenson Earl,

left out critical information from her reports and/or edited information to find Doe responsible.

481.   When Cervantes accepted the request and provided the documents, Doe noticed that not only were

there many inconsistencies, but that the Investigator withheld exculpatory information from Doe–

information he would require to defend himself at the hearing.

482.   September 2017 would count as the time around which Doe could have been realistically made

aware that the Investigator discriminated against him.




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DELIBERATELY               EXCLUDED          EXCULPATORY              INFORMATION         AND      EDITED
INFORMATION

483.      When the Investigator interviewed Dr. Lovaglia, he said that a month after the alleged incident,

Sally told Dr. Lovaglia what occurred when she went back to Doe’s apartment after their date.

484.      At the interview with the Investigator, Dr. Lovaglia told the Investigator there was “mutual

attraction, and she had initially been okay, but she changed her mind.” (emphasis added)

485.      Dr. Lovaglia said, “they kissed on the couch.” (emphasis added)

486.      The Investigator left out this critical information in her report.

487.      Doe renews his argument he wrote in his appeal to the Board:

          “UI’s disregard for evidence during disciplinary proceedings can trigger Title IX liability.
          Flawed disciplinary proceedings occurred in part because of “critical omissions” by
          university investigators in preparing witness summaries (John Doe v. Wash. & Lee Univ.,
          2015 WL 4647996, *10)”

488.      Doe told the Investigator that Sally never indicated she was uncomfortable during the tickling, and

even provided text messages of an hour-long text message conversation they had later that night which

was friendly and showed no form of uncomfortableness.

489.      When the Investigator interviewed D.L, Sally’s boyfriend, she discriminated against Doe by

editing information in her report to find Doe responsible.

490.      The Investigator interviewed D.L. twice. During the first interview, on March 21, 2017, D.L. gave

a detailed description of everything he knew regarding Doe and Sally. In his first statement, D.L. reported

the kissing incident from a stance where Doe was the initiator yet said nothing about Doe touching Sally’s

breast.

491.      The Investigator interviewed Doe after D.L., and Doe denied the occurrence of such touching.
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492.    After this, the Investigator re-interviewed D.L. for unknown reasons on June 7, 2017, and during

the interview, he stated for the first time that Sally told him that Doe touched her breast and that it still

upsets him.

493.    The Investigator excluded this crucial information of D.L. changing stories regarding what he

knew about Doe allegedly touching Sally’s breast.

494.    Instead, the Investigator edited the story after speaking to D.L. for the second time and did not

make a note in her summary of the inconsistency so she can find Doe responsible. Other witnesses knew

nothing about Doe allegedly touching Sally’s breast.

495.    The information related to the second interview is written right at the top of one of D.L.’s Equal

Opportunity and Diversity (EOD) interview pages, it says “6/7/17 DL on phone” and is written with a

different pen font color showing this was written on a different day from the first interview with D.L. This

evidence is in the investigative files.

496.    There was no audio or video record of the investigation, and thus impossible to know the accuracy

of statements or find out the biases of the Investigator.

497.    In her report of Sally, the Investigator wrote details about what Dr. Lovaglia said in the interview.

She wrote Sally, “informed Dr. Lovaglia that Doe kissed her while at his apartment, and he wanted to go

farther and began touching her in ways that made her uncomfortable.”

498.    In the EOD interview notes, at no point when describing what happened in Doe’s apartment

between Sally and Doe did Dr. Lovaglia say anything about Doe, “touching her in ways that made her

uncomfortable.”




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499.   This occurred the next semester (written under ‘Jan ’17’ in the EOD interview notes) between Dr.

Lovaglia and Sally where she was referencing the tickling that occurred in the lab.

500.   The Investigator combined two conversations of different incidents between two semesters

to hold Doe responsible for sexual assault.

501.   To further confirm, at the hearing, Dr. Lovaglia said everything that happened in Doe’s apartment

was consensual, and he did not know about any alleged touching of Sally’s breast.

502.   Doe also stated that it was mutual, and it was only after he accused Sally of writing in hours and

complaining to the EOD he first heard anything about it being non-consensual.

503.   Despite this, the Investigator put the burden on Doe to see if he obtained consent before the kissing,

and the Investigator never asked Sally if she obtained consent before the kissing took place

504.   Dr. Lovaglia brought the note he wrote when Sally told him the story along with him to the formal

hearing, and again, it had nothing related to “touching.”. The university added it to the exhibits.

505.   The Investigator also edited information provided to her by Doe about Lisa and her boyfriend T.M.

On the day of the alleged encounter with Lisa, Doe stated he knew that T.M. was coming to pick Lisa up

from the lab that night. The Investigator changed the story to state Doe did NOT know T.M. was coming

to pick Lisa that night, thereby adding more credibility to Lisa’s story.

506.   After dropping off Sally, Doe suggested they hang out again, and Sally said “Sure!” Sally also

admitted to this. TheInvestigative notes say she said "Sure," however the Investigator edited the

information while writing the report and instead changed it to say “Complainant told Respondent that she

did not want to hang out again because she was busy.”



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507.   After Doe dropped Sally off to her dorm, Sally went to a dorm besides her, where her friend from

high school lived, and told him what occurred between Doe and her. According to the investigative notes

Sally said, “I think we ended up joking about it because I didn’t take it so seriously at the time.”-

Investigator excluded this important information out of her report. It is in the investigative notes.

508.   Dr. Lovaglia told Doe he should have oriented Doe to his new role and took responsibility for not

doing so. - Investigator excluded this information from her report. It is in the investigative notes.

509.   The Investigator asked Sally if she received credit as part of the lab, and she replied, “Yes.” The

Investigator then asked Sally whether Doe questioning her work ethic in the lab and receiving credit for

it made her upset, and she replied, “Yes.” Investigator excluded this information from her report.

510.   According to the Investigator’s handwritten notes, Sally’s boyfriend and roommate encouraged

Sally to report concerns. Sally told the Investigator she “did it for them.” Investigator excluded this

information from her report.

511.   After the lab meeting ended, Sally went to Dr. Lovaglia’s office and complained about Doe. She

told him about “tickling hanging lights” and “aggressive about data” according to the Investigator’s

handwritten notes. Investigator excluded information from her report that Sally's initial complaints were

about Doe being aggressive about tickling and aggressive about data.

512.   The Investigator asked Lisa after the second interview why she came forward, and during this time

she changed her story to reply, “Came forward b/c after talking to Sally Roe, Doe was crossing line b/c of

lab/student relationship.” Investigator excluded this information from her report. It would show that Sally

and Lisa did communicate regarding Doe.

513.   Doe renews his argument he wrote in his appeal to the Board:

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          “[i]f Ms. Stevenson Earl did not leave out crucial information, or intentionally edit
          information to find guilt, which I will be talking about more later in the appeal, she could
          have avoided tainting the entire investigation. A formal hearing may not have even been
          required.”

A HOSTILE ENVIRONMENT

514.     The Investigator investigated Doe while being indifferent to the harassment he received from

Sally.

515.     Doe stated that in January 2017, he was studying in the lab at night and Sally came to the lab,

signed in on the sheet, but spent time laughing and finding stuff on the internet/messing around.

516.     Doe also stated that Sally tickled him twice in January before he tickled her back.

517.     Despite Doe’s statement that Sally tickled him first, Stevenson Earl never investigated Sally for

harassment.

518.     He gave examples by saying that when they were sitting in the recycle bin to take a picture, Sally

tickled him to scoot him over because he was taking up a lot of space and she did not have space to sit.

519.     Doe said she tickled him again when trying to get a cassette recorder from him she wanted to throw

away, but Doe wished to keep.

520.     In Doe’s own words provided to the Investigator:

          “Sally was talking a lot that day, and at one point someone asked something about me that I
          was not paying attention to entirely as I was focused on E.C.’s data on SPSS (statistical
          software). I just heard Sally casually add, “The thing you have to know about Doe is that
          when you want to deal with him, you have to put him in his place.” I found this comment to
          be incredibly rude. I decided not to engage in that conversation, and this was the first
          conversation that day that I did not participate in. Later, I decided to not participate in the
          others.”



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521.   Doe told the Investigator that after he accused Sally of writing in lab hours she was getting credit

for, Doe threatened her ego. Sally was an honors student, and grades are important to her.

522.   Sally’s anger and need for retaliation led to the untimely complaint of sexual assault and sexual

harassment.

523.   Doe never threatened Sally. Doe simply hoped to encourage Sally to change her conduct in the lab

and Doe expressed to the Investigator how Sally retaliated against him.

524.   Doe was engaging in good faith protected activity by bringing up this subject with Sally,

considering her inability to do things on time affected Doe’s own work and research.

525.   The Investigator showed indifference to Doe’s concerns while she investigated Sally’s allegations.

526.   This led to Doe being harassed by UI further when Frost and other Defendants not only harassed

him, but allowed the complainants to harass him too.

527.   As with a gender-biased investigation, the Investigator only rationalized how Doe speaking about

mainstream dating advice for men – a New York Times Bestselling book called ‘The Game,’ written by

a pickup artist, created a hostile environment for Sally. However, the Investigator had no issues with Doe

talking about women’s dating advice that Doe stated they also spoke about called “The Rules,” which is

arguably just as unhealthy and sexist.

528.   The Investigator seems to believe that discussions about topics of sociology create a “hostile

environment.” If these topics are creating a hostile environment, according to the Investigator, Dr.

Lovaglia's class, which talks about such topics in sociology, should also create a hostile environment.

529.   Doe and his attorney told the Investigator at the beginning of the investigation what the dire

consequences would be if UI expelled Doe.
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530.    This was not done in a manner to distract her from the truth-finding process but done to emphasize

how important the due process afforded to Doe would be.

531.    The UI knew that expulsion would lead to loss of the F-1 Visa for Doe, leading to deportation to

a South Asian country.

532.    Doe told her deportation to the South Asian country he has never lived in, can threaten his life

primarily because of the recent attacks by ISIS on students who study in the United States, people who

identify as secular, or as academics.

533.    The federal government requires international students expelled to leave the United States

immediately16.

534.    Doe felt pressured to apply for political asylum.

535.    It changed his visa status to one where if the Homeland Security denies the asylum, Doe would

have to face an immigration judge in an immigration court for removal proceedings.


D.        PREHEARING AND DUE PROCESS ISSUES
536.    UI can provide deferred sanctions according to their UI Judicial Process, and he brought up that

Doe had respected the interim sanctions for the past seven months and that Doe would be nowhere near

the complainants or contact them.

537.    This would have allowed Doe to finish his degree since he only had about two months remaining

on campus. Cervantes rejected his request.



16
   “Expulsion from the school which has issued you the most current Form I-20 would cause you to lose the status of Foreign
Student and the right to legally remain in the United States. Under such circumstances, the student is expected to depart the
United States immediately.” www.f1studentvisa.com/maintaining-status.html.
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538.   Following the rejection of the request, Cervantes stated in the Notice of Hearing she is increasing

the interim sanctions, for reasons unknown to Doe, before the hearing. No explanations were given why.

539.   The new interim sanctions stated that UI prohibited Doe from being in any university building

other than the Lindquist Center, and that he was only allowed there for classes during scheduled class

times, and scheduled meetings with his academic advisor.

540.   Cervantes abused her discretion in increasing sanctions without explanation, and without giving

Doe a chance to appeal it.

541.   This letter also had no information on any resources available to him.

542.   None of the complainants had classes in the Lindquist Center, which was a building in the College

of Education, a different college from theirs.

543.   Doe asked his attorney to request UI he be permitted in the Lindquist Center “Monday through

Friday from 9 a.m. to 7 p.m.” as that would allow him to complete his internship and finish any homework

in the computer stations. Doe already had classes most days from 9 am till the afternoon.

544.   Doe’s internship, which he was being graded on, depended on when his clients were free, and thus

it was important he received access to the building at least during business hours.

545.   Mills, his attorney, told him that when he requested the accommodation, Cervantes said she would

“entertain the idea” and would reply to them. Cervantes never replied.

546.   Cervantes deprived Doe of his educational experience.

547.   For the hearing, Cervantes put the summary of the findings of the Investigator’s report into their

exhibits and therefore gave that as a copy to Frost weeks before the formal hearing.


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548.   The report as already noted was biased as it excludes much valuable information and includes an

analysis of the Investigator’s subjective perspective. Reading this before the hearing can build the ground

for confirmation bias to occur.

549.   Further, Cervantes took Doe’s text messages he provided in the investigation and put them in UI’s

exhibits as UI hardly had any evidence against Doe.

550.   Doe came with over a hundred pages of exhibits that includes text messages over many months,

multiple pictures of both Sally and Lisa that proves the truth and his account credible, and a video of Lisa

which shows them alone in the lab at night being playful.

551.   The UI Disciplinary Process prevented Doe from defending himself in the formal hearing, ensuring

an unreliable process.


UI POLICY         PREVENTS        DOE’S      ATTORNEY          FROM      CONTACTING          MATERIAL
WITNESSES.

552.   This policy had prohibited Doe from gathering evidence and testimony to defend himself for the

formal hearing. In his appeal to the Board, Doe stated:

         “In the ‘Notice of Complaint’ letters, interim sanction number 2 includes the following
         statement: “Also, do not discuss this matter with any of your mutual friends because the
         University’s Anti-Retaliation Policy applies to your case. Any action on your part to discuss
         the case with another student could be considered retaliation on your part.”
         “This has prohibited me from gathering evidence and testimony to defend myself. I wanted to
         have a conversation with and use Ms. E.C., having her testify as a witness, as she was another
         lab member I was good friends with but also mutual friends with Ms. Sally and Ms. Lisa.”

553.   Because Doe could not interview E.C., he could not evaluate her as a witness.




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554.     E.C. could have given testimony regarding knowing Doe was confused about his role in the lab,

how even after a year of being in SURG she did not think Doe had authority, and how informal and

student-run the lab was.

555.     E.C. could have furthered testified about Doe providing consistent statements to her about Lisa

taking her breast out, how Sally struggled to submit work on time, how Doe was uncomfortable and

annoyed about Sally joining the improv group, how Sally “rubbed her the wrong way,” how Doe wanted

to quit SURG because of Sally before the investigation, and how Doe avoided being in the lab after lab

meetings to avoid Sally.

556.     E.C. also could have testified that he observed no unusual interactions between Doe and Lisa and

Sally.

557.     E.C. further observed no harassing behavior throughout personal observations of Doe, Lisa, and

Sally throughout the relevant time period.

558.     Additionally, Doe could not interview Mr. R.F., a mutual friend of Doe and Sally.

559.     After Cervantes listed R.F. as a witness, Doe submitted several Facebook Messenger messages

between Doe and R.F. as evidence.

560.     Those messages would have confirmed Doe’s repeated desire not to interact with Sally.

561.     Contact with witness does not apparently apply to UI.

562.     Thus, while an accused cannot interview a witness before the hearing, UI can entirely talk with

whoever it wants.




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563.   Doe also wanted to discuss proposed testimony of Dr. Lovaglia however, he warned Doe against

discussing the investigation, probably because of the anti-retaliation provisions.

564.   This was harmful since Sally informed Dr. Lovaglia everything was consensual, and he knew

information that the Investigator withheld.

565.   This was damaging because, although Doe knew Dr. Lovaglia would testify the encounter

consensual, he had no way of talking or preparing with Dr. Lovaglia before the actual hearing.

566.   Finally, because of the blanket prohibition against talking to mutual friends/lab members, Doe

could interview none of the lab (approximately 10) to determine whether they observed any of the alleged

harassing behavior by Doe.

567.   Sally and Lisa would not admit to talking about experiences with Doe because of UI's retaliation

policy. If Doe knew that Sally communicated details of what occurred with them of them with Lisa, Doe

could have requested to investigate Sally for retaliation as Lisa was a mutual friend. Thus, it would be in

Sally’s best interest to not admit communication details with Lisa. UI had denied Doe the opportunity to

communicate with material witnesses because of its policies, as it relates to retaliation, prohibiting Doe

from gathering further evidence and testimony to defend himself. University should not use "retaliation"

policies to prevent an accused student from mounting a proper defense.


JOHN DOE’S ATTORNEY COULD NOT CROSS-EXAMINE WITNESSES.

568.   Besides being unable to investigate material witnesses for his defense, Doe could not cross-

examine witnesses at the hearing.

569.   The Adjudicator did not ask many questions that Doe submitted before the hearing.

570.   The questions submitted by Doe were not repetitive by any means.
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571.   All questions except one were worded carefully to be respectful. However, one question regarding

Sally’s character was asked to be removed due to its irrelevance.

572.   The Adjudicator did not ask, as Doe and his attorney requested, about the significant contradiction

in Lisa’s story of the night in question, where Lisa alleged she stayed in the building while Doe brought

beer and forced it down her mouth.

573.   This story directly contrasted with Doe and her boyfriend, T.M., testified that Lisa and Doe both

went to buy alcohol together from a store/gas station that night.

574.   The questions provided by Doe and his attorney she asked, she rephrased them as open-ended

questions to the extent possible. The Adjudicator re-worded the questions so heavily that the questions

were essentially useless.

575.   Part of cross-examination is being able to flow with what somebody is saying. Besides flow,

follow-up, and context issues that arise from a lack of cross-examination, the Adjudicator completely

changed the order of the questions Doe, and his attorney requested her to ask. This effectively denied Doe

not just cross-examination, but basic due process protections.

576.   Many more important questions would have highlighted inconsistencies and bringing credibility

into question through cross-examining.

577.   Doe’s attorney could not explore in depth either Sally’s or Lisa’s motives for testifying falsely

against him.

578.   For example, Doe stated that Sally and Lisa were friends and they were each other’s witnesses in

the investigation.



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579.     Their reports came nearly simultaneously with one another and a similar period of time elapsed

from the time of the report through the conclusion.

580.     Doe’s attorney could have asked more questions regarding the reason behind Sally providing Lisa

with the Title IX coordinator’s number when Sally claims she knew nothing about Lisa’s story.

581.     Doe renews his argument he wrote regarding cross-examination in his appeal to the Board:

          “There was also no effective cross-examination at the hearing. Cross-examination has been
          recognized as the greatest legal engine ever invented for the discovery of the truth, Lilly v.
          Virginia, 527 U.S. 116, 124 (1999), and has been ruled to be required for basic due process
          in campus disciplinary cases, Donohue v. Baker, 976 F. Supp. 136 (N.D.N.Y. 1997).”

582.     None of the witnesses have first-hand knowledge of the critical facts, yet, in a case where UI relied

upon a credibility assessment, there was no effective cross-examination available.

583.     The matter came down to Doe’s word against the complainant’s words. There were no

eyewitnesses present for both the alleged incidents.”

584.     UI Defendants based their unlawful decision to expel Doe on testimony attributed to witnesses

other than just Doe and Sally/Lisa.

585.     Under the new regulation issued by the Department of Education:

         “Such cross-examination at a hearing must be conducted by the party’s advisor of choice,
         notwithstanding the discretion of the recipient under paragraph (b)(3)(iv) of this section to
         otherwise restrict the extent to which advisors may participate in the proceedings.”

586.     Doe had raised this same issue of cross-examination in his appeal to the Iowa Board of Regents as

the Adjudicator discarded many questions Doe and his attorney provided, so this is not a newly raised

issue.




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587.   Frost also allowed the complainants to provide new evidence and exhibits at the hearing, toward

the end in the disguise of them being rebuttals.

588.   The Adjudicator asked Doe if he wanted to comment on the new exhibits right after UI presented

them. Doe declined as UI had not informed him these items would be offered nor allowed to prepare a

defense to them. This is not in university policy. This was not a formal hearing; this was essentially a

victim impact hearing.


IMPROPER CONSOLIDATION OF HEARINGS

589.   The consolidation of both complaints into one hearing was another major issue.

590.   The charging officer consolidated the two complaints of the two students at her discretion under

Section 12(D) of the Student Judicial Procedure.

591.   Doe’s attorney objected to this consolidation orally before the hearing and then placed the

objection on the record at the beginning. He did so because of the environment it created for Doe.

592.   Each complainant received information on resources from UI on free attorneys and advocates they

could bring to the hearing. However, UI did not provide Doe with any such resources.

593.   UI encouraged the complainants to get both attorneys and advocates. For example, when Sally

said that she did not come with an attorney, Frost asked her if she was sure and suggested she re-think her

decision.

594.   Thus, each complainant had the option to come with a personal attorney and an advocate. On top

of that, UI offered an attorney to the complainants who was the UI charging officer. Last, the Adjudicator

is also completely on the side of the complainants as seen in the rest of this Complaint.



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595.   When Doe testified, he faced the two complainants, their personal attorneys, their advocates,

Cervantes (UI’s attorney), and Frost (prosecutor/attorney), simultaneously. There was a divider in the

room and so Doe cannot see the complainants. But all the attorneys and advocates were staring at Doe

who was made to sit on the other side of the room. This set up an intimidating and hostile environment

for a respondent and Doe’s attorney did not think this environment was appropriate for a university

hearing.

596.   The complainants, their personal attorneys, their advocates, and Cervantes could submit questions

to the Adjudicator simultaneously, and she bombarded Doe with an endless list of questions one after

another.

597.   Consolidating the complainants and their complaints into one hearing, unfairly and unreasonably

prejudiced the Adjudicator in determining the facts and in weighing the credibility of the witnesses. This

is clear from the manner and substance of the questioning of the Adjudicator, and in her findings (e.g., her

comment there was a “pattern” of behavior involved).



UI DISCIPLINARY PROCESS PREVENTS ATTORNEY FROM ADVOCATING FOR CLIENT

598.   As it relates to attorney participation, UI policies state:

           The attorney may call witnesses; ask clarifying procedural questions of the Adjudicator;
           may lodge objections to witnesses, evidence, and others issues; and may consult with the
           party or student who brought the attorney, but the attorney otherwise may not speak during
           the hearing unless requested by the Adjudicator.
599.   This was essentially equivalent to having a mute lawyer. Since Doe’s case was “unusually

complex” as Doe’s F-1 visa dependent on it, and that UI, a public university, utilized an attorney as their

charging officer, they should have allowed Doe’s attorney to have a more active role in the formal hearing.


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600.    Throughout the investigation process, UI investigators treated Doe as “guilty before proven

innocent.17”

601.    Upon information and belief, UI instructs investigators and adjudicators to presume people

reporting abuse are credible while presuming the guilt of the accused.

E.        FORMAL HEARING , THE ADJUDICATOR - DEFENDANT IRIS FROST

EXTREMELY BIASED AND UNQUALIFIED

602.    The adjudicator in this case, Iris Frost, did not display the slightest degree of impartially throughout

the proceedings.

603.    She cross-examined, and cajoled Doe, seeking only incriminating evidence against Doe while

ignoring exculpatory evidence.

604.    As to the accusers, she ignored directly exculpatory evidence, asked softball opened questions,

bolstered week or evasive answers, and willfully failed to ask questions presented by Doe.

605.    Many Universities and Colleges bring in Adjudicators from the outside of their organization to

ensure that they insulate the Adjudicator from campus political pressures and a reliable process ensues.

606.    In contrast, the UI utilized Frost, an Associate Instructor of Rhetoric at the UI.

607.    The UI website describes her as “Associate Professor of Instruction” and that “Ms. Frost joined

the Department after ten years as a prosecutor with the Johnson County Attorney’s office, where she



17
  The conduct of UI created an unlawfully hostile and/or abusive environment for male UI students like Doe, in part, because
this conduct is like that addressed by legal scholars documenting bias against male students accused of sexual misconduct on
college campuses. See, e.g., Barclay Sutton Hendrix, A Feather On One Side, A Brick On The Other: Tilting The Scale Against
Males Accused of Sexual Assault In Campus Disciplinary Proceedings, 47 Ga. L. Rev. 591, 594-599 (2013); Stephen Henrick,
A Hostile Environment for Student Defendants: Title IX and Sexual Assault on College Campuses, 40 N. Ky. L. Rev. 49, 50-
52 (2013).
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concentrated on felony and misdemeanor crimes, including vehicular homicide, impaired driving, arson,

bank robbery and murder.” See https://clas.uiowa.edu/rhetoric/people/iris-frost.

608.   When Redington emailed ‘notice of hearing’ and appointed Defendant Frost as the Adjudicator

for this case initially, he and Doe’s original attorney had concerns about her involvement since she had

been a prosecutor in the Johnson County Attorney’s office for over ten years.

609.   Frost’s CV promotes lengthy prison sentences a sign of her prosecuting skill, but does not any

identify any leniency to Defendants as a sign of her effectiveness.

610.   Upon information and belief, before the hearing, Frost had little or no training about the definitions

to apply, and her role in being a neutral and impartial Adjudicator.

611.   She lacked the knowledge, training, and experience to conduct a fair and competent fact-finding

investigation.

612.   Frost’s CV demonstrates this, which shows no certifications in Title IX investigations or that she

possessed requisite skills to be an impartial Adjudicator.

613.   Upon information and belief, this was the first hearing Frost was adjudicating, as according to her

CV, below the title certifications, she received a Continued Education Unit in Sexual Misconduct in

September 2017, the same month in which she was the Adjudicator for the hearing. .

614.   Doe mentioned the following in both his appeals: UI’s pool of Adjudicators was fundamentally

unfair and biased. Doe’s attorney, and him debated asking UI to have another Adjudicator without a

prosecutorial background appointed but UI informed them that the two other potential Adjudicators were

also former prosecutors (one county, one federal), This is a basis for questioning the underlying fairness



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and objectivity of the process itself as UI is making the accused defend against experienced prosecutors

in a university hearing.

615.     Upon information and belief, UI does not consider hiring Adjudicators with a defense background,

who specialize in sexual assault cases.

616.     For example, Davis Foster, Doe’s first attorney, applied to serve as a UI Adjudicator after

representing Doe as the injustice he was seeing in his clients concerned him. Upon information and belief,

UI told him they would consider him once he got rid of all the clients he was representing against UI,

which took him many months. After he did, UI refused to hire him citing his lack of prosecutorial

experience. In spite of his stellar professional reputation experience, Foster’s 30 plus years of experience

representing accused in essence disqualified Foster from serving as an adjudicator, which is circumstantial

evidence of UI’s interested in securing responsibility determinations in its disciplinary proceedings.


THE FORMAL HEARING

617.     Doe was not given a fair opportunity to share his truth and to benefit from an investigation of the

accuracy of that truth, as Frost was not interested in obtaining Doe’s account of the alleged incidents.

618.     Since the complainants’ accounts are “believed” to be true and their “survivor” status presumed,

it is not difficult to imagine how this approach opened the door to serious injustice.

619.     For the Complaining witnesses, she asked leading questions of them and helped direct their

testimony to a finding of guilt.

620.     She was empathetic to the complainants, even counseling them, and taking their words at face

value.



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621.   This was not the case when she dealt with Doe. She was aggressive in her questioning, which she

filled with leading, loaded, and incriminating questions. There was a sharp contrast with the way she

treated opposing parties.

622.   Frost, in effect, cross-examined Doe while asking direct examination questions of Sally and Lisa.

623.   She blatantly led and coaxed the complainants, putting words in their mouths, through her

questioning methods and found them credible and emotionally distressed. She manipulated the outcome.

624.   If this was an investigation free of bias, under the UI policy of consent, both Stevenson Earl and

Frost should have questioned Sally on whether she asked Doe for consent before they kissed. However,

UI failed to ask this question and assumed that Doe initiated the kiss.

625.   Doe renews his argument he wrote regarding Frost’s bias and sexism in his appeal to the Board:

         “Also, there seems to be an after the fact presumption and bias in the investigators,
         especially Ms. Frost, because of the questions they ask, or the lack of, that the male is
         always the initiator, and that there is no possibility of it being mutual. Ms. Frost’s
         view that the male is the initiator is sexist, patriarchal, and applies gender
         stereotypes. Under the United States Department of Education’s (DOE) Office for
         Civil Rights (OCR), this violates Title IX policies for not being objective and
         impartial. Their website states: “Training materials or investigative techniques and
         approaches that apply sex stereotypes or generalizations may violate Title IX and
         should be avoided so that the investigation proceeds objectively and impartially.”

626.   Doe had carefully organized the exhibits chronologically, so he could state a coherent story

allowing him to defend himself by showing the context of each event.

627.   Yet, his carefully reconstructed chronology did not matter to Frost as she was all over the place in

her questioning, jumping from event to event over different months, de-contextualizing the situations.

628.   Frost overlooked questions to multiple exhibits provided by Doe that corroborated his account.


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629.    Frost was not interested in the truth and was ruthlessly determined to prove Doe responsible for

the charges.

630.    Frost had not allowed him to share information he felt was relevant, as she did with the

complainants.

631.    Doe’s attorney requested multiple times to allow Doe a chance to go through the exhibits he

submitted, and Frost can even be heard in the audio arguing with his attorney to guide her further as she

does not want to go through the exhibits Doe submitted.

632.    At the hearing, Frost dehumanized Doe while humanizing the complainants. Frost did not treat

Doe with respect and dignity, and thus created a prejudicial and hostile environment that lasted all three

days.


TESTIMONIES

Sally Roe

633.    When asked if Sally told R.C. about Doe touching her breast that night, Sally said “yes.”

634.    Sally mentioned that Doe’s displeasure with whether she gets things done on time would concern

her because of how it might affect her relationship with Dr. Lovaglia.


R.C. (Sally’s friend from high school)

635.    Regarding the close relationship between Sally and R.C.:

            “Her and I went to the same high school, we were in the same friend group, and we’ve
            been friends since Freshman year of high school. Now that her and I go to the same
            school, we talk a lot, like a good amount”
            Last year (when the alleged incident happened) they had a lot of meals together



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636.   In response to Frost’s questions about when he allegedly saw Sally on September 2, 2016, R.C.

quoted the following:

        a)      There wasn’t very much of a tone in her voice when she called.
        b)      She looked calm, her voice was not tense. She sounded normal.
        c)      She lived a couple of doors down, she wasn’t far from where I lived.
        d)      She looked fine.
        e)      She was definitely kind of calm.
        f)      Her appearance was more or less tranquil.
        g)      Conversation started pretty normal, just catching up and then she started talking
                about this “interesting encounter” that she had
        h)      This conversation started completely normal, it did not start with her being scared.
        i)      He [Doe] was clearly interested in her, she did not know how she felt about him.”
                (emphasis added)
        j)      She did not smell like alcohol at the moment at all.
        k)      She did not act or talk or smell in any way that she had a drink. If she had, I would
                have noticed. She did not appear to be impaired in any way.
        l)      She said at one point he started making like moves on her, he started putting his arm
                around her, and leaning in to kiss her, and she would pull away, but I think she told
                me she was okay. I don’t think she told me he was forcing anything.

637.   Despite R.C. mentioning multiples times, Sally was calm and tranquil, Frost would not give up on

attempting to squeeze out anything that could support the decision she had made up in her mind. Here is

an example of how biased Frost was with her leading questions:

        Frost: Did she specifically tell you that he touched her breast?
        R.C.: I can’t remember to be completely honest, that sounds like something that might have
        happened, and I feel like that sounds familiar but to be completely honest, I don’t remember.
        Frost: Do you think if she told you that it might have stood out in your mind as dramatic?
        R.C.: Probably. (emphasis added)
        Frost: At any time during the conversation in the stairwell, did you find Sally to be upset,
        crying, shaken?
        R.C.: She was much more shaken upon telling me what happened than she was when she
        walked into the bottom of the dorm. So, I would say she was a little confused, a little freaked
        out maybe.

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638.   In her report, Frost left out all the things R.C. said about Sally being calm, and not knowing about

the alleged touching of her breast and instead wrote that she was “confused, freaked and shaken” that

her response of telling someone about it then shows how distressed she was. This was enough evidence

for Frost to state it was her opinion that Doe touched Sally’s breast.


E.J. (Sally’s roommate and best friend at the time)

639.   When asked about her relationship with Sally, she said “We were really close.” (emphasis added)

       “We like to tell each other about our days like when we came home and like how things are
       going. So, I’d like to say yeah that we were very, like I knew intimate parts of her
       relationship and stuff like that. She knew the same about me as well.”

640.   Frost, without using the word ‘alleged ‘asked E.J. the question: “Did she tell you that he touched

her breast?”

641.   E.J. replied “No.” (emphasis added)

642.   Frost without using the word ‘alleged’ again asked E.J: “Did she tell you that he kissed her?”

643.   E.J again replied “No.” (emphasis added)


Lisa Roe

644.   When asked what she thought of Doe when she met him in the lab at night, Lisa said Doe seemed

like a “nice and welcoming person” even though she stated that she was allegedly harassed and assaulted

by him within minutes of meeting him.

645.   Lisa said that Doe was gone for 15 mins and that when Doe came back, Doe came with a paper

bag and pulled out two beers.

646.   Frost asked how she “felt” about that to which Lisa replied that she felt uncomfortable.


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647.      Frost asked if she “consensually” agreed to move to the couch with Doe.

648.      Frost encouraged Lisa to portray herself as the victim by asking questions implying that she was

distressed and had no agency as a person.

649.      Lisa said Doe got close to her and tried to kiss her and that Doe did not make contact with her lips.

650.      Doe stated that they kissed.

651.      Lisa then said Doe did not say anything. She says that Doe did not tell her he wanted to kiss her

or make any complimentary comments, and that Doe just put his hands under her shirt and grabbed her

breast.

652.      When Frost asked how she responded, Lisa replied she did not say anything.

653.      Lisa said at this point Doe kicked over his beer bottle and they got up to clean that up.

654.      Lisa said that T.M. then texted that he came and that she had to leave.

655.      Lisa did not mention that the custodian entered and saw them.

656.      Doe gave UI permission to contact the custodian at the time of the investigation and provided them

his name, but UI never contacted the custodian.

657.      Lisa said that Doe had contact with T.M. that night and that it was “awkward,” and that Doe “was

trying to cover up something uncomfortable that happened.”

658.      Lisa said that she was not speaking during then, and that Doe was just speaking and complemented

T.M. and “it felt weird.”




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659.   Lisa suggested that Doe, after allegedly sexually assaulting her, would then go down and wait for

her friend to come to pick her up, so she can get him into trouble, but then also “try to cover up something

uncomfortable that happened.”

660.   During the investigation, Lisa provided a completely different story where she said she ran away

from the lab and cried while she waited for T.M. and did not even initially share that Doe came downstairs

with her to meet T.M.

661.   Doe consistently said that he and Lisa walked downstairs together, they waited for T.M. to arrive

and spoke about what she had going on for the night, that Lisa introduced T.M. to him, and that they shook

hands and spoke for a couple of minutes, including talking about rock bands.

662.   T.M. who gave his testimony later corroborated with Doe and mentioned that Lisa and Doe waited

downstairs and that Lisa introduced them.

663.   Due to the lack of cross-examination and a biased Adjudicator, Doe could not ask questions

regarding these inconsistencies.

664.   When Frost asked Lisa about whether she drank beer with him at Iowa Chop House, she said “yes.”

Unfortunately, that ended the line of questioning from Frost.

665.   Frost repeatedly failed to ask questions Doe and his attorney had requested. For example, Frost

was supposed to ask Lisa reasons behind taking out her fake ID and drinking two beers by herself with

Doe while alone that night, especially considering that Lisa alleged she did not drink alcohol on weekday

nights, that just a couple of weeks prior Doe allegedly forced alcohol down her mouth and sexually

assaulted. Frost changed the question to ask Lisa if she drank beer (which Lisa already admitted to in the

Investigation) and asked her what the beer tasted like, an unimportant question.

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666.   Despite Doe and his attorney's request for the Adjudicator to explore these critical issues, Frost

chose not to ask any follow-up questions.

667.   Frost: During these events did you snap at him or tell him it made you feel bad?
       Lisa: No.

668.   Rather than asking the questions Doe and his attorney requested to ask about pictures and videos

Doe provided of Lisa (and Sally), on why they looked comfortable (and being playful) with him late at

night while alone in the lab, Frost asked these questions regarding all pictures and videos provided instead:

         Frost: So, who took the picture?
         Lisa: John Doe.
         Frost: And you knew he was taking this photograph?
         Lisa: Not at first. I didn’t know at first until I saw them.
         Frost: So, he never asked you permission to take the photograph?
         Lisa: No.
         Frost: You never said, “hey don’t take my picture or it’s okay to take my picture,” but your
         photograph was being taken?
         Lisa: Yes
         Frost: Was there any purpose to this photograph? Like did it help anybody with research,
         did it show your spelling error which intended to teach other people?
         Lisa: I don’t believe so.
         Frost: Did John Doe ever send you a copy/text you a copy of this photograph?
         Lisa: No.
         Frost: Was it okay he took the photograph?
         Lisa: I guess so, it’s a little weird.
         Frost: So, it didn’t offend you, you just thought it was weird?




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669.      This line of questioning is biased because it omits any inquiries that Doe wanted to discuss, such

as why Lisa looked comfortable and friendly in the pictures and why she was even the one posing in the

photos.

670.      Despite Frost’s effort to make it look like a “non-consensual” photo, the court needs to look only

at the photo to see she was posing for the photo surreptitiously taken.

671.      Lisa provided no evidence other than a sheet with Doe’s research on it regarding sexual assault,

and said that Doe went on her computer and renamed a sexual assault literature file as “Sexual Lisa.”

672.      Frost consistently acted as a prosecutor, using marginal evidence to hold Doe responsible.

673.      For example Frost found Doe responsible for sexual harassment because he wished Lisa Merry

Christmas and asked her what the cutest present she got from her family is:

           Frost: Exhibit 4, page 19: Very bottom of the page at 10:29 p.m. This was Christmas day or
           the day after Christmas. John Doe asked, “what is the cutest thing you got?” You were
           discussing Christmas activities. Did that strike you as comfortable or unusual?
           Lisa: Unusual, little uncomfortable.
           Frost: Why do you think he phrased it that way?
           Lisa: I think he was trying to flirt

           674. Frost: At some point did you stop going to lab?
           Lisa: Yes.
           Frost: Could you tell me about that?
           Lisa: I stopped around after Christmas
           Lisa: I was just kind of getting sad and him like making me come at nights, making me feel
           uncomfortable, so I didn’t want to be…I didn’t want to go at night, so I guess I was pulling
           back in how involved I was and after I reported…or after Sally told me that there are rumors
           going around, I just stopped going to lab meetings because I felt like uncomfortable and like
           I didn’t want them to see me that way.


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         Frost: What way?
         Lisa: Like…umm…I mean I don’t know if they would believe me if I said I didn’t want this,
         this was not supposed to happen like he kind of like he did himself without my consent umm,
         I didn’t know if they would believe me or if they would judge me, I don’t know…umm…and
         so I didn’t go back until this semester cause I was trying to get over the uncomfortable
         feelings, that’s also when I saw the sexual misconduct.
675.   Lisa’s quote about Doe “making” her come to the lab would have been a sufficient reason to let

Doe inquire about the multiple texts she, herself, sent to Doe asking him to attend the lab at night with

her.

         Frost: I think you told me that the reason you made the decision to report it was that you
         simply overheard a conversation that John Doe was having with the new recruits, the new
         students?
         Lisa: Yes and also like when Sally told me she had a lady that she was talking to, she said, I
         mean I, when she told me she was like, I mean if you just want to talk to her you can like
         talk to her, you don’t have to take it as far as going to umm reports and like going to
         court umm and so umm I forgot what I was saying.
         Frost: We were talking about what motivated you to report.
         Lisa: Oh yeah. So when I heard that I guess I didn’t realize this whole time that I could
         have reported it to the police or to like anyone else I need help because it wasn’t a rape
         umm and so I didn’t think like going to the police they would be like well I mean he
         didn’t rape you, and I have no evidence, I have don’t have much evidence, I just have
         my words, so that’s why I waited long. (emphasis added)
         Frost: And at that time in point did you know what sexual assault was?That it wasn’t
         rape?
         Lisa: Not really. I didn’t know it was sexual assault until I met Monique
         (DiCarlo).(emphasis added)

676.   Despite Frosts’ biased questions, it leads to the fact that Lisa decided, on her own, to follow Doe

into his apartment and he did not invite her to.

         Frost: A few days before Christmas on December 20th, you spent some time with John Doe
         inside his apartment.
         Lisa: Must have been after Chipotle.
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Frost: So, the only time you remember being in his apartment is?
Lisa: After Chipotle.
Frost: Do you remember how long that encounter lasted?
Lisa: Like 15 mins.
Frost: And you went to his apartment that day for what purpose?
Lisa: That was after Chipotle, and he wanted to get a coat.
Frost: Did he encourage, you to come upstairs or did he invite, you to come upstairs or did
he just not want to stay downstairs and wait for him to get a coat?
Lisa: I guess I just followed him up there.
Frost: So, at any time where you frightened physically? That you will be in physical danger?
Lisa: Like the whole…umm…like that he would hurt me? Not so much physical more like
mental
Frost: So, you were not afraid of him physically?
Lisa: Umm…
Frost: You weren’t afraid that he was going to punch you or hit you?
Lisa: No.
Frost: You were more concerned about mind games?
Lisa: Yeah. And like if he would touch me again.
Frost: Okay. Did you try to keep your distance?
Lisa: Yes.
            (There is now a short break)
677. Frost: Let’s go back to exhibit 4, pages 2 and 3, and 17 and 29. These appear to be text
messages where you initiate contact with John Doe. Is that what they appear to you?
Lisa: Umm… (no response)
Frost: Looks like at 4:50 p.m., you say also are gonna be by chance at lab tonight. It’s at the
top of page 2. Is that you asking him if he’s going to be at the lab?
Lisa: Yes.
Frost: Do you remember why you were asking?
Lisa: (No comment. LONG PAUSE)

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          Cervantes (Charging officer): What are the dates? There’s no dates.
          Frost: That was where I was going to go next.
          Marcus Mills: There is a date at the bottom of that one.
          Cervantes: Just for the record, these were documents that were produced by John Doe
          in the investigation.
          Marcus Mills: Right.
          Cervantes: So, it wasn’t documents produced by Lisa.
          Marcus Mills: Right, correct.
          Frost: I’m just asking at Mr. Mills request if you have any recollection of this email as
          being an initiation of meeting at the lab? I think that’s what you’re getting at
          Lisa: Umm…(pause)
          Frost: Looks like this would have been before Wednesday of December 14th
          Lisa: I mean I asked him, I don’t know what the previous conversation was like if we
          were talking about something
          Frost: So I guess my question would be are you trying to figure out if he’s at the lab or
          are you inviting yourself to be with him at the lab?
          Lisa: Umm my guess would be that I was wondering he’s at lab cause I needed help
          with something.
          Frost: Okay.
678.    Frost asked no further questions about at least five other occasions she invited Doe to come to the

lab late at night.

T.M. (Lisa’s boyfriend)

          679. Lisa boyfriend testified that Lisa liked the lab and in response to the question about
          who go the beer, he testified that they got it from the gas station, corroborating Doe’s version
          of how they got beer.
          680. Frost: What did she tell you about the lab?
                T.M.: At first, she said that she liked it. She liked organizing data and everything.
                (emphasis added)
          681. Frost: Did she tell you anything about how beer got there [the lab]? Did she buy
          the beer, did she bring the beer?
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               T.M: I believe she said that John Doe bought it.
               Frost: And did she tell you that she went with him to buy it?
               T.M: I think she said that they went to the gas station to buy it.
               Frost: Tell me what else she told you?
               T.M: At that night, that was it.

         682. Frost: Did she tell you more about the events that evening?
               T.M: No.
               Frost: Did she tell you that she was physically touched?
               T.M: He tried to kiss her.
               Frost: She never told you that there was any contact with her breast or body in
               any way?
               T.M: No
683.   Here, Frost attempted to ask leading questions to support the witness in her own preconceived

outcome regardless of the facts.

         Frost: Was the nature of your relationship in the Fall of 2016 one in which she might have
         been trying to spare you the details because of your on again and off again relationship?
         T.M: What do you mean exactly?
         Frost: If you weren’t really dating, if you were having some issues in your relationship,
         might she have wanted to spare you the details of what was upsetting her?
         TM: I don’t believe so.
         Frost: Was she scared of what you might think?
         TM: I don’t think she was scared of what I might think.
         684. Frost: How would you have reacted if you learned more about those events of
         August 31st? Would you have been angry, would you have been disappointed in her, would
         you have some negative reaction?
         TM: Well it depends on the events obviously but if something further happened, yes, I would
         have been angry, not at her, at the person who did it, I wouldn’t have been disappointed in
         her, it’s out of her control if it’s forced on her, it’s nothing she could do about it.



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Dr. Lovaglia
         685. Frost: Did Sally tell you that he kissed her?
         Dr. Lovaglia: Yes.
         Frost: Did she tell you that it was a consensual kiss?
         Yes. (Left out by Frost in her report)
         Frost: Did she tell you that he touched her breast?
         Dr. Lovaglia: I do not remember that. (His notes he wrote after she left the lab do not
         reflect that)
         Frost: Does that seem like something that you might remember if she had told you?
         Dr. Lovaglia: I think I would…

686.   Many parts of the above testimony were left out of Frost’s report indicate Frost’s bias and his

practice of mishandling the entire investigation to construct a story that does not correctly reflect the

testimony:

         Frost: Can you tell me what you did after Sally told you about these issues?
         Dr. Lovaglia: First, I’d like to clarify something. My recollection is, and I’m really hope
         that I did not misunderstand her, my recollection is that she conveyed the idea that all
         of that sexual behavior that occurred in Doe’s apartment was consensual…

687.   Upon learning of the sexual complaint by Lisa, Dr. Lovaglia stated that it "was a complete

surprise.” The testimony further indicates that Dr. Lovaglia had a positive impression of Doe’s

relationships with female students.

         Frost: In the Investigator’s report, it is my recollection that you suggested that Doe had a
         very difficult time absorbing the information that you were attempting to communicate. Is
         that correct?
         Dr. Lovaglia: That is correct
         688. Frost: You said something about John Doe seeking those relationships as he had been,
         seeking social relationships from the students. Is that what you believed he had been doing?
         Is that what he told you he had been doing and would cease doing that?
         Dr. Lovaglia: John Doe was very friendly with the women in the lab.

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         Frost: What does that mean?
         Dr. Lovaglia: He’s a very social person, so they’re laughing and joking and being friendly
         with students in the lab. I did not notice any touching or any other signs that would worry
         me about relationships becoming potentially troublesome.

S.B. (John Doe’s friend and witness)

689.   For Doe’s witness, in contrast to her questioning of Lisa and Sally, Frost assumed the role of a

prosecutor, repeatedly cross-examing S.B.

         Frost: Did he describe to you kissing her on the couch in his living room?
         SB: So I’m not sure he gave me the details about where they kissed every time they kissed,
         but I’m sure I recall there being a lot of it over an extended period of time.
         Frost: So, you’re not certain he gave you all the details, all the intimate details?
         SB: Well, I think all the intimate details of what they had done together he had given me,
         every single moment by moment second of the story, nobody gives that kind of detail to each
         other.
         Frost: You told me a little bit earlier that you share everything
         SB: Yes, but you know what I mean by this, I’m sure.
         Frost: Well, I’m not sure I do
         SB: Well, let me explain for you then. When I say I shared everything with someone, I’m
         not going to tell them I was in the bathroom three minutes ago or I had a hole in my sock
         this morning. I’m going to tell them things like “hey my professor told me this today” “I
         shared a kiss with a girl today” “I went on a date, and it was wonderful” Things like this.
         Virtually everything that is not superfluous I would say.Frost: Ok (says the okay in what
         seems like a sarcastic tone).

690.   This following question directly demonstrates Frost ignorance of basic principles of Title IX

policies, which expressly prohibits such use of gender-based archetypes, e.g. that men are sexist. She

asked no similar questions of any of Sally or Lisa’s witnesses.

         Frost: Have you known John Doe to make sexist comments?




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        No, in fact, his research is specifically looking at things against sexual aggression toward
        women, and he’s frequently spoken to me about this too.

691.   Frost continued her leading questions:

        Frost: Did there come a time when you heard that John Doe had allegedly kissed Lisa and
        groped her breast against her will?
        No.

John Doe
692.    Frost: Do you know how old she (Lisa) was in August of 2016?
        John Doe: Yes.
        Frost: How old was she?
        John Doe: She was 19.
        Frost: I think we established that point you were 26.
        John Doe: Yes.
        Frost: Clearly you had some more experience than she did just based on age.
        John Doe: I did.
        Frost: Did you at any time feel that this may be inappropriate behavior? (unfair question, it’s
        not illegal for a 26-year-old to ask out a 19-year-old nor is it against UI policies)
        John Doe: No, at that moment, no.
        Frost: And why is that?
        John Doe: I didn't see myself as something of a leader or I didn't think there was much wrong
        with dating someone years older. My parents are eight years apart. I don't see that as a thing.

693.    Frost: Do you have any idea if she intended to have dinner with you? Did you have a plan?
        John Doe: I just came in as if I'm really hungry. I need to eat something. I feel like I'm about
        to faint because I have class till seven that day and she's like “well, let's go get you something
        to eat.” That was, and I quote her on that.
        Frost: So was her idea to go to get you something to eat?
        John Doe: “Let's go get something to eat” yes.




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Frost: But when she originally scheduled her lab time with you on that night, it was intended
to be lab time work time in the office. Is that correct? (Work time in the office? This is a
volunteering lab.)
John Doe: Well, there was nothing that said it was going to be work time in the office, but
we did talk about research over dinner. So, we did work over there. In fact, I did take out my
book or not my on my book, but my research materials in Chop House to talk about it
Frost: And you felt that that was an appropriate arrangement?
John Doe: Yes, I did.
Frost: And then you went to dinner with her at Chipotle?
John Doe: Yes.
Frost: And when was that?
John Doe: That was in December, December I'm blanking on the dates, but it would be
around the midway I believe.
Frost: You think it was probably before the break?
John Doe: It was definitely before the break yes.
Frost: And what was the purpose of that dinner was that?
John Doe: Yeah, so we spend the entire day from 4:00 p.m. Well, texts was sent from 4 p.m.
To almost been at 11:45. I would say and around 9:00 p.m. I got hungry. You're spending
an entire day over there. I don't have any food with me. She didn't have any food with her.
We both were hungry, and I asked her I want to go grab something to eat, would you like to
come along? And she said yes, and she has never been to Chipotle and I was like I wanted
to go to Chipotle.
Frost: How would you have felt if she said no, I'm not going to go to dinner (These are clear
cross-examination questions)
John Doe: That’s totally fine.
Frost: You wouldn't have gotten angry?
John Doe: No.
Frost: Wouldn't have gotten frustrated?
John Doe: No, that’s her response and she's free to her response.
Frost: Wouldn't have tried to convince her otherwise? (This question lacks any relevance)
John Doe: No.

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       Frost: So how long do you think that dinner at Chipotle lasted?
       John Doe: I would say about an hour.
       Frost: And you thought that…did you talk about work over dinner?
       John Doe: We spoke about my research and it's related to politics, so we spoke about politics
       as well while we were at the topic.
       Frost: And you thought that was an appropriate venue?
       John Doe: I believe it is, yes.
694.   Frost: What happened when this session was completed?

       John Doe: Well, it was getting late. It was I believe around 12/12:30 and she said she has to
       get going, and I said great I'll walk you to your place. I already knew where she lived she
       told me. She told me she lives at Daum
       Frost: And did she allow you to walk her there?
       John Doe: Yes.
       Frost: And what happened when you got to Daum?
       John Doe: We kissed.
       Frost: Did you ask her at that point if you might kiss her? (But here, Frost never asked Sally
       if she asked for permission to kiss Doe)
       John Doe: I don't ask no.
       Frost: But you did kiss her? (Doe answered the question. Frost being repetitive)
       John Doe: We kissed yes.
       Frost: Your lips touched her lips? (Unless UI has different levels of sanctions based on styles
       of kissing, there is no point in this question. Frost is harassing Doe because she cannot get a
       response to confirm her biases)
       John Doe: That’s correct
       Frost: Did you use any tongue or anything other than your lips?
       John Doe: No
       Frost: And then you went home I presume
       John Doe: I called S.B. while walking home
       Frost: Okay, and what did you tell him?

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         John Doe: I told him what happened. I met Sally earlier that day and that we went to an
         improv show. We wore same shirt well pretty much, and I liked her, I was excited to see her
         the next day
         Frost: When you took the course [sexual harassment seminar] in February or March 2017,
         did you recognize any of your behavior in the past as being in violation of the sexual
         harassment code of the University?
         John Doe: If I were in a position of authority, I would have, and if I didn't have the comfort
         that I had with Miss Lisa and Sally at the time of her friendships, I also would have.
         Frost: And I understand that you didn't perceive yourself as a person in a position of
         authority?
         John Doe: I did not

695.   The sexual harassment training course that Doe took online after UI had started the investigation

suggested that a person of power in a workplace (a manager) can date someone lower in power, however,

it explicitly warned of retaliation if the relationship would not work out.

696.   The sexual harassment training course also stated how the level of comfort between people is a

significant factor in determining whether it qualifies as sexual harassment.

697.   Even though Frost said she would get back to Doe’s questioning and include the text message

exchange with her that shows that Doe was uncomfortable about Sally joining his improv group, she does

not get to those questions when they are relevant. Frost does not allow Doe to demonstrate evidence of

his own discomfort.

         Frost: Well, you were pleased initially that she joined the improv group where you're not?
         (Frost has evidence that shows Doe was not pleased and even told her “stay away from me”,
         yet she asked such a biased question)
         John Doe: Absolutely not.
         Frost: But if you had a friendship with her, why wouldn't you be pleased that she joined the
         improv group bringing another friend into the group?
         John Doe: Because I did not want her to come into my personal life. That is where I drew
         my line. It is a friendship and anything more than that is perceived as something. I would
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           say this that improv means a lot to me, that is where I am my truest self. I want to be
           comfortable over there to the fullest extent. I was not fully comfortable with that and I think
           it shows in the text messages too
           Frost: I'll get to those in a minute.
           John Doe: But let me see if I can understand what you're saying because I believe what
           you're suggesting sounds contradictory. So, I want you to clear this up for me
           Frost: You had a date with Sally?
           John Doe: Yes
           Frost: You have this group, you wanted to create an environment in The SURG lab of
           friendship and camaraderie (Frost is being condescending)
           John Doe: Yes.
           Frost: You talked with her about your improv group.
           John Doe: Yes
           Frost: You had her to your apartment, there was a session of kissing, but yet you you wanted
           to go out on a date with her?
           John Doe: Yes
           Frost: But improv was off-limits?

698.   Frost was argumentative and manipulative. The underlying archaic assumption here is that she

sees Doe, a man, as so lost in his lust for Sally, a woman, that he should be grateful that Sally joined the

improv group that Doe started. Despite Doe having concrete evidence to prove how uncomfortable he felt

about this, and although he already replied “absolutely not” to her when she asked him if he was pleased

Sally joined the group, Frost argued with Doe to convince him otherwise. It did not matter to Frost how

Doe felt as she undermined his emotions. As can be seen from Doe’s last response, he is getting frustrated

with Frost.

(contd.)
           John Doe: No, well after the date, she said that she was not interested and that will mean that
           I have to think differently about the situation in the sense that okay, I could have you as a
           friend, but that's where I draw the boundaries. That's where I draw my boundaries. Improv
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         is a more vulnerable place and I hope that answers the question. (Doe is getting frustrated
         by Frost)
         Frost: Did you tell her that you didn't want her to join your improv group because you were
         not comfortable with her there?
         John Doe: I have not fully voiced it out in that manner
         Frost: Is that a no?
         No.
         Frost: The answer was no, you never verbally told her that you didn't want her in the Improv
         group (Frost shut down Doe’s response)


699.   Frost is harassing Doe based on his gender. Evidence of this includes the number of archaic

assumptions she made about him and her attempting to argue in such an unnecessary manner. Saying “stay

away from me” (it was actually “leave me alone”) is a clear message, and that was not the full message.

Doe provided the text message exchanged to Frost. Doe text messaged Sally and asked her why she joined

his improv group. When she basically said she felt like doing so, Doe said, “leave me alone” and ended

the conversation there.

700.   Frost is also taking Doe to task because he did not say “no” because to her “leave me alone” is not

a strong enough response. However, her double standards are exposed as she did not do this to the

complainants when they said that they did not say “yes” nor a “no”.

         Frost: At some point in January of 2017, did you tickle Sally?
         John Doe: Yes. If I could add to that, may I?
         Frost: Yes.
         John Doe: Okay. I was tickled first at that point and it happened while we were sitting on
         the trashcan
         Frost: And you believed that you needed to retaliate by tickling back? (Unfair leading
         question, not allowing the opportunity to explain myself from an open-ended stance)


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701.   Here, Frost disregards any opinion this behavior was consensual by asking leading questions and

using the negatively connotated characterization of “retaliation”, which does not allow Doe to explain

himself.

(contd.)
           John Doe: Well we were in, I mean the pictures kind of show that we were in a very fun
           playful mood at that point. So yes, I would say that we were goofing around that day.
           Frost: And you did tickle her? (This is not a “neutral” adjudicator)
           John Doe: I did.
           Frost: Did you ask her if you could touch her before you tickled her? (Frost did not ask the
           question if Sally asked Doe if she could touch him before she tickled him)
           John Doe: No, I did not.
           Frost: Did she express to you that it was making her uncomfortable that you were tickling
           her?
           John Doe: No, she did not. As a matter of fact, she laughed when I did.
           Frost: Did she move away from you at that time?
           John Doe: No.

702.       Frost: So, you never equated his suggestion (Dr. Lovaglia’s) that sexual assault was a
           problem with your activities?
           No, I did not think so and I did not believe so.

703.   Not once did Lovaglia claim sexual assault or mention anything related to it. Frost’s harassment

is severe and offensive. Doe had to cope with such conduct for three full working days.

704.   Doe became frustrated that the Adjudicator did not ask the questions and so he brought them up.

He talked about how Lisa would not be sending these text messages if she was uncomfortable. To which,

Frost replied:

           Frost: Well, I know what I know what you would do or wouldn't do is not necessarily what
           others would do. There are a lot of reasons wouldn't you agree that people do things that they
           need to do?
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        So, whether she was comfortable or not showing up at the lab (at 10 o'clock and the countless
        other times Lisa did so) really you can't make that determination. She may have had other
        needs for being there. Isn't that right?

705.    Frost: At some point there was some conversations and testimony about the fact that you
        talked to Lisa about wearing a dog collar or you attempted to put your hands or did put your
        hands around her neck and talked about sex and dog collars. Do you have any recollection
        of that conversation?
        John Doe: I did not do that.
        Frost: Well, I'm not asking you if you did or didn't I'm asking you if you have any
        recollection.

706.   Frost continually promised to come back to arguments that Doe wants to make but she never does.

707.   When Doe criticized Sally about being late and turning work late and writing in lab hours, Frost

questioned him on why it was important to him she would do such a thing although Frost knew Doe’s

own work depended on the data that Sally submitted on time. Frost therefore attempts to negate Doe’s

character by undermining his important work in the group.

708.   When discussing the photographs Frost asked if she knew that Doe was taking the picture. Doe

replied yes and demonstrated that she was posing for the picture. However, Frost continued to hound Doe

about the context of the photographs and videos even though he ascertained that they were consensual

709.    Frost: I just want to know if Ms. Lisa knew you were taking the video of her.
        John Doe: I don't know if she knew, but I showed her that video multiple times later. I
        showed her after taking it, and I showed her that in December as well when we hung out that
        day
        Frost: But you never asked her prior to videotaping her no and never told her you were going
        to do that. Simply showed it to her after the fact.
        John Doe: Yes. I showed her that I took a video and I could delete it if he wants to, and she
        had no objection.



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DEFENDANT FROST’S DISCRIMINATORY CONDUCT AND FINDINGS .

710.   In his appeal Doe stated that it was extremely difficult to be in this environment.

711.   Doe stated that Frost devalued Doe’s rational statements. Frost did not devalue the complainants’

statements in this way.

712.   Frost’s bias and incompetence were clearly demonstrated by her failure to ask proposed questions

about multiple communications initiated by Lisa for Doe to spend time with her alone in the lab late at

night, which appears to strikingly with a claim of a sexual assault four months earlier.

713.   Following her allegation of sexual assault and harassment, Lisa at various times throughout the

year sentence multiple texts to Doe asking him to come to the lab late a night.

714.   She refused to ask those questions because they would demonstrate that Lisa’s behavior was

inconsistent with an alleged prior sexual assault with Doe.

         a)       On December 13, 2016, Lisa texted Doe asking if he would be in the lab at night
                  although she knew that Doe was there most nights at the lab by himself. Doe
                  responded saying he will be and that she may join. She joined around 10 p.m. and
                  stayed till 2:30 a.m. alone with him. She initiated contact with him the next
                  morning too by texting him and being playful.
         b)       On December 15, 2016, Lisa texted Doe asking if he could meet after 9 p.m.
         c)       On December 17, 2016, Lisa texted Doe stating, “lol but I am free Monday
                  later…is eight too late for you?”
         d)       Lisa texted Doe: 21 Things That Are So, So Uncomfortable with one being,
                  “Wearing a backpack while sitting in a chair.”
         e)       On January 20, 2017, Lisa texted Doe saying, “Come to lab!”
         f)       On January 26, 2017, Lisa texted Doe saying, “Going to lab btw!!!”

715.   Frost ignored or tried to explain away information that impugned Lisa’s credibility.




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716.   Lisa was in the room, and she never made this argument herself, and it is Lisa’s job to defend

herself against Doe’s questions, not Frost’s.

717.   Frost curtailed the fundamental rights crucial to any definition of a fair hearing by intentionally

omitting crucial questions, among all other factors involved, which led to the erroneous outcome. Frost’s

decision to not ask particular questions would be a Title IX violation if the questions caused Frost to find

Doe responsible erroneously.

718.   UI's failure to ask relevant questions and failure to consider relevant evidence demonstrates its

bias in favor of female students during the investigation process because they: (1) believed the

complainants allegations to be true from the outset and the investigation was a foregone conclusion; (2)

did not want to embarrass the complainants; and/or (3) were motivated to avoid negative publicity relating

to this incident and to criticism or sanctions because UI historically does not adequately address female

complaints of sexual assault.

719.   None of those texts refer a claim to be uncomfortable, accuse Doe of doing something

inappropriate, or suggest fear or even unwanted contact with Doe.

720.   Those texts are at odds with her claim that Doe harassed her throughout the Fall of 2016 or that he

assaulted her.

721.   This was clearly an avenue to ask reasonable cross-examination.

   a) Why did you the texts?

   b) Were you afraid to be alone?

   c) Did he do anything inappropriate late at night?




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722.    The texts indicated enthusiasm. These texts also clearly impeached Lisa’ claim she was uneasy

meeting Doe in the lab late at night and that Doe would constantly tell her to come to the lab at night.

Instead of asking reasonable follow-up questions, Frost asked one opened ended softball question.

723.    In response, Lisa hesitated for a significant amount of time, and could barely answer.

724.    Frost saw no issue with her response and chose not to write in her report that Lisa struggled to

answer the first (and unfortunately the only) question, regarding her desire to spend time with Doe at lab

alone late at night.

725.    Doe provided text evidence of their continued contact in the exhibits.

726.    In late Fall 2016 and early Spring 2017, Lisa disclosed to Doe about her struggles and lack of

happiness , and her failure to get good grades in the previous semester (s) which again, are highly unlikely

actions someone would do if they did not feel comfortable around that person.

727.    Yet, Frost did not ask Lisa how, in light of the claim that Doe assaulted her and sexually harassed

her, could feel so comfortable sharing her personal and professional concerns with Doe.

728.    In the end, Frost ignored and discounted the entirety of Doe’s testimony. At the end of three days,

she had not believed a word Doe had said.

729.    As neutral and unbiased fact-finders, UI had an obligation to weigh the quantity and quality of the

information they were provided and to come to a fair and just result.

730.    In his appeal to the Board of Regents, Doe stated that Frost’s conduct could be seen as harassment.

This is because when questioning Doe and his friend, Mr. S.B., she asked embarrassing questions on

irrelevant or collateral matters, and leading questions that were unintelligible and compound. Her

questions indicated that she assumed facts not demonstrated with evidence, and she took an undue
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consumption of three full working days to harass Doe. The hearing should not have taken more than a day

and a half.

731.   Frost applied evidentiary rulings that were arbitrary and capricious.

732.   For example, regarding the exhibits at the hearing Frost went through the text messages Doe

provided to ask him if the text messages between the complainants and him were complete because some

did not have a date on them (as Doe took screenshots of them when they occurred and did not have them

anymore).

733.   Yet she did not ask Lisa the same question when she provided the screenshot of a document on

her computer called ‘Sexual Lisa.’

734.   First, Lisa submitted this file as evidence about a week before the hearing. She sent it as an email

to Ms. Cervantes with the subject “Possible evidence?” implying that she was not even sure about this.

This file is undated, and Doe claimed this is inauthentic as Doe could not have and did not do such a thing

on her computer.

735.   Further, the file was attached to a document on sexual assault, Doe’s research topic he asked others

help with in searching.

736.   Despite no evidence connecting Doe to the file, Frost used that evidence as complete and used it

as evidence of sexual harassment, as that made the list for it.


WITHHELD QUESTIONS AND EVIDENCE

737.   Upon information and belief, UI withheld exculpatory evidence related to accommodations that

UI provided Lisa when she falsely accused Doe of sexual misconduct.



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738.   Doe could have relied on these accommodations to impeach his accuser’s credibility during his

formal hearing.

739.   Doe had mentioned the issue with UI not informing him had Lisa received accommodations in his

appeal with the Board. Doe, in his own words, stated:

            a) UI never told me if any accommodations were given to Ms. Lisa because of her
               filing in for sexual misconduct. According to the Office of Sexual Misconduct
               website, one of the accommodations offered are “Retroactive or late drops.” Other
               accommodations include “excused absences” and “extension on assignments” yet
               this is not an exhaustive list and that she could ask for more as stated in the page
               below. See Iowa Accommodations at https://osmrc.uiowa.edu/resources-
               victimsurvivors/victimsurvivor-options/accommodations
            b) Such accommodations create a significant incentive for students to fabricate
               allegations of sexual assault. It also creates a significant incentive for students to
               continue to pursue allegations of sexual assault even if the evidence does not
               support the allegations, just to ensure that they do not miss out on these
               opportunities. Such accommodations are not disclosed by UI in the hearing, or at
               any given moment, even though they would be highly relevant to the credibility of
               the testimony. If academic accommodations were provided to Ms. Lisa, it would be
               in her best interest to fully invest in the investigation in a way that if she later
               retracted her story, she could face adverse impact on her grades if the school work
               related accommodations were deemed to have been improperly obtained. Further,
               she would try to build a story to sound highly victimized in order to rationalize and
               justify why she should get such accommodations throughout her stay at UI if she
               ever needed them.
            c) It is also no coincidence that about a month and a half after Ms. Lisa tells me that
               she did poorly last semester, asking me for my help and support both in person and
               over text messaging as evidenced by the exhibits, that she filed in for sexual
               misconduct.

740.   Since Doe could not present her as a witness, Doe tried to present text messages from E.C., but

Cervantes objected, citing E.C.’s lack of personal presence, and questioned the authenticity of the text

messages. The Adjudicator agreed on her lack of personal presence.


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741.   Facebook Messenger messages Doe provided with R.F., who was in UI’s witness list, show how

Doe was uncomfortable with Sally, how Sally joined the improv team Doe started despite Doe expressing

his displeasure about it, and how Doe could not have been persistent about Sally.

742.   After receiving the messages, Cervantes did not include R.F. as a witness.

743.   Thus, R.F.’s lack of personal presence meant Doe could not provide these text messages.

   Frost Ignored Directly Exculpatory Evidence

744.   Frost ignored directly exculpatory evidence. For example, at the hearing Dr. Lovaglia brought

evidence of the notes he wrote in October 2016 confirming that Sally told him that the kissing that

occurred between Sally and Doe was consensual.

745.   UI put this in their exhibits Dr. Lovaglia wrote: “They ended up kissing on the couch,” implying

that Sally thought it was consensual, and those not do not contain any mention of Doe allegedly touching

Sally’s breast.

746.   List of people who testified at the hearing: Sally, Lisa, R.C.,D.L., E.J.,T.M.,S.B. Dr. Lovaglia, and

Doe.

747.   List of people that do NOT know about the alleged touching Sally’s breast:

R.C. (Sally’s friend since high school) stated that at the hearing she told him that night about alleged

touching Sally’s breast, yet he said he does not remember that), Ms. E.J. (her roommate and best friend

who testified), Dr. Lovaglia, Mr. S.B., and Doe.

748.   List   of   people   that   allegedly   claim    the   touching    of    Sally’s   breast   occurred:

Sally and D.L. (her boyfriend, and he did not know in the initial interview until the Investigator allowed

him to change his story months later and not see any issues with credibility)
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749.   Lisa only had one witness, T.M. and he did not know about Doe touching Lisa’s breast.

750.   Doe could not fully explore by cross-examining either Lovaglia or Sally about what she told

Lovaglia.

751.   Only Frost could, and she made no mention of this in her report.

752.   Sally’s statement that it was consensual not only directly undermined her story, but also, would

have Lisa’s as both Frost and Stevenson used each accuser’s story to corroborate one another.

753.   There was no hearing panel, and Frost had the discretion to decide the relevance of all evidence

and determine whether certain types of evidence would be included or excluded in determining

responsibility.

754.   Further demonstrating her own bias, Frost found Dr. Lovaglia to be credible, yet placed no weight

or even mention that Sally reported the kissing was consensual or that he was surprised that it even

occurred.

755.   Bias and discrimination are indicated in Frost’s actions as she intentionally kept out the testimony

and evidence that would have found Doe not responsible for sexual assault, with no explanation in her

report why she did.

756.   The misuse of testimony by Frost contributed to a flawed disciplinary proceeding, as failing to

consider evidence intentionally led to the erroneous outcome.

757.   This bias also affected the credibility determination of Lisa, who was determined credible, in part,

because Sally had reported similar allegations of misconduct.




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758.       Doe's two exhibits were removed due to this ruling. One exhibit was a character testimony from

his advisor at UI after interviewing all the professors18 The second letter was a note from Doe’s therapist

merely stating what he told her when the alleged incidents occurred and the months following19. She gave

no reference to any scientific, technical, or professional issue, and yet it was seen as expert testimony and

character evidence, and thus declined and not allowed to be put in the record.

759.       Reviewing courts, for common sense reasons, defer heavily to the initial fact finders

determinations of credibility since they can observe the demeanor of the witnesses.

760.       However, exercising that discretion must be consistent with due process standard of fairness and

impartiality.

761.       Frost discounted Doe’s key witness as not credible since Doe did not report to his friend everything

that was said.

762.       At the same time, Frost did not mention that Sally failed to mention anything about the sexual

assault to Dr. Lovaglia and Lisa failed to tell her boyfriend and multiple others about the purported sexual

assault.




18
   Department note: “I have consulted with faculty with regards to Doe’s truthfulness prior to writing this letter. Faculty have
multiple methods and numerous opportunities to verify the honesty and integrity of Doe. His self-reporting in the past 2 years
is honest and consistent with our observation, for successful and for less successful learning experiences.”
19
   Therapist note: “I have been meeting with Doe for counseling nearly weekly for the past two years. With regards to the
allegations being made against Doe in the University of Iowa case: Doe did report his account of the nature of his relationship
with both Lisa and Sally to me. In both instances, Doe reported that he was engaged in a dating and consensual relationship
with both women. Doe felt the flirting went both ways, and the person to initiate contact came from both parties. It is my
understanding that some of the interactions from Doe were perceived as inappropriate by the accusers. I know these allegations
certainly came as a surprise to Doe. I can attest to his intentions from these interactions with both women, which was never to
act in a way that would have been perceived as predatory or unwelcomed advances. I do not think Doe should be suspended
based on these accusations. I do not feel he is a threat to anyone on campus.”
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763.    Of course, there can be multiple reasons not to share something, but Frost did not try to identify

Doe would not share with his friend while easily coming up for excuses as to why Lisa or Sally would not

report either.


HOSTILE ENVIRONMENT AND HARASSMENT

764.    At the beginning of each testimony, Frost asked everyone where they were from. Mr. S.B., Doe’s

friend, testified before Doe did. With Doe’s turn to answer the question, he told her he grew up in the

Middle East. Doe understood a stereotype relate to Middle Eastern men being authoritarian, aggressive

toward women, objectifying of them, and being sexist.

765.    During the hearing, Frost asked Doe’s friend, Mr. S.B. the following question: “Have you known

John Doe to make sexist comments?” She did not provide a context for this question. There are many

issues with this question.

766.    Frost’s harassment was so severe, pervasive, and objectively offensive it deprived Doe of access

to educational opportunities or benefits provided by the university. It led to Doe suffering from more

harassment

767.    A disparity in power formally exists between UI/Frost and Doe.

768.    In his appeals that followed, Doe notified UI and the Board about the harassment he suffered under

Frost. Because of Frost’s conduct, Doe suffered from more harassment from UI..


ASSESSMENT OF CREDIBILITY AND EVIDENTIARY STANDARD

769.    Frost noted there were no witnesses and thus credibility was vital to making a finding whether Doe

violated University Policy.


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770.   Frost used diametrically opposed standards for evaluating the credibility of Doe as opposed to

Sally and Lisa. For example, she found Lisa to be credible because she has “excellent recall” and

consistent descriptions of the past occurrences.

771.   The evidence clarifies that Sally did not believe at the time, and a month after the incident in her

discussion with Dr. Lovaglia, that she was the victim of sexual assault. As expected, there was no mention

of touching of her breast or any other unwanted touching that could cause making her feel uncomfortable.

Frost left out this critical information in her report. Frost omitted valuable information from Dr. Lovaglia’s

testimony.

772.   In his final summation on behalf of Doe, his attorney, Mills, argued that UI had failed to

prove its case by a Preponderance of the Evidence.

773.   Frost disagreed by stating there was ample evidence from testimony, exhibits, and collaboration

by credible witnesses to justify findings of responsibility, yet she offers no examples of such evidence in

her conclusion.


DEFENDANT FROST’S BIASED AND OFFENSIVE REPORT

774.   Frost produced a report without any page numbers, making it hard to reference, and forwarded it

to the Dean of Students, Lyn Redington.

775.   Frost selectively chose information to create a narrative of fault finding with a false, incomplete,

and biased report.

776.   The report cherry-picked statements from the witnesses’ observations; omitted key, qualifying

facts; and manipulated supporting facts. This led to a predetermined conclusion in which Frost reached

conclusions that were incorrect and contrary to the weight of the evidence.

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777.      In her report, Frost places no weight on the delay in reporting these assaults, the near-simultaneous

reporting by Lisa and Sally, their friendship, Lisa’s academic troubles prior to making the report, Sally’s

anger towards him after being admonished, the multiple texts initiating contact with Doe, and the tenor of

those texts.

778.      Frost demonized Doe and portrayed him as sadistic, barbaric, without conscience and in the

mindless pursuit of sexual gratification while she described the complainants in terms of “innocence” and

purity.

779.      For example, Frost, without any statement about a fantasy, stated that Doe version as to what

happened with Lisa as a “fantasy,” yet believed Lisa’s portrayal of him as a sexual predator with no regard

for people’s feelings. By believing so, Frost is advocating gender stereotypes that propose that women are

not aggressive during sexual encounters as Doe had described Lisa to be.

780.      By believing so, Frost is advocating gender stereotypes that propose that women are not aggressive

during sexual encounters as Doe had described Lisa to be.

781.      Yet, the Department of Education’s Office for Civil Rights states: “Training materials or

investigative techniques and approaches that apply sex stereotypes or generalizations may violate Title

IX and should be avoided so that the investigation proceeds objectively and impartially.”

782.      Frost even included a Christmas greeting as evidence of sexual harassment. For example, Doe,

provided text messages of him wishing Lisa Merry Christmas and saying he hopes she enjoys her time

with her family

783.      Lisa replied that she did and said she got many gifts.

784.      Doe asked Lisa what the cutest gift was that she received.

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785.   Frost used Doe’s comment of what was the cutest gift she received from her family as evidence

for sexual harassment and held him responsible for it.


F.      FORMAL HEARING OUTCOME REPORT
786.   LISA ROE

       (i)     Responsible for Sexual Assault. Frost found that Doe “sexually assaulted” UI
               student Lisa Roe by engaging in acts of sexual intimacy without obtaining prior
               consent.” “By kissing Lisa Roe without her prior consent, and caressing her breast
               without her prior consent in the SURG lab at the UI – John Doe violated the
               University’s Sexual Misconduct Policy, Chapter 2.2; Chapter 2.3(1)(e)(3)&(4).”
       (ii)    Responsible for Sexual Harassment. Frost found that Doe “sexually harassed” UI
               student Lisa Roe in the Fall of 2016 and Spring of 2017 with persistent, repeated and
               unwelcomed efforts to develop an intimate relationship; with repeated and unwanted
               sexual attention; and by limiting her educational performance, in violation of Chapter
               2.2; Chapter 2.3(f)(2)(a)(b)&(c).
       (iii)   Responsible for Consuming Alcoholic Beverages and Possession the Same in the
               SURG Lab on August 31, 2016, in violation of UI Coe Rule 17 and 13.

787.   SALLY ROE

       (i)      Responsible for Sexual Assault Frost found that because of these “non-consensual
                acts” on September 2, 2016 – kissing Sally Roe without her prior consent, and
                touching her breast over her bra once without prior consent in Doe’s off-campus
                apartment – Doe violated the University’s Code of Student Life Sexual Misconduct
                Policy – Chapter 2.2; Chapter 2.3(1)(e)(3)&(4).
       (ii)     Responsible for Sexual Harassment. Frost found that Doe “sexually harassed”
                UI student, Sally Roe, with persistent, repeated and unwelcomed efforts to develop
                an intimate relationship; with repeated and unwanted sexual attention; and by
                limiting her educational performance in violation of Chapter 2.2; Chapter
                2.3(2)(f)(a)&(c).
       (iii)    Responsible for Possession of Alcohol. John Doe possessed and consumed
                alcoholic beverages (beer) in the SURG lab at Seashore Hall, a University building
                on the main Iowa City campus, in the presence of UI student Sally Roe in violation
                of Rule 17 that prohibits possessing and/or consuming alcoholic beverages on

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                campus; and Rule 13, which requires all students to adhere to the University’s rules
                and policies.

REPORT REBUTTALS

Doe provided rebuttals in his appeal to the Board. Doe renews his rebuttals he wrote to the Board in his

appeal about Frost’s report:

788.     “John Doe is obfuscating his role – trying to downplay or minimize the actuality of his
         leadership position within the structure of the SURG lab in the Fall Semester 2016”
         At the hearing, Dr. Lovaglia explicitly said I was confused about my role in the lab. He
         then took responsibility for not orienting me to it earlier. I testified that I was not given any
         position or role. Frost left out that evidence.
789.     “For the new recruits to the lab, John Doe had an educational leadership role. He helped
         undergraduate students obtain the IRB certification necessary for conducting research.”
         I was not in any educational leadership role, nor has they have ever told me I was in one.
         Merely giving someone a link to a website does not put me in such a role. It was
         disingenuous for Frost to assume that. Please look at Ms. Stevenson Earl’s report (which
         Frost had access to as it was in exhibits) as this would clarify it. Ms. Stevenson Earl wrote:
         “The evidence does not indicate that John Doe’s role in the lab was in the instructional
         context. Information received from Dr. Lovaglia does not indicate that John Doe
         instructed, evaluated, or supervised directly or indirectly, Complainant’s, or any other
         lab members’, research. The evidence indicates that any lab member can run the
         meetings and conduct research at any time in the lab.”
790.     “Sometimes, John Doe’s texts were stern or authoritarian: “Lisa, for future reference, let
         me know if you can’t make it in advance.””
         Frost does not intentionally provide the context of this text message to find me
         “authoritarian.” The full conversation, which took place in December 2016, would show I
         had an exam that day and pulled an all-nighter for it. Lisa asked me to come to the lab that
         day, and despite a lack of sleep, I got up, as a good friend, and went to the lab the time she
         told me to arrive to see what she needed help with. Lisa then texted, saying she cannot
         make it, unfortunately. I have the right to tell someone they should not tell me to come to
         the lab if they know they cannot make it, or at least give me a heads up if they cannot make
         it before the meeting time. There is a stereotype associated with men from the Middle East
         as being authoritarian. After knowing this information, Frost used this stereotype against
         me.

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791.   “On the second occasion, in December 2016, Lisa arrived at the lab, again prepared to
       work, when John Doe announced that he was hungry and urged Lisa join him for dinner
       at Chipotle. John Doe asked Lisa once to join him for dinner in October 2016 at Buffalo
       Wild Wings; she declined”
       Again, Frost selectively took information from another day and merged it with this day to
       make me look bad. Lisa was in the lab when I arrived at 4 p.m. From 4 p.m. to 9 p.m., Lisa
       and I worked together on my data entry, and I also helped her out with her resume. At 9
       p.m., I said I was hungry and suggested we grab dinner. Lisa agreed. It is not unprofessional
       to ask if Lisa wanted to come along to dinner. At no point was I told that I could not eat
       with someone from the lab. None of these were “romantic” even if Lisa would try to have
       us believe it was. Second, I never asked Lisa for dinner at Buffalo Wild Wings in
       October 2016 and at no point did she decline to eat with me. Exhibit G-3 (and G-4)
       referenced by Frost were entered by me in his exhibits to show an occasion when I went to
       Buffalo Wild Wings with Mr. S.B. and uploaded a picture of myself on Facebook. Lisa,
       who at this time said that she was apparently traumatized and would avoid me, left a playful
       comment on the picture Frost was supposed to ask why Lisa was leaving playful comments
       on my Facebook days after she was allegedly sexually assaulted. She obviously did not,
       and somehow managed to make this my problem.
792.   “John Doe brought cans of Miller Lite beer to the SURG lab, and when Lisa declined to
       drink the can John Doe brought for her, John Doe suggested she pour the beer into her
       water bottle. Lisa complied. John Doe consumed his beer in Seashore Hall. When Lisa left
       the lab, she met Mr. T.M. who watched as she poured the beer into the bushes between
       Seashore Hall and Van Allen Hall. An underage Lisa did not want to carry the beer in her
       water bottle.”
       This incident never happened, and neither Lisa nor Mr. T.M. testified to this. Frost, as she
       has done throughout, selectively merged Sally’s story with Lisa’s to artificially create a
       pattern of behavior when there is none. All this influences Dean Redington’s decision-
       making when she reads it.
793.   “John Doe took video footage on his cell phone of Lisa without her knowledge or consent.”
       Frost overlooked the evidence in the exhibits where Lisa in the interview [with Stevenson
       Earl] said that she knew about the video.
794.   “It is the opinion of this Adjudicator that Sally was groped against her will”
       The evidence does not suggest it, and the Adjudicator gave no reason for this conclusion.
       Again, Frost shows us her bias.



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795.   “Mr. S.B. testified that John Doe said he was “very excited” to have gone on this date with
       Sally, but there was no testimony about the intimate details of the date, despite Mr. S.B.’s
       testimony he and Doe shared the intimate details of their lives.”
       He testified about the kissing. That is all that happened regarding intimacy. It seems like
       its frustrated Frost that she can find no evidence regarding the alleged touching of Sally’s
       breast incident and is trying to put this burden on Mr. S.B. unfairly in her report.
796.   “It should be noted that John Doe continues to work with students/clients with disabilities,
       a vulnerable population, as part of his counseling duties in the UI Department of
       Education.”
       This is appalling and unprofessional from Frost. Redington gave Frost the job of a fact-
       finder, not someone who determines what I mean to the entire society at large based on her
       biased investigation. That is the responsibility of others, typically people higher than her,
       to make. She was not given this power. The UI’s Student Judicial Procedure (2016-2017
       academic year) states the following for Adjudicator Decision: The written decision shall
       summarize the findings of fact, identify rules violated, and determine whether the accused
       student is responsible for violating University policies. Frost held me to the standard of a
       state-licensed counselor when I was merely a counseling student. I had four supervisors,
       and I was always under supervision with every session I had with a client. In a counseling
       environment, I know what my roles and duties are, and what the ethical and state laws are.
       The American Counseling Association Code of Ethics outlines what is expected of me. In
       this lab, none of that is present.
797.   When speaking of Lisa, Frost wrote this: “She did not want to quit working at the lab
       because she believed it could enhance her educational mission, yet she tried to negotiate
       daytime hours at the SURG lab, and she found herself making excuses for her inability to
       attend lab hours in the evenings. Sometimes, her friends would accompany her to the lab,
       so she would not have to be alone with John Doe.”
       [a]t no point did Lisa ever have her friends accompany her to the lab, so she would not
       have to be alone with me. This was not in her or her witness testimony and is something
       Frost fabricated to get me expelled. UI is defending a lawsuit where the Adjudicator has
       no issues fabricating facts.




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G.        DEAN OF STUDENTS – DEFENDANT LYN REDINGTON

DISCRIMINATORY SANCTIONING:

798.    Dean of Students, Redington, redacted Frost’s report and forwarded a copy of it to Doe and wrote

that he was expelled from the university.

799.    Doe renews his argument he has written in his appeal to the Board:
        Frost finds me responsible for sexual assault because of the Sexual Misconduct Policy Chapter
        2.3 (1) (e). Sexual Assault - 4. Any other intentional unwanted bodily contact of a sexual
        nature. This is an ambiguous and overbroad policy that too easily encourages administrative
        abuse as it relates to power, arbitrary application, and injustice, which has happened here.
        How is an intentional unwanted bodily contact of a sexual nature defined? Which part of the
        body does this apply to? What is considered contact of a sexual nature? It seems like UI
        effectively may define these terms differently in each case in its absolute discretion and
        without notice. Such policies make it almost impossible for a student to be found not
        responsible of sexual assault, once charged, as even if that student is found not responsible for
        groping or penetration, UI can rationalize any form of touching to be an intentional unwanted
        bodily contact of a sexual nature. Such policies are unacceptably prone to arbitrary
        enforcement by UI, and it is troubling because it does not distinguish kissing without verbal
        consent and sex crimes, thus equating kissing without verbal consent with rape. This
        undermines sexual assault and makes campus less safe for women not taken seriously when a
        true sex crime does occur.
        Due process requires that rules must be written with enough clarity that individuals have fair
        warning about prohibited conduct and that courts have clear standards for enforcing the law
        without arbitrariness. Such vague rules and policies are biased and implicate constitutional
        protections. Further, such ambiguous policies would disproportionately harm innocent
        minority students, given the criminal justice system's history of bias against black/men of
        color accused of sex crimes.20




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   Trachtenberg, Ben, How University Title IX Enforcement and Other Discipline Processes (Probably) Discriminate Against
Minority Students (December 14, 2017). 18 Nevada Law Journal 107 (Fall 2017); University of Missouri School of Law Legal
Studies Research Paper No. 2017-22. Available at SSRN: https://ssrn.com/abstract=3035999


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800.      Male students of color are “vastly overrepresented” in the cases, Yoffe has tracked. Janet Halley,

a professor at Harvard Law School and a feminist, addressed the role of race in a 2015 Harvard Law

Review article, “Trading the Megaphone for the Gavel in Title IX Enforcement:21 22”

801.      UI defines sexual harassment as: persistent, repetitive, or egregious conduct directed at a specific

individual or group of individuals that a reasonable person would interpret, in the full context in which

the conduct occurs, as harassment of a sexual nature, when:

         Submission to such conduct is made or threatened to be made explicitly or implicitly a term or
          condition of employment, education, on-campus living environment, or participation in a
          University activity; or
         Submission to or rejection of such conduct is used or threatened to be used as a basis for a decision
          affecting employment, education, on-campus living environment, or participation in a University
          activity; or
         Such conduct has the purpose or effect of unreasonably interfering with work or educational
          performance, or of creating an intimidating or hostile environment for employment, education, on-
          campus living, or participation in a University activity.
The proposed new Title IX rules state that universities should use the Supreme Court definition, which is:




21
   “American racial history is laced with vendetta-like scandals in which black men are accused of sexually assaulting white
women,” followed eventually by the revelation “that the accused men were not wrongdoers at all.” She writes that “morning-
after remorse can make sex that seemed like a good idea at the time look really alarming in retrospect, and the general social
disadvantage that black men continue to carry in our culture can make it easier for everyone in the adjudicative process to put
the blame on them.”
“But as the definition of sexual assault used by colleges has become broader and blurrier, it certainly seems possible that
unconscious biases might tip some women toward viewing a regretted encounter with a man of a different race as an assault.
And as the standards for proving assault have been lowered, it seems likely that those same biases, coupled with the lack of
resources common among minority students on campus, might systematically disadvantage men of color in adjudication,
whether or not the encounter was interracial.
I’ve assisted multiple men of color, a Dreamer, a homeless man, and two trans students” Professor Halley was quoted in the
New York Times. “How can the left care about these people when the frame is mass incarceration, immigration or trans-
positivity and actively reject fairness protections for them under Title IX?”
22
     I’m a Democrat and a Feminist. And I Support Betsy DeVos’s Title IX Reforms, New York Times
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62 FR 12041, "conduct of a sexual nature is sufficiently severe, persistent, or pervasive to limit a student's

ability to participate in or benefit from the education program, or to create a hostile or abusive educational

environment"


ACCOMMODATIONS

802.    Doe is part of the international student community, which represents only about 10% of the student

body.

803.    UI has been expelling about one student per year. Trying to make sense of the discrimination he

had experienced at UI, Doe interviewed other international students and found information regarding it.

804.    Upon information and belief, an international graduate male student from Asia, specifically

(redacted), named A.V. was expelled from UI for nonviolent sexual misconduct about a year before Doe

was expelled.

805.    Expulsion seems extreme for what seems nonviolent sexual misconduct. Upon information and

belief, there appears to be a pattern among UI’s investigation where international male students from Asia

are being overrepresented and expelled, the harshest treatment available.

806.    This is because Asian male students are handicapped when it comes to appealing and taking legal

action - As soon as they are expelled, their visa becomes invalid, and they must leave the country

immediately, making it extremely difficult for them to appeal the process, gather money for legal services,

and file a complaint in Court. Further, many countries from Asia are predominantly Muslim countries,

and it becomes extremely difficult for such male students from these countries to obtain a new visa after

they have been expelled from their universities because of sexual misconduct, making it difficult for them

to sue their universities.

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807.   Upon information and belief, UI takes advantage of this, so they can share their statistics to show

the Office of Civil Rights (OCR) they have been taking sexual misconduct seriously without the headache

and publicity that comes from the expelled male students fighting back through lawsuits.

808.   Doe’s sanction of expulsion was incredibly harsh, given the circumstances and UI’s history with

such allegations. According to annual reports produced by UI, for the school year 2013-2014, of the 18

reports made involving unwanted physical contact of a sexual nature, six involved forced penetration.

The final sanctions included one student expelled from UI. For 2014-2015, of the 21 reports involving

unwanted physical contact of a sexual nature, a majority involved forced penetration. UI expelled

only one student this year. See report at https://dos.uiowa.edu/policies/reports/

809.   Reports state only two people have been expelled since 2015 at UI.

810.   Showing that Doe has not just been discriminated against because of his gender, but because he is

an international student from Asia, UI carried out 26 investigations regarding sexual misconduct in

the 2017-2018 academic year, the year he was expelled. Of the 26, 15 were of sexual assault, and 11

were sexual harassment.

811.   Yet, according to their data, only one student was expelled in the academic year, Doe – an

international student, indicating that the expulsion was extreme and biased. See annual report at

https://dos.uiowa.edu/assets/Uploads/2017-2018-Annual-Report-Final.pdf.

812.   Upon this realization, Doe had brought this issue to the attention of UI and the Board in his appeal.

Doe renews his argument:

         “After reading the above statistics in the UI report, if UI still state that expulsion matches
         the severity of the crime UI found me responsible for, I would ask them to consider how
         offensive it would be to all the complainants that came before them at the university and
         reported rape as they have many times showed by statistics above, only to get sanctions
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         for the people found responsible less than expulsion, since UI hardly hands out
         expulsions. We must be concrete and objective when dealing with such things, but it
         seems like UI is becoming increasingly subjective, one where feelings and emotions take
         over rationality, when dealing with sanctions.”

813.   Upon information and belief, similarly situated women have been penalized to a lesser degree for

a similar offense.

814.   Upon information and belief, similarly situated white male students have been penalized to a lesser

degree for a similar offense.

815.   Upon information and belief, individual decision-makers such as Defendant Stevenson Earl and

Defendant Frost, and/or Defendant Redington altered their disciplinary decisions based on the identity of

Doe being male, and because of Doe being an international male student from Asia.

816.   Upon information and belief, individual decision-makers such as Stevenson Earl, Frost, and/or

Redington enhanced both the charges against and the discipline imposed on Doe because of being an

international male student from Asia.

817.   As it relates to sanctions, The Dean of Students, Redington never gave a rationale for why Doe

was expelled in her letter. University policies state that “The Dean’s sanction letter shall include a

rationale explaining why the chosen status sanction was selected over an alternative.” See Student

Judicial Procedure at https://dos.uiowa.edu/policies-16-17/student-judicial-procedure/

818.   Expulsion is the academic equivalent of a death penalty. This violated not only university policies

but Doe’s Constitutional and Title IX rights, which includes, but is not limited to, the failure of UI to

provide any written explanation detailing how or why Redington, reached her extreme decision.

819.   UI arbitrarily and capriciously dismissed Doe.


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820.   Redington failed to act under university procedures designed to give accused students a due

process. This is evidence of flawed procedures.

821.   The sanctions ordered by her did not consider that Doe had a previously unblemished disciplinary

record at UI and that he essentially had an entire department at UI support his character and integrity.

822.   The Dean of Students sanction letter stated:

       Effective immediately, you are not permitted to enter University of Iowa property at any
       time for any reason without my written permission. In the event you were to violate
       campus prohibition order, University Police would be called, and you would be subject to
       arrest for Criminal Trespass.”

823.   Toward the end of the letter, it states: “If you are seeking emotional support, please contact

University Counseling Service at 319-335-7294.”

824.   If Doe wanted to confidentially speak to a counselor at University Counseling Service, while his

appeal was being considered, he would have to go to the University Counseling Service building at

Westlawn, which is a University of Iowa property, a property he is not permitted to enter, so this was

confusing.

825.   Doe emailed the Dean of Students, Defendant Redington, with a personal letter addressed just to

her, along with attachments that included copies of the letter from his therapist and his department, on

October 17, 2017.

826.   In the personal letter, Doe informed her he had issues with the decision of the Adjudicator. He then

asked for her written permission by writing “During this time, I would request that I have access to the

University Counseling Service and the rec center so that I can continue to take care of my mental and

physical health during this stressful period.”


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827.   Redington ignored Doe’s request, and instead replied with a message indicating that she would be

closed off to the concerns by writing:

         “[A]s you know, the deadline to appeal my decision and sanctions is October 24. If you
         choose to do so (or if these are your final appeal documents), I will forward everything to
         the provost for their consideration.”

828.   Redington had shown indifference for Doe’s rights and his mental and physical health.

829.   UI had no issue charging Doe full tuition for the semester yet failed to provide him with the

necessary health services he is entitled to. By doing so, she has caused immense suffering on Doe’s part.

830.   Doe’s depression was so bad, he had seen a psychiatrist at this point to be put on an antidepressant.

Being falsely accused of sexual assault, found wrongly responsible for, where one loses their career, is a

terrible and vulnerable situation for anyone to experience. During this critical period, UI had neglected

Doe.

831.   Doe had no one to turn to as he has no family in the U.S. Doe wanted access to University

Counseling Service in particular because he has counselors there who know him, understand him, and

thus have a strong rapport with him, making him feel safe in sharing what occurred, and what he was

going through.

832.   UI demonstrated sufficiently significant questions regarding breached duties while instituting and

prosecuting Doe’s investigation.

833.   Upon information and belief, after Doe complained in his appeal about not having resources

available to him during UI’s Judicial Process to the Board, UI included “resources for respondents” on

the sexual misconduct website where they now have included that respondents will have the same

resources as complainants.

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834.   Redington imposed the harsh penalty of expulsion even though both Sally and Lisa’s actions

dictate they were not afraid of Doe or needed to be protected from him by the standards of any reasonable

person. This is evidenced by the fact that they both have hung out with him alone multiple times for

months, usually late at night/early mornings after the alleged incidents.

835.   UI’s led Doe to start a new semester before getting dismissed right away with a massive bill of

over $21K to pay. UI keeps emailing/calling Doe to pay off this amount.

836.   Doe developed alcohol dependence after being expelled from UI and not being provided with

mental health services requested. He was drinking every day and had a difficult time controlling his

alcohol intake. He felt hopeless. Because of concerns with liver damage, Doe quit drinking alcohol on

June 28, 2018. He has not touched alcohol and has been sober since.

837.   Doe started working full time in September 2018 for a nonprofit day care program for people with

disabilities. He has been helping people with severe behavioral issues in becoming more independent in

their lives. Frost, in her report, wrote as if he was a threat to people with disabilities when Doe told her

that was the population he works with in counseling. Doe remains committed to helping people who are

less fortunate than him.


H.       INTERNAL APPEAL – UI OFFICE OF THE PROVOST – DEFENDANT
         JOHN KELLER
838.   According to UI policies, both the complainants and the accused student may appeal. Appeals are

limited to:

       (A)     The decision was unsupported by substantial evidence when viewed as a whole.
       (B)     The decision was arbitrary, capricious, unreasonable, or constituted an abuse of
               discretion.
       (C)     The sanction was unreasonably harsh in the light of the circumstances.

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            (D)      New evidence, not reasonably available at the time of hearing, warrants
                     reconsideration.
839.        Doe appealed on all grounds and filed a timely appeal within the ten days provided after the report

is released.

840.        In his appeal Doe highlighted that he was not provided an adequate opportunity to defend himself

and explained how he was stopped from sharing his truth and now wished for the chance to state the truth

he could not earlier. Doe was not given sufficient opportunity to go over his exhibits and articulate

relevant concerns and issues and salient opinions.

841.        To be brief, Doe had raised these important points in UI’s internal appeal. Doe renews his

arguments:

       a)         I believe that this is the first proper opportunity where I am truly getting to express my
                  side of the story, after the complainants have shared theirs, without having leading
                  questions thrown at me or have my answers devalued. Until now, it felt like I was a
                  perpetrator without given a realistic chance to defend myself.
       b)         Please note that to investigate the claims, it is vitally important to get the Equal
                  Opportunity and Diversity (EOD) investigative files, as they give the complete story
                  of each person involved in this investigation, and thus give me a fair process.
       c)         Frost asks me if he had verbal consent to kiss, with no further follow-up question, and
                  decided that it was enough to be considered sexual assault. Frost did not even bother
                  asking me if there were clear, unambiguous signs, which is included in the sexual
                  assault policy.
       d)         The idea that an Adjudicatory process should be fair to both sides is about as basic as
                  any facet of American law can be. As shown through plenty of examples in this letter,
                  anyone that uses a system biased toward finding a student responsible for sexual
                  misconduct, as Frost and Ms. Stevenson Earl did, commits gender and/or other forms
                  of discrimination.
       e)         My attorney and I assembled a list of questions for the Adjudicator to ask on my behalf,
                  and the Adjudicator highly edited and changed the questions to be biased in favor of
                  the complainants, and she has ignored and failed to ask questions provided we thought
                  were important as well.

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       f)       The sanction was unreasonably harsh in the light of the circumstances. Expulsion from
                the university will result in devastating consequences for my future. I have been a
                student of the UI since 2008. During this time, I have had no issues of any type, let
                alone of the nature of the allegations that have been put forth against him. Currently,
                I only have two months remaining of my graduate studies on campus.
       g)       Being expelled for sexual violation can prevent me from achieving my dreams and
                may permanently bar me from many professions. My values of helping people, of
                advocating for the rights of the less fortunate, and using my knowledge to be a catalyst
                for creating change in both personal and societal level has attracted me to the field of
                counseling. An even harsher consequence would be forcing me to pack his belongings
                leave the United States and be sent to a country I have never lived, am not fluent in
                the local language, and do not have any immediate family in.
       h)       Depriving me of higher education opportunities, and thus, my career, should not be
                done lightly, and therefore, my due-process rights should be protected. Unfortunately,
                from the way the investigation has been carried out thus far, it seems like just an
                accusation of wrongdoing can derail a person’s entire college education. The
                investigators were not objective fact finders, and the vital information they were
                leaving out in their investigative files from their reports seemed like they were
                assuming I was guilty from the beginning, and cherry-picking evidence to prove their
                point.
       i)       As I mentioned above, even if you accept the findings of the Adjudicator, I believe the
                interim sanctions that the charging officer and the Dean had in place for over 8 months
                while this matter was investigated and prosecuted adequately protected the
                complainants and the University community as a whole, and if left in place until I
                completed my coursework on campus (at the end of this semester), would fairly and
                adequately balance the interests of all the parties. At that time, once I completed my
                Master’s degree, I would voluntarily leave the UI and attempt to pursue my doctoral
                degree elsewhere.

UI’S OFFICE OF PROVOST APPEAL DECISION:

842.        The decision of Redington is appealable to a single faculty member. This individual, who is the

Provost, and Dean of the Graduate College, John Keller, supposedly reviewed all the facts. Keller then

determined to uphold the decision answering none of the legitimate questions Doe raised in the appeal.

843.        No rationale was given again for the expulsion or the rejection of the appeal.

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844.   Keller showed deliberate indifference to the legitimate concerns Doe raised in his appeal, including

raising the point of discrimination based on his “gender and/or others”

845.   Doe addressed the way the Keller treated him in the following appeal to the Board by expressing

that he found a purpose higher than himself:

       “This made me feel like no one in UI was listening to me or my concerns. I am not writing
       this appeal just for myself. I am also writing this appeal to put light on UI’s biased
       investigation, hoping that I can make UI aware of this, so that the people that come after me
       get a fair due process and never have to go through such injustice again.”

846.   After the appeal, Doe and Dr. Lovaglia had a meeting at a coffee place downtown Iowa City after

Doe had asked him for guidance.

847.   Doe noticed that the relationship between Dr. Lovaglia and Doe had changed permanently, which

altered his hopes of a mentorship and recommendation letters from a professor with whom he had

developed a relationship over many years.

848.   In the meeting, Doe had informed Dr. Lovaglia how the Adjudicator was racist and sexist, and that

UI does not even expel students found responsible for rape, yet how he was expelled for conduct much

less serious that UI had even found him responsible for.

849.   Dr. Lovaglia agreed with Doe that the sanction given to him did not match the severity of the

conduct Doe was found responsible for. He did not support the sanctions that UI handed Doe.

I.      IOWA BOARD OF REGENTS APPEAL
850.   On December 11, 2017, Doe, representing himself, timely appealed UI’s decision to expel him

and sent his appeal to the Board executive director, Mark Braun.

851.   Doe’s appeal outlined the harshness of the expulsion and his desire for his appeal to be heard:


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         “I am an international student, and that since an expulsion is the most severe penalty the UI
         can issue (and the expulsion is in effect a “deportation” since I cannot stay in the US), the
         Board should review the matter.”

852.   Doe appealed on the grounds of:

         1.       Not supported by substantial evidence in the record
         2.       Arbitrary and capricious; and/or
         3.       Unconstitutional or otherwise contrary to law, including procedural irregularities or
                  deficiencies materially prejudicial to the Appellant.

853.   Doe explained that he had never lived in Country One, that he does not have family there and is

not fluent in the language.

854.   Doe stated that he felt fearful of being deported to Country One and gave detailed evidence through

credible media sources of how extremist groups such as ISIS have targeted people like him recently,

including Country One citizens who studied in the United States, and people who voice liberal views and

opinions.

855.   Doe said there was disagreement in facts and said:

         “I also have significant issues with the outcome. Most of the issues I have are that it is
         unconstitutional or otherwise contrary to law, including procedural irregularities or
         deficiencies materially prejudicial to the Appellant, which I will be talking more about in
         my written briefs if my appeal is accepted. I have previously questioned the fundamental
         fairness of this hearing and due process.”

856.   Levin, UI general counsel, and thus a UI employee, was given the responsibility to represent UI in

the Board appeal. Levin was also given the power to request a stay for Doe if he deemed appropriate.

857.   On January 16, 2018, after reviewing the in disciplinary process, Levin had an opportunity to grant

Doe a stay by writing to the Board. Instead he wrote against Doe:

         Appellant has not established a strong likelihood of success on the merits such that a stay
         is warranted. He presents no argument that the University’s decision to hold him

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         responsible based on a preponderance of the evidence for violating University policies was
         not supported by substantial evidence, was arbitrary and capricious, or was unconstitutional
         or otherwise contrary to law.”

858.    The instructions for the Board’s “Notice of Appeal” clearly said: 3.A.vi. Identification of the basis

or bases of appeal was required for this stage of the process. It did not ask to provide arguments. The

“written brief” that follows is where one must present the arguments.

859.    Levin stated that whether Doe gets deported upon expulsion from UI should not be considered

when deciding if he will be irreparably harmed. He concluded by saying that Doe’s request for stay should

be denied and the University’s decision to expel should be upheld.

860.    On January 23, 2018, as it related to decision on request for stay, Braun repeated Levin, as he did

throughout the appeal, and also said that Doe had not established a strong likelihood of success on the

merits of his appeal.

861.    Braun then repeated Levin’s message by saying that Doe did not directly dispute the alleged

misconduct other than to challenge, without explanation, the constitutionality of the outcome, the severity

of the sanctions, and the fundamental fairness of the process.

862.    As it related to irreparable injury, Braun said that if deportation to Country One could rise to the

level of irreparable injury, Doe had not presented sufficient evidence that his visa status has been impacted

or is likely to be impacted if a stay is not granted.

863.    Doe had said that expulsion would mean he lose his F-1 visa. Losing a visa meant that visa status

is impacted.

864.    Braun then said that Doe’s visa status and his deportation to Country One is speculative.



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865.   On February 20, 2018, Doe submitted a timely, well-researched, evidence-based, written brief to

the Board.

866.   In his brief, Doe expanded upon my grounds of appeal and detailed his issues. The issues specified

in this Complaint were also in Doe’s written brief. Thus, Levin, and thus UI, knew of these issues in this

Complaint.

867.   Doe knew that Levin is a UI employee and stated that he was giving Levin an opportunity to

reverse the decision and grant him a stay, who had the option to request the Board a stay. Doe had written

throughout the brief he did not want to sue.

868.   Examples included in the brief have been provided throughout this Complaint. Doe renews his

arguments for all examples he included in his appeal to the Board, including but not limited to:

a)       At the time of my dismissal, I only had two months remaining on campus to graduate before
         doing my internship for a semester off campus. I had a clean disciplinary record until this
         investigation and the expulsion that it resulted in. Unless the expulsion is overturned, the
         sentence will remain a part of my permanent educational record. My transcript will
         permanently show the statement: “Not Permitted to Register – Dean of Students.” This will
         substantially limit my ability to transfer to another institution, get a doctoral degree, or secure
         future employment.
b)       The Department promulgated the new guidance specifically to protect the due process rights
         of accused students and ensure fundamental fairness to all parties, but UI unfortunately
         ignored and continues to ignore these rights.
c)       If UI cared about sexual harassment or sexual touching or “assaultive behavior,” which Ms.
         Frost considered, without being gender biased, it would have investigated Ms. Sally’s
         touching me first and not put the burden on me to gain consent. Specifically, UI would have
         investigated if Ms. Sally did, in fact, tickle me first and if she earned my consent before
         doing so. UI showed absolutely no concern for such a thing.
d)       If what occurred between us is not seen through the lens of a friendship that involved
         constant teasing and banter, there are many instances where Ms. Sally harassed me which
         are either in the exhibits or have been testified to. For example, she tried to kick a trash can

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     near me outside of the lab while we were waiting for the lab to be opened (she thought this
     was funny), she kept talking about stories about sex with me, including stories about her
     “ghost roommate” and refer to sex as “getting dicked down” and she did all this in an
     educational setting as the lab. She constantly harassed me about being skinny and one of the
     conversations about her making fun of me for skipping the gym (arm day) is in the text
     message exhibits.
e)   This created a hostile environment. Ms. Sally never denied any of these things, in fact, she
     tried to keep quiet about them as much as possible even though these are in the exhibits. UI
     had knowledge of this as I had shared most of this in the EOD interview. I even tried to get
     some of this information in the hearing even though Ms. Frost did not ask questions
     regarding it. Yet, UI had shown absolutely no concern about Ms. Sally harassing me nor
     asked me anything regarding how I may have felt and if I wanted this to be investigated. I
     believe that if the genders were reversed here, UI would have acted differently.
f)   At no point did any of the investigators think to wonder the improbability of an alleged
     “victim” by then choosing to drink alone multiple times at night with someone after he
     allegedly told her that he wants to “put a collar around her neck, have sex with her and treat
     her like a dog.”
g)   I vehemently deny all of Ms. Lisa’s claims. Her claims are false, and she has provided no
     evidence to back her claims, while I provided plenty to refute them. I am absolutely not
     responsible for any of those allegations that she is claiming.
h)   It is essential to differentiate among the offenses, and it seems like UI erases the distinction
     between categories of behavior as it relates to sexual misconduct, even if their vague policies
     do not directly do so.
i)   I know that public universities are obliged to treat similar cases in a similar way under the
     Fourteenth Amendment’s guarantee of “equal protection of the laws,” which requires that
     the government apply the same rules in a standardized and consistent manner to people in
     similar circumstances.
j)   If a college student is to be marked for life as a sexual predator, it is reasonable to require
     that the student is provided a fair opportunity to defend themselves and an impartial
     adjudicator to make that decision.
k)   While I understand the premise behind “start by believing” in that women were not listened
     to or heard, and thus not believed throughout history when they came forward with
     complaints, and while I am by no means minimizing the continued challenges women face
     today despite the advancements we have made, the advancements have made it easier for
     women to come forward to report.


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l)       There are no policies in the UI’s Student Judicial Procedure that state that witnesses must be
         present in order to provide text messages I had with them as evidence.
m)       It is my belief that Ms. Cervantes, and thus UI, after seeing the Facebook messages I put
         with Mr. R.F. in the exhibits were clearly in my favor and supports my version of the story
         than Ms. Sally’s, especially regarding the fact that I was avoiding her in the Fall semester
         and had issues with her joining the improv group I started, decided at the hearing that she
         would not call him
n)       It feels as if this system is built in a way such that the respondent is inevitably stripped of all
         due process.
o)       On 11/18/2015, a student in UI who took RHET1058 with made the following comment
         about her [Frost]:
         “At first, I really liked her. She's a lawyer in Iowa City, and since the course is based on
         pre-law and criminal justice, she knew what she was talking about. However, when we
         started getting into racial issues, she was very uneducated. She disregarded the opinions of
         the very few student of color. She said many problematic things during the course” See: Iris
         Frost on ratemyprofessors.com
         As a student of color, I had a similar experience with her. She disregarded not just my
         opinions but facts and evidence as well.
p)       “The rejection of my appeal by the Office of Provost hurt because my legitimate questions
         remained unanswered on why evidence was kept out, why I was not allowed to defend
         against the full policy of UI’s consent, and why important questions were not asked among
         many other things. The outcome of the appeal did not answer any of the questions I raised
         and just let me know that no violations were found, and that the sanction was not harsh
q)       I hope that the Board can remedy a solution to this disaster, one that does not unnecessarily
         prolong this investigation. I do not think that I am asking for much. The most important thing
         that I am asking for is being allowed to finish the one semester I have remaining on campus
         so that I can get a degree and that the monies spent on obtaining a college education are not
         lost, and the real sacrifices made by my family from halfway across the world so that I could
         receive a quality education are not wasted.

869.   UI, Levin, and the complainants had 20 days to respond and reply to the written brief.

870.   Levin asked for multiple extensions and still failed to submit his written brief timely. Levin finally

emailed Doe at 3 a.m. on April 3, 2018 and attached UI’s written brief. He gave no explanation for

submitting late and past the deadline.
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871.    Levin wrote a brief that was a little over 3 pages. Levin overlooked Doe’s serious concerns.

872.    Levin took Doe’s grave concern of losing his visa and expressing that to the Board as “playing to

the sympathies of the Board.” Levin then continued to harass Doe and said “Doe has made his bed and

now he must lie in it” to conclude his statement on Doe losing visa and having credible fear of deportation,

and his physical safety.

873.    Levin concluded: Doe has not met his burden of proof on appeal. Therefore, the Board should

affirm the final institutional decision.

874.    Doe, in his written brief, explicitly clarified that he was giving Levin the opportunity to reverse

the decision. Levin had knowledge of the misconduct Doe faced. Rather than accepting Doe’s invitation

to correcting the misconduct, Levin further harassed Doe by minimizing his credible fears, attacking his

character, misrepresenting the sexual assault policy by including hugs in it, misrepresenting how UI

applies its retaliation policy, and blatantly providing false information on Frost’s involvement at UI.

875.    The Board website states that following review of the appeal, the Board may affirm, modify,

remand or reverse all or any part of the final institutional decision. It also states that the decision of the

Board of Regents represents final agency action.

876.    On June 11, 2018, Doe received the Board’s decision in his email. All the letter said was:

         “The Board of Regents considered the appeal of Doe on Wednesday, June 6, 2018. The
         Board voted to affirm the final decision of the University of Iowa in its entirety (8 in
         favor, 0 opposed, 1 absent): John Doe may seek further review of this decision as
         permitted by Iowa Code Chapter 17A.”

877.    The Board failed to give a rationale behind their decision to affirm UI’s decision in its entirety.




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878.     Since Doe had made UI and the Board aware by threatening with a lawsuit due to the gender and

race/national origin discrimination he faced, and since UI and the Board showed indifference to his

detailed allegations.

879.     UI and the Board showed that it had failed to serve the vital public interest.


J.         RAPE CULTURE
880.     The standard definition “rape culture23” was offered by Emilie Buchwald in her influential

anthology Transforming a Rape Culture (1993). She called it

           “A complex set of beliefs that encourage male sexual aggression and supports violence
           against women. The 1-in-4 or 1-in-5 figure for the rate of sexual assault is a bastion stat
           of the rape culture24.
881.     In the past few years, publicity about rape culture and the campus rape crisis have created

widespread anxiety over rampant violence committed by college men participating in entrenched norms-

anxiety that justifies top-down punitive intervention and moves women to live in fear or at least stress.25




23
   Kate Millett’s Sexual Politics (1968) argued that women had been “confined to the cultural level of animal life” by men who
used them as sexual objects and breeding stock. Susan Brownmiller’s wildly successful book, Against Our Will: Men, Women
and Rape (1975), “gave rape its history” – a history in which men were natural and sadistic rapists. The rape culture was born.
See McElroy, Wendy. Rape Culture Hysteria: Fixing the Damage Done to Men and Women. Vulgus Press.
24
  Id
25
   See Douglas W. Pryor & Marion R. Hughes, Fear of Rape Among College Women: A Social Psychological Analysis, 28
VIOLENCE & VICTIMS 443, 444 (2013) (discussing existing literature indicating that "[f]ear of rape has been found to
increase with perceived risk of victimization and the perceived seriousness of rape" and that "[f]ear of rape exerts social control
over women, restricting choices about social activities, living arrangements, dress and style, personal associations, and daily
movement"); Aya Gruber, Rape, Feminism, and the War on Crime, 84 WASH. L. REV. 581 (2009) (discussing this fear); cf.
Jodi Lane et al., Fear of Violent Crime Among Men and Women on Campus: The Impact of Perceived Risk and Fear of Sexual
Assault, 24 VIOLENCE & VICTIMS 172 (2009) (finding fear of sexual assault more predictive of women's general fear of
crime than perception of actual risk of crime).


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882.     However, incidents of rape, including campus rape, have significantly declined over the past 20

years.26 According to the Bureau of Justice Statistics, the general rate of rape fell to a 40-year low in 2013.
27



883.     Despite, this backlash on the unscientific ideas of the anti-rape culture grounding theory, it had not

stopped ideology-based researchers and agenda-driven advocates in the soft sciences (grievance studies)

from attempting to make it scientific and pass politically motivated laws and policies because of it.

884.     Ideology-based researchers and agenda-driven advocates in the soft sciences attempting to make

the anti-rape grounding theory sound scientific 28and they use it to pass politically motivated laws. An

example of this is the 1 in 5 women sexual assault myth.




26
   See SOFI SINOZICH & LYNN LANGTON, RAPE AND SEXUAL ASSAULT VICTIMIZATION AMONG COLLEGE-
AGE FEMALES, 1995-2013, 3 (2014), http://www.bjs.gov/content/pub/pdf/rsavcaf9513.pdf (showing general decline in rapes
on and off campus in Figure 2); Michael Planty et al., Female Victims of Sexual Violence, 1994-2010, U.S. DEP'T JUST.
BUREAU JUST. STAT. 1 (Mar. 2013), http://www.bjs.gov/content/pub/pdffvsv9410.pdf (showing the same general decline
in Figure 1). This decrease probably cannot be attributed to an uptick in non-reporting, given that reporting rates have
precipitously increased in the last few years. See Joseph Shapiro, Campus Rape Reports Are Up, and Assaults Aren't the Only
Reason, NPR NEWS (Apr. 30, 2014, 7:04 p.m.), http://www.npr.org/2014/04/30/308276181/campus-rape-reportsare-up-and-
there-might-be-some-good-in-that (stating that campus rape reports increased 49 percent from 2008 to 2012).
27
    “For women attending college, the rate of rape/sexual assault has fallen by more than 50% over the last several decades,
from 9.2 incidents per 1,000 women in 1997 to 4.4 cases per 1,000 in 2013. According to the media, politicians and gender
activists, there is supposed to be a college ‘rape epidemic’ when in fact, the rate of college female victimization has been
trending downward for almost 20 years.”
28
   5.      “Rape culture” is theory grounded in social construction. Social construction theory falls on the nurture side of the
nature/nurture debate. By going deeper into their theory, one finds it comes from the assertion that Truth is constructed, and it
is relative rather than objective. The intellectual roots of such thinking can be traced to the works of Michel Foucault. Foucault
stated that reality and truth are whatever the dominant group defines
6.        Social construction theory argues, is that humans are blank slates and that their environment shapes them. There is no
scientific evidence to state that humans are blank slates and plenty of evidence to refute it. Thus, we see the rise of ideology-
based theories rather than ones that are evidence driven.


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885.      UI keeps stating and emailing students with the controversial statistic that 1 in 5 women will be a

victim of sexual assault during her time in college.29 This statistic however is an anxiety-inducing myth.

886.      This statistic comes from two extremely flawed studies. The first one was done in 2007 funded by

the National Institute of Justice, called the Campus Sexual Assault Study. The lead author of the study,

Christopher Krebs, said, “We don’t think one in five is a nationally representative statistic” as his team

sampled only two schools.30 See Washington Post: The latest big sexual assault survey is (like others)

more hype than science.

887.      The second flawed study often referenced in college campus sexual assault is the 2015 Association

of American Universities (AAU) Campus Survey on Sexual Assault which states the same 1 in 5 women

(20%) get sexually assaulted and that only 12% of assaults are reported.

            “Simple arithmetic demonstrates that if the 12% reporting rate is correct, the 20% assault
            rate is preposterous. Mark Perry of the American Enterprise Institute notes, for example, that
            in the four years 2009 to 2012 there were 98 reported sexual assaults at Ohio State. That
            would be 12 percent of 817 total out of a female student population of approximately 28,000,
            for a sexual assault rate of approximately 2.9 percent — too high but nowhere near
            20 percent31”

888.      Even the AAU said that “estimates such as ‘1 in 5’ or ‘1 in 4’ as a global rate” across all

universities is [sic] over simplistic, if not misleading.” Several flaws with the study include the low

response rate, sampling bias, and overly broad definitions of sexual assault – In fact, respondents



29
  See Washington Post: Obama’s claim that one in five American women has been a victim of rape or attempted rape. Fact
Checker - One Pinocchio, Slate: The Problem With Campus Sexual Assault Surveys.
30
     Emily Yoffe, The College Rape Overcorrection, Slate
31
  [13] See, e.g., Will, George, “Colleges become the victims of progressivism,” Washington Post (June 6,
2014).                          http://www.washingtonpost.com/opinions/george-quewill-college-become-the-victims-of-
progressivism/2014/06/06/e90e73b4-eb50-11e3-9f5c-9075d5508f0a_story.html


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themselves answered that their so-called assaults went unreported because the “victims” themselves did

not believe them serious enough to do so.32 Such studies are called “advocacy research33.”

889.       A more reliable estimate came in 2014 from the Justice Department’s annual National Crime

Victimization Survey (NCVS): No more than 1 in 160 (0.6 percent) of college women per year — or 1 in

32 (3 percent) over five years — are sexually assaulted. The NCVS is one of the few national level,

longitudinal sources of data on rape and sexual assault, and it has a relatively high response rate (88%)

compared to other studies of sexual victimization. It also has standardized and grounded definitions of

rape and sexual assault, and looked at unreported rape and sexual assaults.

890.       RAINN (the Rape, Abuse & Incest National Network), the largest anti-sexual violence

organization, considers the NCVS to be one of "the most reliable source of statistics" about sexual

violence and uses it as their primary source.34

891.       UI released the results of their campus survey in 2016, stating, as facts, that 21% of female

undergrads say they were raped. However, there are major issues with this study. First, only 9.3% of

students took the study. Second, the survey was voluntary and anonymous surveys and thus cannot be

relied upon for a wholly accurate reflection of reality. Third, students who have experienced sexual assault

— along with their allies — will be more likely to participate in the survey. To assess the victimization

risk accurately for women throughout a college career, longitudinal research following a cohort of female



32
     The latest big sexual assault survey is (like others) more hype than science, Washington Post
33
  Christina Hoff Sommers, “CDC study on sexual violence in the U.S overstates the problem,” Washington Post, January 27,
2012.                     http://www.washingtonpost.com/opinions/cdc-study-on-sexual-violence-in-the-us-overstates-the-
problem/2012/01/25/gIQAHRKPWQ_story.html
34
  "The Criminal Justice System: Statistics". RAINN. RAINN states "The primary data source we use is the National Crime
Victimization Survey (NCVS), which is an annual study conducted by the Justice Department”


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students across time is needed.35 The one-fifth to one-quarter assertion would mean that young American

college women are raped at a rate similar to women in Congo, where rape has been used as a weapon of

war.36

892.      Despite RAINN’s consideration of the NCVS to be one of "the most reliable source of statistics"

about sexual violence and using it as their primary source, UI continued emailing and constantly

referencing the 1 in 5 women get sexually assaulted statistic as a fact.

893.      When such statistics are repeated and used to create university policies or training policies for

investigating/adjudicating sexual misconduct, it can easily lead to the biased and predetermined

investigations and discrimination toward males as evidenced by Doe’s disciplinary process.

894.      RAINN, in a report detailing recommendations to the White House on combating rape on college

campuses, identified problems with an overemphasis on the concept of rape culture to prevent rape and as

a cause for rape, saying:

            "In the last few years, there has been an unfortunate trend toward blaming 'rape culture' for
            the extensive problem of sexual violence on campuses. While it is helpful to point out the
            systemic barriers to addressing the problem, it is important to not lose sight of a simple fact:
            Rape is caused not by cultural factors but by the conscious decisions, of a small percentage
            of the community, to commit a violent crime."37




35
  http://www.press-citizen.com/story/news/education/university-of-iowa/2016/09/21/university-of-iowa-sexual-assault-
survey-results/90777176/
36
     Emily Yoffe, The College Rape Overcorrection, Slate
37
     RAINN Urges White House Task Force to Overhaul Colleges' Treatment of Rape". RAINN.org. RAINN. 6 March 2014.



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895.      In the report, RAINN cites a study by David Lisak, which estimated that 3% of college men

caused 90% of campus rapes38. The report argues that the trend toward focusing on cultural factors that

supposedly condone rape "has the paradoxical effect of making it harder to stop sexual violence, since

it removes the focus from the individual at fault, and seemingly mitigates personal responsibility for his

or her own actions."39

896.      When misleading and flawed information like this is constantly repeated, it can unnecessarily

create hostile attitudes toward males on campus, creating an environment that promotes witch-hunt toward

males who then face university policies or training policies for investigating/adjudicating sexual

misconduct also designed under the premise of such false statistics. It can lead to the biased and

predetermined investigations and discrimination toward males Doe was a part of at UI.40

897.      Examples of lack of due process include developing gender-biased policies that are vague and

arbitrary, and a reduction in due process protections for the accused such as no opportunity for cross-

examination, where the accuser is “believed” from the start. 41




38
  "White House Task Force to Protect Students from Sexual Assault United States Department of Justice Office on Violence
Against Women" (PDF). rainn.org. p. 2.
39
     "WH Task Force Recommendations" (PDF). RAINN.org. RAINN. 28 February 2014.
40
   As Emily Yoffe said:
“There is a danger when the findings of surveys like AAU’s are treated as proof that vast numbers of female college students
are victims of sexual violations. It puts schools under increasing pressure to prove that they are doing something about this
alleged epidemic, and this, in turn, has led to the creation of policies that offer little due process. See Emily Yoffe, The Problem
With Campus Sexual Assault Surveys - Why the grim portrait painted by the new AAU study does not reflect reality, Slate
41
   Such policies can destroy innocent men’s lives. They are also offensive to women. As Laura Kipnis, a feminist professor at
Northwestern, writes in her book about Title IX and flawed statistics, Unwanted Advances, “I can think of no better way to
subjugate women than to convince us that assault is around every corner.”


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898.    UI shows how it implements this bias from such advocacy research by its commitment to the “It’s

On Us” campaign42, which uses misleading statistics from Dr. Krebs’ 2007 study to influence activists.

Numbers that Need to Change, University of Iowa., https://itsonus.org.uiowa.edu/numbers-need-change

This campaign manifests Direct and Indirect Evidence of Gender-Biased Motivations in part because it

portrays male students as sexual predators in promotional materials.

899.    Further, the Investigator, Stevenson Earl, was on a panel for It's On Us.

900.    It is exceedingly difficult to get a numerical handle on a crime usually committed in private43, and

yet institutions such as UI and the activists it invites cherry pick statistics of “false accusations” from

flawed studies to promote their causes. We do not have good data on false accusations, especially in Title

IX investigations, and likely never will. With ath said, according to academic literature, crime comparison

studies have shown that false allegations of rape are at least five times as common as false accusations of

other types of crime44.

901.    Therefore, while UI likes to state that the range is between 2% to 7% in its events45, the true

percentage remains unknown46. Such investigations try to determine whether there is sufficient evidence




42
      Obama Administration’s press release identifying UI’s participation in the                 said   campaign    See
https://obamawhitehouse.archives.gov/sites/default/files/docs/college_list_updated_9.22.14.pdf
43
  Spohn, Cassia; White, Clair; Tellis, Katharine (2014-03-01). "Unfounding Sexual Assault: Examining the Decision to
Unfound and Identifying False Reports". Law & Society Review. 48 (1): 161 192. doi:10.1111/lasr.12060. ISSN 1540-5893.
44
   De Zutter AWEA, Horselenberg R, van Koppen PJ (2017) The Prevalence of False Allegations of Rape in the United States
from 2006-2010. J Foren Psy 2: 119. doi:10.4172/2475-319X.1000119
45
  Edward Greer, The Truth behind Legal Dominance Feminism's Two Percent False Rape Claim Figure, 33 Loy. L.A. L. Rev.
947 (2000). Available at: http://digitalcommons.lmu.edu/llr/vol33/iss3/3
46
  Turvey, Brent E. (2013). Forensic Victimology: Examining Violent Crime Victims in Investigative and Legal Contexts.
Academic Press. p. 277. ISBN 978-0124080843.


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to prosecute, not to evaluate the cases for which there is not sufficient evidence to prosecute and classify

such cases as "false" or "true47” In fact, studies vary widely in their conclusions about false reports,

with estimates ranging from 8% to 41%, and some estimates significantly higher, although the very high-

end studies have some flaws48.

902.       The rationale behind the motive of false allegations of sexual assault are: (i) the need for a cover

story or alibi; (ii) retribution for a real or perceived wrong, rejection or betrayal; (iii) desire to gain

sympathy or attention; or (iv) extortion. 49

903.       Rather than treating each case on its merits, UI uses cases to determine guilt. This is evidenced by,

but not limited to, the Adjudicator at Doe’s hearing already making a pre-determination of Doe’s guilt

before he could even speak based on her leading, guilt-assuming, questions towards Doe.

904.       UI’s recent rhetoric, and the actions that have come from it, as stated in this Complaint, have

created a hostile environment for men. A just society does not make conclusions about the guilt of an

accused person (or group) based on statistics (e.g., “Believe Women/Survivors”).


AFFIRMATIVE CONSENT

905.       The pressure from “rape culture” had led to anti-rape culture activists changing policies where the

burden is shifted to the accused to prove their innocence. With consent, unlike the populist “no means no”



47
   See generally, James McNamara and Jennifer Lawrence, “False Allegations of Adult Crimes,” FBI Law Enforcement
Bulletin, September 2012. (There are a large number of alleged sex crimes that although do not fall into the category of having
been determined as “false,” nevertheless fall into the category of being unsupported, or, too speculative as to be considered
legitimate claims to form a basis for arrest and prosecution).
48
     See Rumney, False Allegations of Rape, for a discussion of these studies as well as their conclusions and methods.
49
   See, e.g., Reggie D. Yager, What’s Missing From Sexual Assault Prevention and Response, (April 22, 2015), pgs. 46-62
http: ssrn.com/abstract=2697788.

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standard for consent, UI’s consent standard requires an understanding of what range of behaviors

constitute “clear, unambiguous, actions” other than a verbal consent.

906.      UI makes absolutely no effort to describe or explain how they define or operationalize “clear,

unambiguous, actions.”

The way UI used it displayed:
            a) Explicit consent is required every time there is sexual activity.
            b) Each new level of sexual activity requires clear consent; for example, moving from an
               agreed upon kiss to an embrace requires a new explicit agreement.
            c) Without prior agreement, body movements and non-verbal responses, such as returning
               a kiss, are not consent.
            d) Silence is not consent50.

907.      Although the policies are often gender neutral in language, the male is almost always considered

the default offender51

908.      The definition is arbitrary and capricious.

909.      It comes from the assumption that men are just waiting to sexually assault women and that the

only way they can be controlled from doing such a thing is to ask them to say an affirmative yes at every

stage of courtship.

910.      Researchers have found that student understanding does not align with legal definitions of

affirmative consent and practices.52 There has also been push-back from the legal community.




50
     McElroy, Wendy. Rape Culture Hysteria: Fixing the Damage Done to Men and Women. Vulgus Press. Kindle Edition
51
     Id
52
     "It Just Happened" - Inside Higher Ed
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911.       In May 2016, American Law Institute overwhelmingly rejected a proposal to endorse affirmative

consent which would have otherwise required it to be included in the penal codes.

912.       A letter written to the committee by 120 members stated, "By forcing the accused to prove the

near-impossible — that a sexual encounter was vocally agreed upon at each stage — affirmative consent

standards deny the accused due-process rights."53

913.       Doe will challenge Affirmative consent as unconstitutional.



TRAINING
914.       UI collaborates with RVAP for their sexual misconduct workshop and training.

The Office of Sexual Misconduct Response Coordinator website provides evidence that RVAP is

extensively involved in the training of investigators, Adjudicators, appeal officers, and decision-makers.

See https://osmrc.uiowa.edu/about-us/2017-annual-report/training.

915.       While details of the training are not provided, one can look at other services that RVAP is involved

in to get their ideology. For example, RVAP has set up for freshmen students studying rhetoric to learn

about “rape culture.”

916.       UI websites promote more of such gender-biased messages. For example, UI’s RVAP states it

supports the “Start by Believing” campaign on their website: Start by Believing is a public awareness

campaign established by the organization EVAWI (End Violence Against Women International) to

foster an environment in which survivors are believed, and perpetrators are held accountable for their

crimes. See Training Rules at https://rvap.uiowa.edu/take-action/prevent-and-educate/start-by-believing/



53
     "American Law Institute rejects affirmative consent standard in defining sexual assault" Washington Post
                                                                  145
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917.      UI’s training website shows they get training from EVAWI.

918.      It threatens the long-established principle that investigators must remain neutral throughout their

investigation and assess the credibility of the complainant at its conclusion, rather than tossing out
                                                                                                                   54
neutrality at the start and pursuing only evidence designed to “support the charges filed”                              and

“undermine” defense strategies.55

Such methods are an anathema to the principles of fairness, due process, and the presumption of

innocence. Federal Title IX regulations require that college grievance procedures be “equitable.”

919.      On October 4, 2016, an expert panel consisting of investigators, attorneys, and other experts

analyzed investigative methods such as those endorsed by the Start by Believing campaign, and concluded

these approaches “violate ethical requirements for impartial and honest investigations, are inconsistent

with basic notions of fairness and justice, and give rise to wrongful convictions and determinations of

guilt.”56

On February 7, 2018, over 150 professors and legal experts had signed an Open Letter criticizing the use

of “victim-centered” methods such as Start by Believing.57

If the woman is always believed, then it is impossible for the man ever to prove his innocence. As what

happened with Doe, no matter how much evidence the accused produces, the demand to believe the

accuser will prevail. Despite factors such as exonerating evidence or contradicting witnesses, the woman’s



54
     EVAWI Effective Report Writing, at 4
55
     EVAWI Effective Report Writing, at 4, 26
56
   Center for Prosecutor Integrity, Victim-Centered Investigations Undermine the Presumption of Innocence and Victimize the
Innocent: Report of an Expert Panel (Oct. 4, 2016). http://www.prosecutorintegrity.org/wrongfulconviction-day/victim-
centered-investigations-undermine-the-presumption-of-innocence-and-victimize-theinnocent-report-of-an-expert-panel/
57
     http://www.saveservices.org/wp-content/uploads/VCI-Open-Letter-7.20.18.pdf
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accusation must always be believed. It becomes a logical impossibility for an accused to prove his

innocence before a rape culture court.

920.     Doe, in his own words, mentioned in the appeal to the Board:

           “There is a difference between hearing and listening to someone with empathy by understanding
           what feels true to them, and believing them. Maybe I am ignorant about this, and my blind spots
           may not be allowing me to see this yet, in which case I apologize, but if we are to go around and
           just “believe” 50% of the world population without listening to the full story, there would be no
           need ever to be skeptical, and no need for law and a due process.”

921.     It is a fair argument to make that one should “start by listening.58”

922.     On January 31, 2018, UI decided that it is removing Steve Wynn's name from the campus research

center amid anonymous sexual misconduct allegations against him, which Mr. Wynn vehemently denied

at the time.

923.     The UI Institute of Vision Research became the Stephen A. Wynn Institute for Vision Research in

2013 after Wynn committed to donating $25 million to the cause. Other than they were anonymous

allegations of sexual misconduct, no additional information about the allegations was available at the time.

924.     Right away, UI President, Bruce Harreld, commented by saying, “The University of Iowa is

committed to ending sexual violence and sexual misconduct and ensuring survivors know they are




58
  Emily Yoffe describes it in an unbiased manner when she said:
“Women who tell their stories should have the support, and belief, of loved ones, friends, and a therapeutic community. But
when a woman, in telling her story, makes an allegation against a specific man, a different set of obligations kick in. Even as
we must treat accusers with seriousness and dignity, we must hear out the accused fairly and respectfully, and recognize the
potential lifetime consequences that such an allegation can bring. If believing the woman is the beginning and the end of a
search for the truth, then we have left the realm of justice for religion. Whether an investigation takes place at a school, at a
workplace, or in the criminal justice system, neutral fact-finding must apply, regardless of how disturbing we find the offense,
the group identity of the accused, or the political leanings of those involved. Unfortunately, we must also accept the reality that
the fact-finding process will, by its very nature, cause pain to both parties. ”
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believed, supported, and assisted. It is incongruous with the university’s values to maintain the Wynn

name on our program and building,”

925.   Whether someone is a “survivor” is a conclusion to be reached at the end of a fair process, not an

assumption to be made at the beginning.

926.   Each case must be decided on its own merits, according to its own facts.

927.   The UI President is seeing complainants as survivors before an investigation is made or before the

allegations have been found to be credible by some sort of a due process afforded.

928.   If respondents are presumed innocent why are they not supported? This shows that UI does not

care about the presumption of innocence, an international human right, under the UN’s Universal

Declaration of Human Rights, Article 11.

929.   Such statements by Mr. Harreld, and thus UI, addresses federal government pressure to discipline

more students accused of sexual assault, and from UI trying to fix its brand image damaged by the recent

accusations and lawsuits from females complaining that UI had failed to investigate appropriately.

930.   UI’s investigation into the Wynn matter followed this model of “Start by Believing” with a lack

of regard for a due process just as it has in Doe’s case.

931.   Fair-minded investigators are enjoined to avoid preconceptions and confirmation biases, and

instead to “follow the evidence.” UI's "trauma-centered" or "Start by Believing" type investigators seem

to assume that “all sexual assault cases are valid unless established otherwise by investigative findings.”

932.   If the Investigator presumes that the complainant is a “survivor” and should be believed, that would

likely dissuade an Investigator from making the necessary efforts to reconcile conflicting evidence.



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933.       Upon information and belief, UI Defendants bias against Doe was caused in part by UI’s practice

of “believ[ing]” students who allege they were sexually assaulted. Evidence supporting this belief includes

but is not limited to numerous articles and court decisions that address how UI Defendants have violated

the rights of students accused of sexual misconduct59.

K.          HISTORY OF DUE PROCESS & DISCRIMINATION AT UI

934.       UI has a history of struggling to confront sexual assault starting with a 2007 case in which two

football players took turns assaulting an intoxicated female athlete and a separate case in which two

professors were found violating consensual relationships among students.

935.       Upon information and belief, widespread anti-male bias increased at UI largely because of an

April 11, 2011 “Dear Colleague Letter” (DCL) issued by the United States Department of Education’s

(“DOE”) Office of Civil Rights (“OCR”) which instructed how colleges and universities must investigate

and resolve complaints of sexual misconduct under Title IX. (“2011 Dear Colleague Letter”)60.. This letter

manifests Indirect Evidence of Gender Bias in part by equating complainants in sexual misconduct


59
    John v. Univ. of Mississippi, No. 3:16-CV-63-DPJ-FKB, 2018 WL 3570229, *4-7 (S.D.Miss July 24, 2018)(refusing to
dismiss a Title IX claim, in part, because the university’s Title IX training materials “might suggest bias” favoring accusing
students); John v. the Univ. of Colorado, Boulder, No. 1:18-cv-02243-LTB, 2019 WL 764568, *9. (D. Co. Feb. 21,
2019)(denying motion to dismiss a male plaintiff’s Title IX claim because the plaintiff alleged the university’s “trauma-
informed” practices favored female Accusing Students); John v. The Trustees of The Univ. of Penn., No.16-5088, 2017 WL
4049033 *10 (E.D. Pa. Sept. 13, 2017)(rejecting motion to dismiss a male plaintiff’s contract claim in part because his
universities’ policies required investigators and adjudicators be trained “to provide a process that is ‘free of bias’’ and plaintiff
alleged the university’s training did: “not promote fairness and impartiality’ and, instead, ‘undermine[d] principles of
impartiality, favor[ed] complainants (typically female), and [created] biase[d] proceedings against respondents (typically
male).”); John v. Ohio State Univ., 219 F. Supp. 3d 645, 658 (S.D. Ohio 2016)(noting biased sexual misconduct training can
overcome the “presumption” that university employees acted with “honesty and integrity” in disciplining a student for alleged
sexual misconduct); Emily Yoffe, “The Bad Science Behind Campus Response to Sexual Assault,” The Atlantic, Sept. 8, 2017
which noted:“[a]ssertions about how trauma physiologically impedes the ability to resist or coherently remember assault have
greatly undermined defense against assault allegations. But science offers little support for these claims.”) ,
https://www.theatlantic.com/education/archive/2017/09/the-bad-science-behind-campus-response-to-sexual-assault/539211/
(assessed may 22, 2019); KC Johnson and Stuart Taylor, “The Title IX Training Travesty,” The Weekly Standard, Nov. 10,
2017, https://www.weeklystandard.com/kc-johnson-and-stuart-taylor-jr/the-title-ix-training-travesty (assessed may 22, 2019).
60
     available at http://www2.ed.gov/about/offices/list/ocr/letters/colleague-201104.html
                                                                     149
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proceedings as being females who must receive preferential treatment. For instance, the 2011 Dear

Colleague Letter suggests educational institutions seek grants from the U.S. Department of Justice’s

Office on Violence against Women which require institutions “develop victim service programs and

campus policies that ensure victim safety, [and] offender accountability.” Id., p.19 (emphasis added);

936.      The 2011 Dear Colleague Letter (DCL) has resulted in colleges and universities, including UI,

making it more difficult for males accused of sexual misconduct to defend themselves. Most notably, the

DCL required schools adopting the lowest burden of proof — “more likely than not”—in cases involving

sexual misconduct, including sexual assault. Before the circulation of this latter, several colleges had been

using “clear and convincing” and some, like Stanford, applied the criminal standard, “beyond a reasonable

doubt.”

937.      Using the Preponderance of the Evidence standard has been challenged multiple times61, including

in a paper submitted by the American Association of University Professors in March 2016. The paper

severely criticized OCR’s mandates as undermining student’s rights to fair and impartial adjudications in

cases of alleged sexual misconduct. The History, Uses, and Abuses of Title IX, American Association of

University Professors., https://www.aaup.org/report/history-uses-and-abuses-title-ix

938.      Multiple courts have questioned whether OCR’s “preponderance of evidence” standard is too

low62.



61
   Tamara Rice Lave, Ready, Fire, Aim: How Universities Are Failing the Constitution in Sexual Assault Cases, 48 ARIZ. ST.
L.J. 637, 642 (2016)
62
   See e.g., Lee v. Univ. of New Mexico, No.1:17-cv-01230, Doc. 36, p.2-3 (N.M. Sept. 20, 2018)(rejecting motion to dismiss
student’s due process claim because university prohibited him from cross examining witnesses in “formal or evidentiary
hearing” and because the court “conclude[d] that preponderance of the evidence is not the proper standard for disciplinary
investigations . . . given the significant consequences for students found responsible for engaging in sexual misconduct); Doe


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939.     On April 29, 2014, OCR published a document regarding Title IX and sexual assault 63 and this

OCR directive manifested Indirect Evidence of Gender Bias in part because it hampered the accused

student’s ability to defend himself by reducing or eliminating the ability to expose credibility flaws in the

allegations made against him. For example, OCR’s 2014 Q-and-A states schools:

          a)         “[M]ust not require a complainant to be present” at sexual misconduct disciplinary
                     hearings. OCR’s 2014 Q-and-A, p.30.
          b)         May decide to eliminate all opportunities for “cross-examination.” Id., p.31.
          c)         Must avoid “revictimization” by minimizing the number of times a victim is
                     interviewed so “complainants are not unnecessarily required to give multiple
                     statements about a traumatic event.” Id., pp.30, 38.

940.     Unlike the new proposed guidelines by the Department of Education, which is currently in the

review process of the notice-and-comment rulemaking, the DCL was not subject to notice-and-comment

rulemaking, and therefore its validity as binding law is questionable. But some universities, including UI,

treat the DCL as binding authority.

941.     In 2016 Senator James Lankford expressed his concerns that the Dear Colleague letters are not

interpretive but are unlawfully altering the regulatory and legal landscape of Title IX and the U.S.

Constitution.




v. Univ. of Mississippi, No.3:18-cv-138-DPJ-FKB, Docket 60, p.15-21 (S.D.N.D. Miss., Jan. 16, 2019)(unreported)(rejecting
motion to dismiss procedural due process claims based on plaintiff’s allegations that following five due process violations: (1)
university’s Title IX coordinator excluded exculpatory evidence from her report; (2) university’s training materials suggested
the credibility of accusers need not be diminished by their false testimony or withholding of facts because this behavior is
common among sexual assault victims; (3) plaintiff was denied an unbiased adjudication because one of his adjudicators “had
previously mocked the defenses raised by men accused of sexual assault;” (4) university prohibited plaintiff from cross-
examining “witnesses whose accounts of the evening led to his discipline; and (5) plaintiff’s allegation that university’s
“preponderance of the evidence standard” was too low.”)
63
   signed by OCR’s then Asst. Sec. of Ed. Catherine E. Lhamon (“Sec. Lhamon”) titled “Questions and Answers on Title IX
and Sexual Violence” (“OCR’s 2014 Q-and-A”)(available at http://www2.ed.gov/about/offices/list/ocr/docs/qa-201404-title-
ix.pdf (accessed 4/3/19)
                                                                  151
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942.    In 2013, Sec. Catherine Lhamon became the assistant secretary for Civil Rights at the U.S.

Department of Education.

943.    Upon information and belief, UI institutionalized OCR’s Indirect Evidence of Gender Bias into

UI’s implementation of UI Policies Evidence supporting this allegation includes, but is not limited to

threats made by Sec. Lhamon in February 2014 when she told college officials attending a conference at

the University of Virginia that schools need to make “radical” change. According to the Chronicle of

Higher Education, college presidents suggested afterward there were “crisp marching orders from

Washington64.”

944.    OCR’s investigations of universities put millions of dollars in federal student aid at risk. This is

because DOE/OCR can impose civil penalties and/or suspend institutions from participating in federal

student financial aid programs if DOE/OCR finds a university, such as UI, did not do enough to discipline

males alleged to have engaged in sexual misconduct with female students.

945.    Sec. Lhamon confirmed this risk of losing federal funds at a national conference in 2014 when she

said, “I will go to enforcement, and I am prepared to withhold federal funds.65”

946.    In 2014, Sec. Lhamon told a Senate Committee, “[t]his Administration is committed to using all

its tools to ensure that all schools comply with Title IX...” In addition, Sec. Lhamon noted: 66




64
   See, Colleges Are Reminded of Federal Eye on Handling of Sexual Assault Cases, Chronicles of Higher Education,
February 11, 2014, located at http://chronicle.com/article/Colleges-Are-Reminded-of/144703/ (accessed 4/3/19).
65
    .” See, How Campus Sexual Assaults Came to Command New Attention, NPR, August 12, 2014, located at
http://www.npr.org/2014/08/12/339822696/how-campus-sexual-assaults-came-to-command-new-attention (accessed 4/3/19).
66
   Sec. Lhamon confirmed this risk of losing federal funds at a national conference in 2014 when she said, “I will go to
enforcement, and I am prepared to withhold federal funds.” See, How Campus Sexual Assaults Came to Command New
Attention, NPR, August 12, 2014, located at http://www.npr.org/2014/08/12/339822696/how-campus-sexual-assaults-came-
to-command-new-attention (accessed 4/3/19).
                                                              152
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            “If OCR cannot secure voluntary compliance from the recipient, OCR may initiate an
            administrative action to terminate and/or refuse to grant federal funds or refer the case to
            the DOJ to file a lawsuit against the school. To revoke federal funds—the ultimate
            penalty—is a powerful tool because institutions receive billions of dollars a year from the
            federal government for student financial aid, academic resources and many other functions
            of higher education. OCR has not had to impose this severe penalty on any institution
            recently because our enforcement has consistently resulted in institutions agreeing to take
            the steps necessary to come into compliance and ensure that students can learn in safe,
            nondiscriminatory environments.”

947.    Upon information and belief, OCR’s Chicago Office - which prosecutes complaints filed against

Iowa universities - continues to advance Sec. Lhamon’s even after Sec. Lhamon’s departure from OCR.

Information supporting this belief includes, but is not limited to, the fact that the Director and numerous

senior attorneys at OCR’s Chicago Office worked under Sec. Lhamon during her entire tenure at OCR. 67

948.    Upon information and belief, for UI, the withdrawal of federal funding would be catastrophic, in

part, because, in the academic year 2016-2017, UI undergraduate students received over 67 million dollars

in federal student loans. (https://nces.ed.gov/collegenavigator/?q=iowa&s=all&pg=2&id=153658#finaid)

(last accessed Feb. 28, 2019).

949.    Doe was found responsible in part because of threats by the federal government that UI could lose

federal funding or face other adverse consequences if UI did not find male students responsible for




67
    See e.g., (https://www2.ed.gov/about/offices/or/ed-org-directory.pdf (last accessed Mar. 3, 2019)(identifying these
individuals as employed at OCR’s Chicago Office as of March 8, 2018: Adelle Rapport, Algis Tamosiunas, Karen Mines,
Judith Levitt, and Jeff Turnbull); (https://www.federalpay.org/employees/office-for-civil-rights/top-100/2017) (last accessed
Mar. 3, 2019)(containing links to dates when said OCR employees were hired which predate Sec. Lhamon’s tenure at OCR).


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sexually assaulting female students. Evidence of this pressure includes, but is not limited to, The White

House’s April 2014 report68 entitled “Not Alone69”

950.     In February 2014, then President of UI, Sally Mason, claimed controversially that it’s not possible

to completely get rid of sexual assault given human nature, leading to campus-wide protests.

951.     UI students – through protests, online petitions, social media, and written letters pressured UI by

asking administrators to take a “zero tolerance” stance on sexual violence and start expelling violators.70

952.     Zero tolerance policies in educational settings have been frequently criticized, especially when

universities use educational deprivation as a form of punishment,71 which is unconstitutional.72




68
   In March and April 2019, Biden was accused of sexual misconduct by multiple women. “If Biden were a college student,
[his actions]- ambiguous as those actions might be – could easily result in him being investigated by the Title IX office and
subjected to education-disrupting punishment”#. See https://www.politico.com/magazine/story/2019/04/03/joe-biden-college-
campus-sexual-assault-226481
69
   Which includes: (a) references to Vice President Biden’s “new Public Service Announcement” which encourages schools
to combat the sexual assault of women on campuses; and (b) warnings that if colleges like UI do not adhere to Title IX they
“risk losing federal funds” and/or face potential lawsuits filed by DOJ. In July 2016, Vice President Biden suggested that
schools that do not comply with Administration guidelines could be stripped of federal funding. See: Obama, Biden Won’t
Visit Universities That Fall Short In Addressing Sexual Assault
70
    See     https://www.thegazette.com/subject/news/university-of-iowa-debuts-sex-assault-sanctioning-guidelines-
20140904
71
  Blumenson, Eric and Nilsen, Eva S., One Strike and You're Out? Constitutional Constraints on Zero Tolerance in Public
Education (October 20, 2002). Washington University Law Quarterly, Vol. 81, No. 1. Available at
SSRN: https://ssrn.com/abstract=352181 or http://dx.doi.org/10.2139/ssrn.352181
72
             Emily            Yoffe,           in           the            New            York            Times,           states:
“Usually at the beginning of a zero-tolerance campaign, those leading the charge promise it will vanquish the worst of the
worst: the drug kingpins, the gang leaders, the serial sexual predators, the murderers. But it inevitably turns out there aren’t
very many of them. So the definition of what will not be tolerated starts expanding, allowing politicians and other moral arbiters
to say they are cleansing society of those who commit any kind of lapse. People who urge a more proportionate, incremental,
and individualized response to complex problems are tarred as being some percentage — usually 100 — tolerant of the menaces
that trouble us.”
“Despite the overwhelming evidence that zero-tolerance policies sweep up the harmless and the innocent, we are so habituated
to thinking in zero tolerance terms that when a new issue appears, it is often our default response.”


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953.      The American Bar Association opposes "zero tolerance policies that mandate either expulsion or

referral of students to juvenile or criminal court, without regard to the circumstances or nature of the

offense or the students [sic] history.”73 School suspension and expulsion result in several negative

outcomes for both schools and students.74 Analysis of the suspension rate of students shows black females

and other racial minorities are suspended at a greater rate.75 The American Psychological Association

concluded that the available evidence does not support the use of zero tolerance policies as defined and

implemented and that the policies create several unintended negative consequences76 77, including making

schools "less safe."78 Zero--tolerance policies have been struck down by U.S. courts79 and by departments

of education.80

954.      Despite this, UI showed it had no backbone and gave in to the pressure from the public.

President Mason stated that UI would take a zero-tolerance stance on sexual misconduct. Larson, Lin,

President Reaffirms Zero Tolerance Stance on Sexual Misconduct, (2014), Iowa Now.,

https://president.uiowa.edu/home/mason-reaffirms-zero tolerance-stance-sexual-misconduct.




73
     "School Discipline "Zero Tolerance" Policies - Center on Children and the Law". www.americanbar.org
74
  Russell J. Skiba Zero Tolerance, Zero Evidence: An Analysis of School Disciplinary Practice Policy Research Report #SRS2
August, 2000
75
     "Are we Closing the School Discipline Gap?" (PDF). UCLA Center for Civil Rights Remedies. Feb 2015.
76
    Zero Tolerance Policies: no substitute for good judgment Summary of the APA Task Force Report at
everydaypsychology.com
77
   Are Zero Tolerance Policies Effective in the Schools? An evidentiary review and recommendations. American
Psychologist, December 2008.
78
   Nuckols, Ben (13 October 2009). "Delaware board likely to tweak zero tolerance rule". Associated Press. Archived from the
original on October 16, 2009.
79
    "Pensacola honor students win zero tolerance drug ruling" article of the AP/Bradenton Herald, Sept. 8, 2002
at Overlawyered.com archives Sept. 2002 pt. III
80
     Rhode Island Officials Rule School Can't Censor Teen's Yearbook Photo
                                                                155
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1081. UI then released new vague sanctioning guidelines that lay out a range of penalties, from probation

to suspension to expulsion. Even organizations against sexual misconduct criticized it.

“The level of discretion in the new system is so great…that it’s difficult to take this model seriously,” said

a member of ROAR Iowa City, a group organized against sexual harassment and violence. University of

Iowa       Debuts        Sex        Assault       Sanctioning         Guidelines         (2014),       The        Gazette.

https://www.thegazette.com/subject/news/university-of-iowa-debuts-sex-assault-sanctioning-guidelines-

20140904

955.    Like other tough-on-crime movements, the campus anti-rape movement utilizes the language of

"crisis" and "epidemic" to push through rapid, broad, and contestable policy changes.81

956.    Eventually, President Mason, to redeem herself from her controversial comment, created a new

stricter model to combat sexual assault on campus, before stepping down from her position a year later.

Agnew, Sara, Sally Mason Apologizes for Sexual Assault Remark (2014), Des Moines Register.,

https://www.desmoinesregister.com/story/news/2014/02/26/sally-mason-apologizes-for-sexual-assault-

remark/5827897/

957.    UI then made changes that one could infer were designed to secure more convictions.




81
   See, e.g., Tara Culp-Ressler, New Study Finds 'Epidemic Level' of Rape on College Campus, THINKPROGRESS (May 20,
2015, 2:02 p.m.), http://thinkprogress.org/ health/2015/05/20/3661010/campus-rape-surveys/; Alex Morris, 'The Hunting
Ground': Inside a Crucial Look at the Campus-Rape Crisis, ROLLING STONE (Mar. 3, 2015),
http://www.rollingstone.com/movies/features/the-hunting-ground-inside-a-crucial-look-at-thecampus-rape-crisis-
20150303#ixzz3xFnXaarg (noting that the film "tackles not just the epidemic of rape on campus-the film notes that more than
100,000 college students will be sexually assaulted in the coming year-but also the way in which universities cover it up");
Anya Jaremko-Greenwold, Kirby Dick and Amy Ziering on Exposing the Horrifying Campus Rape Epidemic in 'The Hunting
Ground', INDIEWIRE (Feb. 26, 2015, 10:39 a.m.), http://www.indiewire.com/article/kirby-dick-andamy-ziering-on-exposing-
the-horrifying-campus-rape-epidemic-in-the-hunting-ground-20150226.


                                                                156
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About a month after President Mason’s “Six Point Plan” to address sexual misconduct, UI had expelled

a student in 2014 for the first time in over 10 years82

958.       The plan’s “Point 1” creates sanctions and outlines the new aggression UI will be moving toward

as it relates to it. Schmidt, Mitchell, U of I Student Expelled for Sexual Assault Is The First in At Least a

Decade,                         (2014)                         Des                       Moines                         Register.,

https://www.desmoinesregister.com/story/news/education/2014/04/11/u-of-i-student-expelled-for-sex-

assault/7602963/

959.       As part of her Six Point Plan to combat sexual assaults on campus, President Mason, expanded the

“Nite Ride” by adding a second vehicle in Mach 2014 however only allowed this transportation for

women83.

960.       On August 2016, The Iowa Civil Rights Commission (ICRC) settled a case with the UI regarding

the      discriminatory      practice     of     the    Nite     Ride.     Logan       Allee     v.    University      of    Iowa,

See https://icrc.iowa.gov/document/logan-allee-v-university-iowa-et-al.

961.       Despite this, UI continues to discriminate against men as it relates to services provided against

sexual misconduct.




82
   We have used indefinite suspensions, we've used termed suspensions, but the president's plan, the Six Point Plan, calls for
the use of expulsion in the most serious offenses, and this is one of the most serious offenses, so I think it is fair to say this is
part of the Six Point Plan that the president announced," UI's then vice president of student life, Tom Rocklin said.
The procedures adopted by colleges have received substantial criticism from Courts: “Sexual assault is a deplorable
act of violence… Universities have perhaps, in their zeal to end the scourge of campus sexual assaults, turned a blind
eye to the rights of accused students. Put another way, the snake might be eating its own tail.” Joe Dryden et. al., Title
IX Violations Arising from Title IX Investigations: The Snake Is Eating Its Own Tail, 53 Idaho L. Rev. 639 (2017).
Doe v. Ohio State Univ., 311 F. Supp. 3d 881, 892-893 (S.D.Ohio 2018)
83
     UI to unveil second Nite Ride van - Iowa City Press-Citizen
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For instance, the Office of Sexual Misconduct, via it’s ‘Ending Violence at Iowa’ website offers two self-

defense workshops/classes – “Flip the Script” and “Rape Aggression Defense.” Both of these classes are

for women only. Men or people who identify as part of the LGBTQ community are not welcome. See Flip

the Script; Rape Aggression Defense. While it is understandable and even necessary sometimes to limit

the class to a single gender, it is important to make the same format available to other genders.

962.       The workshops offered to men in the department seems to come from a social construct/blank slate

ideology84 85, where the focus is on reconstructing men's behaviors and their masculinity through feminist

theories rather than coming from a place of self-acceptance.

963.       No workshops are offered on femininity as it relates to sexual aggression or harassment by women.

964.       In July 2018, Iowa State University psychologist Pelin Gul, criticized such training programs by

stating:

            “Masculinity training programs can be damaging to male college students indeed, since it
            seems like these programs are focused on a very unrealistic conception of gender equality. I
            don't think we should force men and women to be and act identical to each other,” she added.
            “Encouraging/forcing men to be identical to women is social engineering in a cruel way.”
            See https://www.campusreform.org/?ID=11134

965.       On April 14, 2015, UI sponsored and publicly showed the film “The Hunting Ground,” a film

about campus sexual assault that purports to be a documentary but is misleading and biased.

966.       It was sponsored by UI’s Department of Communication Studies and the Bijou Film Board, with

a panel discussion after the film. DiCarlo, UI’s Title IX Coordinator, was part of the panel. High, Andy,

Film,      Panel     to    Address     Sexual     Assault,     2015,   Iowa     City    Press.,      http://www.press-



84
     Steven Pinker, 'The Blank Slate', New York Times (2002)
85
     Deborah Smith, Dissolving myths about human nature, American Psychological Association (2002)
                                                               158
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citizen.com/story/opinion/contributors/guest-editorials/2015/04/11/opinion-hunting-ground-sexual-

assault-campus/25584465/

967.   Upon information and belief, UI sponsors and publicly shows this video every academic year. For

instance, there was a screening and a panel discussion of the documentary on April 19, 2019, at UI’s Van

Allen Hall.

968.   “The Hunting Ground” has been widely criticized:

       a)      For example, nineteen Harvard University professors denounced the film as
               “propaganda” that is “one-sided” and “biased.”
       b)      Hunting Ground claims to be a documentary but are biased; “We don’t operate the
               same way as journalists — this is a film project very much in the corner of advocacy
               for victims, so there would be no insensitive questions or the need to get the
               perpetrator’s side” — The Hunting Ground co-producer Amy Herdy. Taylor, Stuart,
               Smoking Gun Email Exposes the Bias of the Hunting Ground, 2015, National
               Review., http://www.nationalreview.com/article/427166/hunting-ground-smoking-
               gun-e-mailexposes-filmmaker-bias-against-accused
       c)      It features three women, whose claims of sexual assault were later largely
               discredited, including in one case fabricating evidence (a bloody condom that when
               eventually tested contained DNA of another male who was not the alleged assailant).
       d)      It repeatedly omits the word “alleged,” thus confusing an accusation of sexual assault
               with a proven case, and offers no meaningful opportunity for the accused to respond
               to the charges, as expected in any fair, balanced documentary.

969.   On April 19, 2016, UI sponsored a “sex-assault summit” focusing on men (emphasis added).

The keynote speaker invited was Derrick Williams, an “intersectionality activist.” Williams started by

saying, “Women have been on the frontline since the beginning. It’s time for men to step up. Men have to

be part of transforming rape culture.”


970.   Williams noted that many young men bring up false reporting to illegitimatize the problem of

sexual assault. However, he said, this defense is a myth. “False reporting is around 2 to 7 percent, but we

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talk about it as if it’s 90 percent,” Williams said. “The most important thing we can do for victims and

survivors is believe them.” Williams followed that up with “Indifference is more lethal than any

perpetrator.” (emphasis added) “Masculinity is a social construct about how we subscribe to things,” he

said. Onstad-Hargave, Anna, Sex Assault Summit Focuses on Men, (2016) The Daily Iowan.,

https://dailyiowan.com/2016/04/20/sex-assault-summit-focuses-on-men/

971.   UI’s Vice President for “Diversity, Equity, and Inclusion”, Melissa Shivers sent the following

email about the masculinity programs UI conducts:

         The What About Me(n) Summit is also taking place this afternoon. This is an opportunity to
         engage those identifying as male and those leading/mentoring male-identified to explore the
         many ways that our learned understandings of 'masculinity' impact rape culture and
         perpetuate an overall culture of violence. We believe that we can end sexual assault,
         domestic abuse, stalking, and all forms of gender-based violence when male-identified youth
         and adults become actively involved in this vital prevention work.
972.   Generally speaking, men display masculinity while women display femininity. UI had

pathologized masculinity. Assigning collective guilt to an entire gender's attributes, behaviors, and roles

for the actions of about 3% of its population is unfair, unnecessary, and reflective of irrational stereotypes

about sexual violence committed by men.

973.   Led by RVAP and Women’s Resource &Action Center, UI has created a gender biased and a

hostile environment for men by producing something called the “IDEAL Campus Culture Project” a

project that studies “rape culture.” They then implemented this in their rhetoric classes, a mandatory class

required for first-year students, who are less likely to have developed the skills to critically question such




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ideologies86. Lesson 3 is called “Redefining Sexual Assault” where, rather than being concrete about the

crime of it encourages students to define their own version of sexual assault. Lesson 5 forms the core of

the course called “False Accusations and Victim Vlaming, where it encourages one to believe the

misleading and debunked statistic that false accusations happen only 2% of the time87.

974.     On May 19, 2017, while Doe’s investigation was ongoing, UI paid $6.5 million to settle a lawsuit

that alleged gender discrimination toward women. University of Iowa pays 6.5 million in Meyer Girsbaum

Cases (2017) ,The Gazette., https://www.thegazette.com/subject/news/higher-education/university-of-

iowa-pays-6-million-in-meyer-griesbaum-cases-20170519

975.     On October 16, 2017, just days before Doe’s hearing, UI settled a lawsuit alleging gender

discrimination toward women again, this time for $2.68 million. The Iowa City Press-Citizen reported:

Lawsuits seek changes to University of Iowa sexual assault policies. Foley, Ryan (2017) available at

http://www.press-citizen.com/story/news/education/university-of-iowa/2017/10/16/lawsuits-seek-

changes-university-iowa-sexual-assault-policies/769292001/

976.     The media explained how Provost and Dean of the Graduate College at UI, who was supposedly

John Keller, decided as it related to reversing the expulsion of an accused male student in the appeal stage.




86
   The course starts with the sentence: “One problem with “rape culture” is the fact that is produces a discourse that does not
believe it, and especially when coupled with the power of the internet where anyone can write about anything, suddenly people
are much more willing to dismiss rape culture as a product of the “liberal agenda” or “feminists.” This can be a problem as
well, because although all of the issues that the article we read for today brings up can be supported with a large body of
research and statistics from the federal government, some people still refuse to believe it and feel that it is some sort of
conspiracy. This is further evidence of how rape culture functions to normalize sexual assault, blame victims, and do much
more in terms of damaging our culture’s relation to these problematic dynamics, and creates further divisions in terms of how
we can collectively respond to these problems.”
87
  “In particular, it is not unusual for men and even women to tell an anecdotal tale about how one of their friends was falsely
accused of sexual assault and how it “ruined their life”. While you should avoid trying to take away from these stories or by
any means discredit them, just point out that sometimes false accusations do happen but, as the article states, only about 2% of
the time “
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This cost UI $2.68 million, and arguably played a significant factor into overcorrecting and being biased

against Doe days later.

977.   The lawsuit shows that UI had failed to properly discipline male students’ sexual misconduct

against two female students. The lawsuit sought orders requiring UI to make several changes, including

surveying students about its handling of complaints, analyzing investigations and decisions to monitor for

bias, and boosting training on gender-based violence. The lawsuits argued UI’s response remains

inadequate because the changes did not address biases that can lead to institutional hostility against female

accusers.

978.   Since 2015, UI was also under investigation by OCR for multiple Title IX offenses due to

discrimination toward women and had multiple open investigations throughout Doe’s investigation and

sanctioning process.

979.   On January 10, 2018, soon after Doe was expelled, and his internal appeal dismissed. UI had been

cleared from one investigation by OCR, where they found no discrimination toward women. Thus, they

could now be more relaxed about how strict they enforce their policies.

980.   Upon information and belief, UI stacked the deck against male students accused of sexual

misconduct by discriminating against men in their investigations to avoid further damage to their brand

name as another opening of an investigation by the OCR or a lawsuit alleging gender discrimination

toward women would have been disastrous. The Chronicle of Higher Education available at

https://projects.chronicle.com/titleix/campus/University-of-Iowa/?case=81

981.   Doe renews his argument he wrote about his expulsion to the Board in his appeal:
       “Sometimes it is in an organization’s interest to find a scapegoat for all ills at the university,
       especially if that university is trying to find reasons to justify and appear Title IX compliant,

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       given recent events. It was set against this stage that UI either succumbed to pressure or
       otherwise sought to make an “example” out of me as a male accused of sexual assault and
       meted out a disproportionately severe sanction of expulsion from the school.”

982.   UI officials were reacting to substantial criticism of UI not taking seriously complaints of female

students alleging sexual assault by male students.

983.   The direct and indirect evidence of gender bias motivations indicates that UI engages in gender

discrimination based on unlawful notions of masculinity and femininity, which results in a hostile

environment for males. This hostile environment, in turn, leads an adverse educational setting in violation

of Title IX. This hostile environment causes innocent males on UI’s campus to be unlawfully disciplined

and interferes with males’ ability to participate in or benefit from various activities, including learning on

campus.

984.   Upon information and belief, UI’s pattern and practice of discriminating against male students are

done to appease the federal government, UI’s female student body, and/or the general public even though

the Preponderance of the Evidence proves these male students did not engage in sexual misconduct.

985.   In 2017, The American College of Trial Attorneys’ (“ACTA”) White Paper on Campus Sexual

Assault Investigations noted: “OCR has established investigative and disciplinary procedures that, in

application, are in many cases fundamentally unfair to students accused of sexual misconduct.” (American

College of Trial Attorneys’ March 2017 White Paper on Campus Sexual Assault Investigations) To

remedy this unfairness, ACTA made these recommendations:

       a)      Sexual misconduct investigations and hearings should be conducted with due
               consideration for any appearance of partiality, including that which might arise from
               the fact-finder’s other responsibilities or affiliations.
       b)      The parties to a sexual misconduct investigation should be permitted to conduct some
               form of cross-examination of witnesses, in a manner deemed appropriate by the
               institution, to test the veracity of witnesses and documents.

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       c)      The subject of a sexual misconduct investigation should be provided with access to
               all evidence at a meaningful time and in a meaningful manner so he/she can
               adequately respond to it.
       d)      The standard of proof for “responsibility” should be clear and convincing evidence.
       e)      Fact finders in sexual misconduct investigations and hearings should produce written
               findings of fact and conclusions sufficiently detailed to permit meaningful appellate
               review. Id., p.2.

986.   UI afforded Doe none of the traditional cornerstones of American justice articulated by ACTA.

Instead, upon information and belief, UI Defendants allowed their Investigator and Adjudicator to cause

them to expel him unlawfully despite the exculpatory evidence establishing his innocence.

987.   UI’s legitimate goal of preventing sexual assault is not the issue in, nor is it the basis for this

Complaint. Rather, this Complaint addresses how - upon information and belief - UI Defendants’

Investigator and Adjudicator caused them to: (a) afford females preferential treatment regarding Title IX

and/or UI Policies; (b) severely discipline male students like Doe alleged to have engaged in sexual

misconduct regardless of their innocence, and (c) equate “victim/complainants” in sexual misconduct

proceedings as being females who receive preferential treatment over the males they accuse of sexual

misconduct.

988.   In a speech on September 7, 2017, the same month when Doe’s hearing took place, the Secretary

of Education Betsy DeVos said: “no school or university should deprive any student of his or her ability

to pursue their education because the school fears shaming by – or loss of funding from – Washington.”

DeVos declared that the DOE would fight against the 2011 policies which “lack the most basic elements

of fairness and due process, are overwhelmingly stacked against the accused, and are in no way required

by Title IX law or regulation.”




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989.     DeVos officially revoked the Obama Administration’s guidance on college sexual assault, offering

interim guidelines on how universities should handle the issue88.

990.     In place of these documents, the Department issued a new question-and-answer document – the

September 2017 Q-and-A on Campus Sexual Misconduct – to guide institutions while the Department

conducts an official rulemaking process to promulgate new Title IX regulations. “Q-and-A on Campus

Sexual       Misconduct,”         U.S.       Dep’t       of     Education,        September 2017           available       at

https://www2.ed.gov/about/offices/list/ocr/docs/qa-title-ix-201709.pdf

991.     The new Q-and-A guidance, which was released while Doe was still going through his grievance

process, clarified the Department’s expectation that the standard of evidence for school’s investigations

of sexual violence under Title IX is the same as the standard used in other disciplinary proceedings. Thus,

it may require many schools to either raise the standard used in Title IX investigations or lower the

standard used in all other proceedings.

992.     OCR confirmed that “[i]n every investigation conducted under the school’s grievance procedures,

the burden is on the school – not on the parties – to gather sufficient evidence to reach a fair, impartial

determination as to whether sexual misconduct has occurred. OCR stated that schools must avoid

discriminatory practices against accused students (who are overwhelmingly male) that had become




88
  DeVos commented that too many students had been falsely charged with sexual assault and schools feared being accused of
ignoring the accusations, before stating, “Schools must continue to confront these horrific crimes and behaviors head-on. But
the process also must be fair and impartial, giving everyone more confidence in its outcomes”
“any school that uses a system biased toward finding a student responsible for sexual misconduct also commits
discrimination.”
She concluded by saying, “Due process is the foundation of any system of justice that seeks a fair outcome. Due process either
protects everyone, or it protects no one.” U.S. Dept. Of Education available at https://www.ed.gov/news/speeches/secretary-
devos-prepared-remarks-title-ix-enforcement

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commonplace at colleges and universities nationwide after issuing the 2011 Dear Colleague Letter – i.e.,

schools

          a)     Must not “restrict[] the ability of either party to discuss the investigation (e.g.,
                 through ‘gag orders’),”
          b)     Must not use “training materials or investigative techniques and approaches” or
                 “[d]ecision-making techniques or approaches” that “apply sex stereotypes or
                 generalizations,”
          c)     Must “avoid conflicts of interest and biases for or against any party” by investigators
                 or Adjudicators, and
          d)     Must “prevent institutional interests from interfering with the impartiality of the
                 adjudication.” “An equitable investigation of a Title IX complaint requires a trained
                 Investigator to analyze and document the available evidence to support reliable
                 decisions, objectively evaluate the credibility of parties and witnesses, synthesize all
                 available evidence – including both inculpatory and exculpatory evidence – and take
                 into account the unique and complex circumstances of each case.”

993.      The proposed regulations would require schools to investigate sexual assault and harassment only

if the alleged misconduct was reported to certain campus officials and only if it occurred on campus.

994.      On October 9, 2017, a day before Doe’s sanction of expulsion was chosen, UI President, Bruce

Harreld, and Title IX Coordinator, Ms. DiCarlo, released a joint statement regarding the new interim

guidelines stating:

           “The University of Iowa has reviewed the new guidance on Title IX compliance from the
           Department of Education. We do not foresee any changes in our policies under the temporary
           guidance.
           We remain committed to ending sexual violence and sexual misconduct and will continue
           to work with campus and community partners to that end, as well as ensure survivors know
           they are believed, supported, and assisted. There is absolutely no place for sexual
           misconduct and violence on the UI campus.” Available at https://osmrc.uiowa.edu/new-
           guidance-title-ix-compliance




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995.    Upon information and belief, UI’s disciplinary action against Doe was caused in part by UI’s

practice of “believ[ing]” students who allege they were sexually assaulted.

996.    By continuously parroting the same message, UI shows it resonates with the message of the early

1990 women’s groups who called for “swift and unquestioning judgments about the facts of harassment

without standard evidentiary procedures with the chant ‘always believe the victim.”’89.

997.    UI’s refusal to even consider a fair process for both complainants and Doe is precisely the policies

that Ms. DeVos and the DOE implied is problematic in her statement for the September 22, 2017, Dear

Colleague Letter.

998.    Universities must provide protection and support for those who are subject to sexual abuse, while

providing a fair process calculated to yield a reliable factual determination90.

999.    At the third UISG town hall meeting on sexual assault, on December 5, 2017, UI’s Title IX

Coordinator, Ms. DiCarlo, stated that UI “believes” in due process, before saying “We are working hard

not to pit due process against safety. Fair process is about safety.” Watson, Sarah, Third UISG Town Hall

addresses sexual assault (2017), The Daily Iowan., http://daily-iowan.com/2017/12/07/third-uisg-town-

hall-discusses-sexual-assault/

1000. Supreme Court Justice, Ruth Bader Ginsburg, when asked about campus due processes in an

interview on February 2018, has spoken in favor of it by noting:




89
   Patricia Sharpe and Frances E. Mascia-Lees Source, “Always Believe the Victim," "Innocent Until Proven Guilty," "There
Is No Truth": The Competing Claims of Feminism, Humanism, and Postmodernism in Interpreting Charges of Harassment in
the Academy, Anthropological Quarterly, Vol. 66, No. 2, Constructing Meaningful Dialogue on Difference: Feminism and
Postmodernism in Anthropology and the Academy. Part 1 (Apr., 1993), pp. 88
90
   Ultimately, there nothing contradicts a policy that both strongly condemns and punishes sexual misconduct and ensures a
fair Adjudicatory process, which was the heart of DeVos’ message.
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           "Well, that must not be ignored, and it goes beyond sexual harassment. The person who is
           accused has a right to defend herself or himself, and we certainly should not lose sight of
           that. Recognizing that these are complaints that should be heard. There’s been criticism of
           some college codes of conduct for not giving the accused person a fair opportunity to be
           heard, and that’s one of the basic tenets of our system, as you know, everyone deserves a
           fair hearing."

1001. When asked if those criticisms of colleges are valid, she replied "Yes91" (emphasis added) and that

due process can’t fall by the wayside in the pursuit of “gender equality” by noting: “It’s not one or the

other. It’s both. We have a system of justice where people who are accused get due process, so it’s just

applying to this field what we have applied generally.” Rosen, Jeffery, Ruth Bader Ginsburg Opens Up

About        #MeToo,          Voting        Rights,        and          Millennials       (2018),        The        Atlantic.,

https://www.theatlantic.com/politics/archive/2018/02/ruth-bader-ginsburg-opens-up-about-metoo-

voting-rights-and-millenials/553409/

1002. As part of UI’s wider cultural onslaught on private associations, especially male-only groups, UI

had banned four fraternities in 2018 because of “alcohol violations92”.

1003. Upon information and belief, no such restrictions were imposed on sororities as it relates to

alcohol.




91
   Reason magazine was bowled over by Ginsburg’s pivot to campus:
“Note that Ginsburg was asked about due process, but not campuses specifically. The fact that she immediately suggested
college codes of conduct as an example of a policy that sometimes violates “the basic tenets of our system,” says a great deal
about the glaring unfairness of the modern approach to Title IX, the federal statute that requires universities to investigate
sexual harassment and assault. And Ginsburg didn’t just make note of the controversy; she explicitly said critics of the current
procedures have a point.”
…
“[I]f a campus sexual misconduct case adjudicated under the deficient standards ever made it all the way to the Supreme Court,
it certainly sounds like Ginsburg would question whether the accused was given a meaningful opportunity to defend himself.”
92
   While Doe understands and respects that damaging things can happen inside fraternities, Doe sees UI’s attack on fraternities
because of, which are viewed as inherently suspect.
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1004. Dept. of Ed’s regulations published on November 16, 2018 (“OCR’s 2018 Regulations”) available

at          (https://www.ed.gov/news/press-releases/secretary-devos-proposed-title-ix-rule-provides-clarity-

schools-support-survivors-and-due-process-rights-all) (last accessed May 22, 2019)(containing link to

OCR’s 2018 Regulations). OCR identified a “Guiding Principles” behind OCR’s 2018 Regulations was

the need to “achieve fairness and reliable outcomes” by requiring “due process protections” such as:

             a)       A presumption of innocence throughout the grievance process, with the burden of
                      proof on the school;
             b)       The clear and convincing evidence or preponderance of the evidence standard,
                      subject to limitations;
             c)       The opportunity to test the credibility of parties and witnesses through cross-
                      examination, subject to “rape shield” protections;
             d)        . . . . an equal opportunity to review the evidence; [and]
             e)       Title IX Coordinators, investigators, and decision-makers free from bias or conflicts
                      of interest . . . . Id., (containing link to U.S. Department of Education Proposed
                      Title IX Regulation Fact Sheet)(emphasis in original).

1005. During the comment period for the new guidelines, UI offered targeted workshops to men through

the Women's Resource Action Center to comment in the Department of Education website as a way to

send mass letters to the Department of Education.

1006. On January 30, 2019, DiCarlo, representing UI, formally submitted a response to the new

guidelines. In it, DiCarlo continued to show her displeasure against the new policies. She said:

       a)         "The university has demonstrated a commitment to evidence-based interventions 93and
                  continuously assesses its anti-violence programs, policies, and resources. Updates and
                  recommendations are routinely discussed with the university president and vice
                  president for student life."



93
   It is concerning that a university, an institution that should be committed to the discovery of Truth, spends most of its time
talking about pseudoscientific terms such as “rape culture” and develop programs for masculinity without carefully assessing
what the long-term damages of such programs may be.


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       b)       "The requirement of a hearing with direct cross-examination for all formal complaints
                of sexual harassment would lengthen complaint resolution time, hamper our ability to
                take prompt action against employees who have violated our policies, and add
                substantial cost94 as we ensure those overseeing hearings and providing cross-
                examination are competent and qualified to do so. We are concerned that this has the
                potential to discourage the reporting of problems on our campus."
       c)       "Serving as a quasi-court system would be especially burdensome in our employment
                grievance procedures."
       d)       "The University of Iowa uses a three-module training curriculum for new decision-
                makers that in addition to the topics noted above, includes a case study, practice
                application of our policies and procedures, content on due process principles,
                dynamics of sexual harassment, sexual assault, dating/domestic violence and stalking,
                and information to assist in working across differences related to race, sexual
                orientation, gender identity, and language. Ensuring a culturally responsive process95
                is exceedingly important because research literature and our own climate survey data
                suggests bisexual, gay men, and lesbian students are at a significantly greater risk of
                experiencing sexual misconduct compared to their heterosexual. "
       e)       "Even with the more restricted training requirements proposed, however, the costs of
                training will increase substantially because of the additional personnel necessary to
                implement the proposed procedural changes calling for a quasi-court system
                approach96 rather than our current educational and employment procedures. The
                additional hearing officers, aligned advisors, and investigators managing inspection
                and review of considerably more and more sensitive documentation will need to be
                trained to perform these responsibilities effectively."
       f)       "Live hearing with direct cross examination: This provision, alone and in conjunction
                with the inspect and review requirement addressed below, converts the grievance
                procedures into quasi-court systems. Administrative complaints are not an appropriate
                substitute for the formal criminal or civil judicial systems. Subjecting students and
                employees to a directly adversarial process that is intimidating, hostile, and draining
                by its very nature likely will yield unintended consequences."



94
   A public university can pay the costs required for fairness in Title IX procedures. Further, it avoids them of costs that may
come from lawsuits they may have to face if they continue with their discriminatory practices.
95
   Nothing about UI’s Judiciary Process that Doe went through, which had multiple levels and multiple people involved, showed
any trace of “culturally responsive process”
96
   However, as both of Doe’s previous attorneys discovered, UI only hired prosecutors from federal and county courts and set
up hostile environments for males creating a quasi-court system without the protections that come from it.
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       g)       "When it comes to the questioning of witnesses, the NPRM requires an on-the-spot
                explanation for any decision to exclude a question—a standard higher than any judge
                must follow in a court of law, and one likely to protract the proceedings and to invite
                further challenge."
       h)       "Because the NPRM requires that any testimony that is considered must be subject to
                cross-examination, we fear aggressive questioning tactics will be used by advisors,
                who could include parents, classmates, or attorneys, in an attempt to intimidate the
                reporting party, the responding party or other witnesses from participating in a hearing.
                97
                   We believe the Department can make changes to existing guidelines with less
                prescriptive rules than noted in the NPRM. We strongly urge the Department to
                remove the requirement of direct cross-examination and live hearings for all sexual
                harassment cases."
       i)       "Right to an aligned advisor who will serve to cross-examine: The university believes
                that this provision, if included in the final regulation, will be cost-prohibitive for the
                University of Iowa. If one party hires a well-known aggressive litigator as an advisor
                who is permitted to conduct direct cross-examination, we might be required to ensure
                fairness in our process by providing a well experienced advisor to the other party.
                Hiring individuals with these skills would be very costly and also creates an imbalance
                in the level of institutional support provided to the parties. It is not reasonable to expect
                that we direct our resources in this manner to either or both parties. We currently rely
                on trained hearing officers to control the questioning of witnesses and to maintain
                fairness and appropriate decorum in our hearings."

DiCarlo recommends the preponderance of evidence standard on college campuses. However, the most

recent academic study on Title IX and evidentiary standards, from UCLA professor John Villasenor,

provides evidence that given all other factors as constant, the likelihood of error when using just the

“preponderance standard” on Title IX investigations issue an erroneous finding of responsibility of

innocent students’ 33 percent of the time. However, that number, as it related to an erroneous finding,




97
  However, where they use experienced prosecutors to aggressively question to intimidate the accused. Providing the accused
with the same artillery would reduce such abuse of power.


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dropped to 4 percent when using the “beyond a reasonable doubt” standard98. Villaseno, John, A

probabilistic framework for modeling false Title IX convictions under the preponderance of the evidence

standard (2016) Oxford Academic. See https://academic.oup.com/lpr/article/15/4/223/2549058

1007. DiCarlo demonstrated blatant hypocrisy when she suggested that she does not want these

procedures to follow the procedure of a quasi-court system.

1008. DiCarlo also seems to congratulate herself for suggesting that when it comes to the questioning of

witnesses, UI uses an “on-the-spot explanation” for any decision to exclude a question—"a standard higher

than any judge must follow in court.” Although questions explicitly rejected that are asked on the spot

will be given an explanation, the Adjudicator can choose not to ask many critical questions, including

many of the questions provided before the hearing. When Doe’s attorney argued with the Adjudicator

about not asking questions, she would either say she will come back to it later and never did, or just said

that she would not go through everything, which was her way of removing questions that may put light

on the inconsistencies of the complainants99..




98
   Doe asserts that wrongly holding someone responsible presents the greatest injustice of all. Thus, Doe alleges, through
empirical research done in the subject, that the preponderance standard in Title IX proceedings is unjust, and unless overturned
will continue to destroy innocent lives.
     ● FIRE expected Title IX coordinators such as DiCarlo to make such arguments as it related to supporting basic
         due process, so they prepared an eloquent response.
     ● The proposed regulation follows the lead of the growing number of federal courts that have recognized cross-
         examination is essential to due process in the campus context.
     ● As the ACLU notes, the definition of student-on-student sexual harassment articulated in the proposed rules
         is taken from the 1999 Supreme Court case Davis v. Monroe County Board of Education, the leading case in
         this area of the law. Both the Court in Davis and the rules proposed last week define such harassment as
         “[u]nwelcome conduct on the basis of sex that is so severe, pervasive, and objectively offensive that it
         effectively denies a person equal access to the recipient’s education program or activity.”
     ● The Davis standard carefully balances schools’ obligation under Title IX to address sexual harassment and
         their obligation to protect students’ expressive rights. The Davis standard encompasses sexual violence, but



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1009. On January 30, 2019, the ACLU, after being skeptical at first, submitted a response to the

Department of Education. The ACLU sided with the DeVos guidelines than with the well-intentioned

Obama guidelines:

         “The ACLU supports many of the increased procedural protections required by the Proposed
         Rule for Title IX grievance proceedings, including the right to a live hearing and an
         opportunity for cross-examination in the university setting, the opportunity to stay Title IX
         proceedings in the face of an imminent or ongoing criminal investigation or trial, the right
         of access to evidence from the investigation, and the right to written decisions carefully
         addressing the evidence.”




       it can also include repeated harassing conduct or even pure speech (without accompanying conduct) that
       interferes with a student’s access to education because of its severity and pervasiveness.
   ●   The proper standard of evidence: This has long been the primary argument made by those who believe that
       Title IX should mandate that campus tribunals use the preponderance of the evidence standard — that of a
       mere 50.01% certainty — when determining whether or not a student committed any form of sexual
       misconduct, from verbal harassment to forcible rape. Since this is the standard in use for civil trials regarding
       these offenses (or, for those that are criminal offenses, their analogs in tort law), they say, it would be unfair
       to complainants to use any higher standard. After all, campus tribunals are not criminal courts, and their
       findings cannot result in jail time or criminal records.
   ●   But are campus proceedings that purport to determine whether or not a student sexually assaulted someone
       really best compared to a civil trial? Even under the proposed regulations, colleges will lack tools we deem
       critical in both civil and criminal litigation: the power to subpoena witnesses, the ability to take sworn
       testimony under penalty of perjury, rules that protect both parties from the introduction of unreliable or
       prejudicial evidence, and many more procedural requirements designed to achieve reliably just outcomes.
   ● As Joe Cohn, FIRE’s legislative and policy director, wrote in The Chronicle of Higher Education all the way
       back in 2012:
       "One other important feature distinguishes civil lawsuits from campus proceedings: Civil suits can be settled
       for money and kept confidential. Yet students accused of sexual misconduct cannot simply settle the case for
       money and stay in school. Preponderance advocates should ask themselves why this is so. If the answer is
       that campus sexual misconduct is more like a crime (with a victim and alleged perpetrator) than a civil dispute
       (with a plaintiff and defendant)—as is certainly the case—then why is the preponderance standard sufficient
       for charges of sexual misconduct on campus?"
   ●   Even if the due process improvements being considered in the proposed regulations come to pass, students
       will still have far fewer protections than they would find in those civil trials using the preponderance of the
       evidence standard. So adopting a higher standard of proof is a step that we believe universities interested in
       justice should take.




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1010. It urges a requirement that universities “provide counsel for both parties for the hearing if either

party requests counsel.” The ACLU questioned the ascendant notion that protections for accused students

and justice for victims are at odds, before stating:

             "There are, however, important ways in which the goals of due process and equality are
             shared. Both principles seek to ensure that no student—complainant or respondent—is
             unjustifiably deprived of access to an education. Moreover, both parties (as well as the
             schools themselves) benefit from disciplinary procedures that are fair, prompt, equitable,
             and reliable.”

1011. Sexual assault is a serious crime and it needs to be addressed in a serious manner. The manner in

which UI approaches sexual assault, however, moves away from solutions. It harms innocent people while

destroying the structure of justice itself.

1012. The act of just “believing” someone who accuses others of sexual misconduct and assigning them

“survivor” status is not a new idea. This country had seen it before. UI might want to learn that the history

of controlling minority men's intersexual behavior in this country is closely intertwined with the history

of lynching100. Those who are involved in this field, such as DiCarlo, need to be aware of that history, lest

they make things worse.

1013. A university committed to “diversity, equity, and inclusion” should know how minority men like

Doe are affected when they lack due process protections or when they intentionally use a system to find

such men responsible. Instead of using these commitments for virtue signaling, UI could start with fairness

and the presumption of innocence they deserve.




100
      See for example, Emmett Till
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                                             VI.   COUNTS
L.       COUNT 1 42 U.S.C. § 1983: Denial of Fourteenth Amendment Due Process
         (Against all Individual Defendants)
1.     Doe repeats and re-alleges each and every allegation hereinabove as if fully set forth herein.

2.     Before enrolling in UI, Doe relied on UI’s promise – as a public university – to honor Doe’s due

process rights under the United States’ Constitution and in doing so Doe also knew he needed to comply

with his constitutional obligations to UI.

3.     Before enrolling in UI, Doe reviewed and relied on UI’s promises in UI’s Policies and in doing so

Doe knew he needed to comply with his obligations detailed in UI’s Policies.

4.     As detailed in part above, Individual Defendants were involved in decisions about investigating

said complaint; prosecuting said complaint; adjudicating said complaint; and/or the ratification of the

unlawful actions involved in the investigation, prosecution, and/or adjudication of said complaint.

5.     The Fourteenth Amendment to the United States Constitution provides that no state shall “deprive

any person of life, liberty, or property, without due process of law.”

6.     Here, UI Defendants are state actors subject to the Fourteenth Amendment.

7.     Section 1983 of Title 42 of the U.S. Code provides in pertinent part:

         Every person who, under color of any statute, ordinance, regulation, custom, or usage, of any
         State or Territory or the District of Columbia, subjects, or causes to be subjected, any citizen
         of the United States or other person within the jurisdiction thereof to the deprivation of any
         rights, privileges, or immunities secured by the Constitution and laws, shall be liable to the
         party injured in an action at law, suit in equity, or other proper proceeding for redress. . . .

8.     A person has a protected liberty interest in his good name, reputation, honor, and integrity, of

which he cannot be deprived without due process.


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9.     A person has a protected property interest in pursuing his education, and in future educational and

employment opportunities and occupational liberty, of which he cannot be deprived without due process.

10.    Doe’s constitutionally protected property interest in his continued enrollment at UI and his right

to complete his undergraduate degree at UI was violated by UI Defendants’ actions.

11.    Doe had a constitutional right to be free from arbitrary suspension, dismissal, or restrictions on his

ability to enter the UI campus.

12.    Doe’s constitutionally protected property interest in his right to continued enrollment at UI also

arises from the policies, courses of conduct, practices, and understandings established by UI.

13.    Doe’s constitutionally protected property interest further arises from the express and implied

contractual relationship between UI and Doe.

14.    It is well established that the Fourteenth Amendment due process protections are required in higher

education disciplinary proceedings.

15.    A person admitted to a public university has a protected property interest in continuing his

education at that university until he has completed his course of study. The state cannot deprive a person

of this interest without due process.

16.    If Doe as a UI student faced disciplinary action that included the possibility of suspension or

dismissal if found responsible for alleged sexual misconduct, then the due process provisions of the

Fourteenth Amendment to the United States Constitution applied to the disciplinary process that UI used.

17.    UI, as a flagship university established by the State of Iowa, and the Individual Defendants, as

agents of UI, must provide UI’s students equal protection and due process of law by and through any and

all policies and procedures set forth by UI
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18.         Under both federal and state law, Doe had a constitutionally protected property interest in

completing his graduate education at UI when he was disciplined by UI and in the future.

19.         Doe was entitled to fundamentally fair procedures and a meaningful opportunity to be heard and

process commensurate with the seriousness of the allegations and the potential discipline, sanctions, and

repercussions he was facing.

20.         In such investigation and adjudication, UI Defendants flagrantly violated Doe’s clearly established

rights under the Due Process Clause of the Fourteenth Amendment through its deprivation of the minimal

requirements of procedural fairness in numerous respects.

21.         Due to the Adjudicator’s discrimination at the hearing where she chose not to ask critical questions

requested by Doe, UI Defendants denied Doe opportunity to confront evidence, to cross-examine his

accusers, and to confront any other witnesses.

22.         At least 20 courts have determined the need for cross-examination in adjudications of sexual

misconduct allegations at public and private schools101.


      101
5.        See e.g., John v. Baum, 903 F.3d 575, 578 (6th Cir. 2018)(holding: if a public university has to choose between
      competing narratives to resolve a case, the university must give the accused student or his agent an opportunity to cross-
      examine the accuser and adverse witnesses in the presence of a neutral fact-finder)(emphasis added); Powell v. Montana
      State Univ., No. 2:17-cv-15 SEH, Docket 134, p.21 (MT Dec. 21, 2018)(citing lack of cross examination as basis for
      rejecting university’s summary judgment motion to dismiss a procedural due process claim because “[i]f a university is
      faced with competing narratives about potential misconduct, the administration must facilitate some form of cross-
      examination in order to satisfy due process.”); John v. Univ. of Cinn. No.16-4693, 2017 WL 4228791, *5 (6th Cir. Sept.
      25, 2017)(discussing need for cross-examination in Title IX disciplinary proceedings); John v. Miami Univ. 882 F.3d 579
      (6th Cir. 2018)(same); Nokes v. Miami Univ., No. 1:17-cv-482, 2017 WL 3674910, *10-12 (S.D.OH. Aug. 25,
      2017)(same); John v. Penn. St. Univ., No.17-cv-1315, 2017 WL 3581672, *7-8 (M.D.Pa. Aug. 18, 2017)(same); John v.
      the Univ. of Colorado, Boulder, Civil Case No. 1:18-cv-02243-LTB, 2019 WL 764568, *15 (D. Co. Feb. 21,
      2019)(rejecting motion to dismiss due process claim because “the lack of a full hearing with cross-examination provides
      evidence supporting a claim for a violation of [Doe’s] due process rights.”); Oliver v. Univ. of Tx. Southwestern Med. Sch.,
      NO. 3:18-CV-1549-B, 2019 WL 536376, *13 (N.D. Tx. Feb. 11, 2019)(rejecting motion to dismiss procedural due process
      claim in part because university did not provide Doe with an opportunity to cross-examination Doe’s accuser in a “live
      hearing.”); John v. The Regents of The Univ. of Cali., No. B283229 2nd App. Dist. 6th Div., p.2 (Oct. 9. 2018)(same); John


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23.       Since no eyewitnesses observed Sally/Lisa and Doe’s physical interactions, and no conclusive

documentary or physical evidence, Sally’s and Lisa’s allegations against Doe came down entirely to a

credibility assessment – a choice between believing Sally/Lisa or Doe.

24.       By declaring Doe guilty of sexual assault without affording him an opportunity to adequately

cross-examine Sally and Lisa, Dr. Lovaglia, and/or Sally’s or Lisa’s witnesses, UI Defendants violated

Doe’s clearly established constitutional rights.




      v. Univ. of Mississippi, 361 F.Supp.3d 597, 611-13 (S.D. Miss. 2019)(rejecting motion to dismiss procedural due process
      claims based on university prohibiting Doe from cross-examining “witnesses whose accounts of the evening led to his
      discipline.”); Smock v. Bd. of Regents of the Univ. of Mich. 353 F.Supp.3d 651, 657-58 (E.D. Mich. 2018)(rejecting motion
      to dismiss procedural due process claims based on university prohibiting Doe from cross-examining witnesses in
      disciplinary proceeding involving allegations of sexual misconduct); John v. The Penn. State Univ. No. 4:18-cv-164,
      Docket 27, PageId.15-18 of 19, Memorandum Opinion (M.D. Pa. Aug. 21, 2018)(unreported)( rejecting university’s
      motion to dismiss male student’s due process claim is based on concerns about lack of meaningful cross-examination);
      John v. Univ. of            Southern Mississippi, No.2:18-cv-153, Docket 35, p.5-7 (S.D.E.D. Miss., Sept. 26,
      2018)(unreported)(enjoining ongoing sexual misconduct disciplinary proceeding because university violated Doe’s due
      process rights by denying him the right to cross-examination); Jane Roe v. Javaune Adams-Gaton, Case No. 17-cv-945-
      EAS-CMV, Docket 46 (S.D.E.D. Oh. April 17, 2018)(unreported)(enjoining university from imposing Title IX
      disciplinary sanctions against Doe because her procedural due process rights were violated since she was unable to cross-
      examine her accusers and/or adverse witnesses during her university level disciplinary hearing); John v. Univ. of Mich.,
      No.2:18-cv-11776-AJT-EAS, Docket 30, PageId.743, 739 Order Granting In Part and Denying In Part Doe’s Motion
      For Temporary Restraining Order And Preliminary Injunction (E.D.S.D. Mich. July 6, 2018)(unreported)(enjoining
      disciplinary proceeding because university violated Doe’s due process rights by not providing “the opportunity for a live
      hearing” where Doe could submit cross-examination questions to adjudicators to be asked of witnesses because “[w]ithout
      a live proceeding, the risk of an erroneous deprivation of Doe’s interest in his reputation, education, and employment is
      significant.”); Lee v. Univ. of New Mexico, No.1:17-cv-01230, Doc. 36, p.2-3 (N.M. Sept. 20, 2018)(rejecting motion to
      dismiss student’s due process claim because university prohibited him from cross-examining witnesses in “formal or
      evidentiary hearing” and because the court “conclude[d] that preponderance of the evidence may not be the proper standard
      for disciplinary investigations . . . given the significant consequences for students found responsible for engaging in sexual
      misconduct); John v. University of Southern California, 28 Cal.App.5th 26 (2018)(granting male Doe’s writ of
      administrative mandate because private university did not allow cross-examination during Title IX disciplinary
      proceeding); John v. Claremont McKenna College, 236 Cal.Rptr.3d 655, 656 (Cali. 2nd App. Dist. Aug. 8, 2018)(same);
      John v. Allee, 2019 Cal. App. LEXIS 8, *55, 56, 60 (Cal. App. 2d Dist. January 4, 2019)(“We also agree with Baum’s
      holding extending the right of cross-examination to the questioning of witnesses other than the complainant where their
      credibility is critical to the fact-finder’s determination.”); John v. Marymount Univ., 297 F.Supp.3d 573, 584 (E.D.VA.
      Mar. 14, 2018)(rejecting motion to dismiss Title IX claim at private university in part because private university denied
      Doe right to cross-examine his accuser in Title IX proceeding).




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25.       By declaring Doe guilty of sexual assault without affording him an opportunity to adequately

cross-examine Sally and Lisa, Dr. Lovaglia, and/or Sally’s or Lisa’s witnesses, UI Defendants deprived

Doe of his liberty and property interests without affording him basic due process, including, but not limited

to: (i) his right to a fair adjudication, free of bias; (ii) his right to be innocent until shown to be responsible;

(iii) his right to be heard by an impartial factfinder; (iv) his right to question Sally and Lisa, Dr. Lovaglia,

and/or Sally’s and Lisa’s witnesses; (v) his right to adequately present evidence and witnesses to support

his defense; and (vi) the disparate standards for assessing credibility, ie the UI starts by the believing the

victim allegations while assuming at the outset that the accused his guilt.

26.      UI Defendants, and other agents, representatives, and employees of UI, were acting under color of

state law when they showed intentional, outrageous, and reckless disregard for Doe’s constitutional rights.

27.      Because of these due process violations, Doe continues to suffer ongoing harm, including damages

to his reputation, loss of employment and educational opportunities, and other economic and non-

economic damages. Courts have voiced these issues multiple times102.

28.      The discipline imposed by UI has permanently damaged Doe’s his career prospects in his chosen

profession, denied him the benefits of education at his chosen school, damaged his relationships with his

professors he took years to build, and damaged Doe’s reputation.

29.      UI Defendants are liable to Doe in violation of 42 U.S.C. § 1983 for violations of the Due Process

Clause of the Fourteenth Amendment, and for all damages arising therefrom.



102
    See e.g., Baum, 903 F.3d at 58 (“Time and again, this circuit has reiterated that students have a substantial interest at stake
when it comes to school disciplinary hearings for sexual misconduct . . . Being labeled a sex offender by a university has both
an immediate and lasting impact on a student’s life. The student may be forced to withdraw from his classes and move out of
his university housing. His personal relationships might suffer. And he could face difficulty obtaining educational and
employment opportunities down the road, especially if he is expelled.”)(internal citations omitted).
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30.    As a direct and proximate result of the above conduct, Doe sustained tremendous damages,

including, without limitation, emotional distress; loss of educational and career opportunities; economic

injuries; and other direct and consequential damages. Doe’s interests in the results of the disciplinary

process are significant.

31.    UI Defendants’ conduct as described herein was malicious, reckless, and/or callously indifferent

to Doe’s rights.

A.       COUNT 2 Violation of the Equal Protection Clause of the Fourteenth
         Amendment to the United States Constitution (Against all Individual
         Defendants)
32.    Doe repeats and re-alleges each and every allegation hereinabove as if fully set forth herein.

33.    The Fourteenth Amendment to the United States Constitution provides in pertinent part:

       All persons born or naturalized in the United States, and subject to the jurisdiction thereof, are
       citizens of the United States and of the State wherein they reside. No State shall make or
       enforce any law which shall abridge the privileges or immunities of citizens of the United
       States; nor shall any State deprive any person of life, liberty, or property, without due process
       of law; nor deny to any person within its jurisdiction the equal protection of the laws.

34.    The allegations of discrimination made in Count 1 above and elsewhere in this Complaint further

demonstrate that UI Defendants violated Doe’s clearly established not to be discriminated against on the

basis of sex, and/or status as student accused of sexual misconduct, in violation of the Fourteenth

Amendment and, therefore, 42 U.S.C. § 1983.

35.    Fourteenth Amendment’s guarantee of “equal protection” of the laws, requires that the government

apply the same rules in a standardized and consistent manner to people in similar circumstances.




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36.    While Doe re-affirms his innocence, even if he was found responsible for his conduct, the sanction

of expulsion is extreme. The Investigator in her recommendations stated that Doe be expelled if found

responsible for sexual assault.

37.    UI’s Dean of Students sanctioning report states that people found responsible for forced

penetration are not being expelled, and that Doe was the only person expelled in the academic year. Doe

was incorrectly found responsible for allegedly touching the breast of two women once.

B.       COUNT 3 Violation of Title IX of the Education Amendments of 1972 (Against
         UI)
38.    Doe repeats and re-alleges each and every allegation hereinabove as if fully set forth herein.

39.    Title IX of the Education Amendments of 1972 provides, in relevant part, that:

       No person in the United States shall, on the basis of sex, be excluded from participation in, be
       denied the benefits of, or be subjected to discrimination under any education program or
       activity receiving Federal financial assistance.

40.    Title IX of the Education Amendments of 1972 applies to an entire school or institution if any part

of that school receives federal funds; hence, athletic programs are subject to Title IX of the Education

Amendments of 1972.

41.     In academic year 2016-17 UI undergraduate students received over 67 million dollars in federal

student loans.

42.    Title IX may be violated by a school’s failure to prevent or remedy sexual harassment or sexual

assault or by imposing university discipline where gender is a motivating factor in the decision to

discipline. In either case, the statute is enforceable through an implied private right of action.




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43.      The Sixth Circuit has expressly recognized several different “theories of liability that a student

who is ‘attacking a university disciplinary proceeding on grounds of gender bias can potentially assert

under Title IX103.”

44.      Under Yusuf, an erroneous outcome claim is properly plead when a plaintiff: “asserts that he or

she was innocent and wrongly found to have committed the offense. . . (or) regardless of guilt, the severity

of the penalty was affected by the student's gender104.”

45.      Doe alleges both these prongs.

46.      UI Defendants’ finding that Doe was guilty of non-consensual sexual assault with Sally and Lisa

was erroneous.

47.      UI Defendants’ finding that Doe was guilty of sexual harassment was erroneous.

48.      These facts casting much more than “articulable doubt” on its accuracy of UI’s expulsion of Doe.

49.      There was a particularized causal connection between the erroneous outcome and UI, including

but not limited to UI having settled two lawsuits alleging gender discrimination towards women in the

year Doe was expelled, with one of them just two days before Doe’s hearing. Further, UI was being

investigated for gender discrimination towards women by the OCR. As Doe’s attorney found when he

asked, UI only used prosecutors for a university hearing.




103
    Doe v. Miami Univ., 882 F.3d 579, 589 (6th Cir. 2018) (citation omitted). Three of these recognized theories of liability
are “(1) ‘erroneous outcome,’ (2) ‘selective enforcement,’ [and] (3) ‘deliberate indifference.’” Id.
104
    To plead an erroneous-outcome claim under Title IX, an accused found guilty of sexual assault by a university must allege:
“(1) ‘facts sufficient to cast some articulable doubt on the accuracy of the outcome of the disciplinary proceeding’ and (2) a
‘particularized…causal connection between the flawed outcome and gender bias.’” Id. at 592 (citations omitted).




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50.      Doe also alleges that regardless of guilt, the severity of the penalty was affected by his gender.

51.      Similarly, this Complaint details how Doe satisfies the elements of a selective enforcement

claim105

C.         COUNT 4 Violation of Title IX – Selective Enforcement (Against UI)
52.      Doe hereby incorporates by reference the aforementioned allegations contained in this Complaint

as though fully set forth herein.

53.      As detailed in this Complaint, UI violated Title IX’s prohibitions against engaging in the “selective

enforcement” of UI Policies on the basis of gender106.

54.      The facts detailed in this Complaint establish that UI’s decision to initiate the proceeding against

Doe and/or the severity of the penalty imposed on Doe was affected by Doe’s male gender, without regard

to his guilt.

55.      Upon information and belief, UI had never found a similarly-situated woman responsible for

sexual assault for kissing without (verbal) consent as the Adjudicator found Doe responsible for and given

a sanction as extreme as Doe’s.




105
   The Sixth Circuit defines as requiring a plaintiff “show that a similarly-situated member of the opposite sex was treated
more favorably than [Doe] due to his . . . gender.” Doe v. Cummins, 662 F. App'x 437, 452 (6th Cir. 2016).
106
     See e.g., Marshall v. Indiana Univ., Case No. 1:15-cv-00726, 2016 U.S. Lexis 32999, *19 (S.D. Ind. Mar. 15, 2016)
(emphasis in original) (citing Routh v. Univ. of Rochester, 981 F. Supp. 2d 184, 211-12 (W.D.N.Y. 2013) (stating that “selective
enforcement” liability under Title IX occurs when a plaintiff “allege[s] facts sufficient to give rise to the inference that the
school intentionally discriminated against the plaintiff because of his or her sex”). In addressing a selective enforcement claim
raised by a male student in a similar situation to Doe, the Second Circuit noted the “selective enforcement” theory requires that
the school’s “decision to initiate the proceeding” or the “severity of the penalty” “was affected by the student’s gender” without
regard to guilt. Yusuf v. Vassar College, 35 F. 3d 709, 715 (2d Cir. 1994).
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56.    UI treated Doe and the complainants differently. Doe detailed this at each stage of UI’s Judicial

Process, and in his appeals to UI and the Board. Doe described how Sally harassed him throughout the

relevant time period.

57.    UI had not investigated Sally for any of the misconduct explained by Doe during his interview

with the office of sexual misconduct.

58.    Doe was also not given accommodations available to him by UI. Upon information and belief,

Lisa was given accommodations by UI.

59.    UI held Doe responsible for initiating kissing Sally, despite credible evidence stating that it was

mutual, and finding him responsible for sexual assault.

60.    Upon information and belief, female students sufficiently similar to Doe who engaged in similar

offenses were treated more favorably by UI. Upon information and belief, the difference in treatment was

because of his gender.

61.    Upon information and belief, UI failed to discipline female students for initiating nonconsensual

physical contact with male students.

62.    Upon information and belief, UI had not expelled female student(s) for making false accusations

such as Sally and Lisa.

63.    Upon information and belief, UI had expelled male student(s) for making false accusations.

64.    UI knew or should have known that the allegations against Doe were false. This is evidenced by

UI excluding exculpatory evidence that would have found Doe not responsible and refusing to ask Sally

and Lisa questions that would display major inconsistencies in their story.



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65.    UI’s Title IX liability to Doe caused Doe to suffer and continue to suffer the damages detailed in

this Complaint.

D.       COUNT 5 Violation of Title IX – Hostile Environment/Sexual Harassment
         and/or Discrimination (Against UI)
66.    Doe hereby incorporates by reference the aforementioned allegations contained in this Complaint

as though fully set forth herein.

67.    Pursuant to 20 U.S.C. § 1681, Title IX is a federal statute designed to prevent sexual discrimination

and/or harassment in educational institutions receiving federal funding.

68.    Title IX of the Education Amendments of 1972, 20 U.S.C. §§ 1681-1688, applies to all public and

private educational institutions that receive federal funds, including colleges and universities. The statute

prohibits discrimination based on sex in a school’s “education program or activity,” which includes all the

school’s operations. Title IX provides in pertinent part:

       “[n]o person in the United States shall, on the basis of sex, be excluded from participation in,
       be denied the benefits of, or be subjected to discrimination under any education program or
       activity receiving Federal financial assistance.” 20 U.S.C. § 1681(a). The United States
       Supreme Court has held that Title IX authorizes private suits for damages in certain
       circumstances.

69.    UI receives federal financial assistance and is thus subject to Title IX.

70.    Both the DOE and the DOJ have promulgated regulations under Title IX that require a school to

“adopt and publish grievance procedures providing for the prompt and equitable resolution of

student…complaints alleging any action which would be prohibited by” Title IX or its regulations. 34

C.F.R. § 106.8(b) (Department of Education); 28 C.F.R. § 54.135(b) (Department of Justice).

71.    Title IX mandates UI afford equitable procedures and due process to Doe which includes but is

not limited to those detailed in this Complaint.
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72.    UI knew, or in exercising due care should have known, that it denied Doe his rights under Title IX

and/or UI’s policies as set forth in the preceding paragraphs.

73.    UI’s policies fail to meet the standards required by Title IX and/or Constitutional safeguards as

interpreted by the United States courts regarding how institutions of higher education conduct disciplinary

proceedings.

74.    Upon information and belief, in virtually all cases of campus sexual misconduct addressed by UI,

the accused student is male.

75.    UI created an environment in which male students accused of sexual assault, such as Doe, are

fundamentally denied their rights under Title IX and/or UI Policies so as to be virtually assured of a finding

of responsibility. Such a biased and one-sided process deprives male UI students like Doe of educational

opportunities based on their gender. Upon information and belief, UI’s investigation and/or discipline of

Doe was taken to demonstrate to Doe, DOJ, OCR, UI’s largely female student body, and/or the general

public that UI: (a) is aggressively disciplining male students accused of sexual assault, and (b) providing

females involved in sexual misconduct proceedings with preferential treatment not provided to males.

76.    UI had actual or constructive knowledge that the investigation and/or discipline of Doe posted a

persuasive and unreasonable risk of gender discrimination regarding Doe. In both his appeals to UI and

the Board, Doe had informed UI and the Board of the rights he was denied in UI’s Judicial Process, and

the discrimination and harassment he had faced because of his gender by UI Defendants during the UI

Judicial Process.

77.    UI’s actions and inactions detailed above set in motion events that UI knew, or reasonably should

have known, would cause UI’s male students, such as Doe, to suffer unlawful gender discrimination.


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78.     UI’s investigation and/or discipline of Doe is discriminatory and based upon or motivated by Doe’s

male gender.

79.     UI unlawfully failed to exercise the authority to institute corrective measures to remedy: (a) UI’s

violations of Doe’s rights under UI Policies, Title IX, and/or guidance promulgated by OCR; and/or (b)

UI’s unlawful determination that Doe violated UI Policies which UI adopted under federal laws and

regulations related to Title IX.

80.     These exclusionary practices create a hostile environment against male students.

81.     As per the United States policy, a hostile environment can occur even in the absence of intent to

harm or even if the hostility is not directed at a particular target.

82.     Nor does a hostile environment require sexual intent: Gender animus or hostility based on sexual

stereotypes is sufficient to trigger Title IX liability (Dear Colleague Letter, 2010, p. 8).

83.     This includes situations in which “students are harassed for exhibiting what is perceived as a

stereotypical characteristic for their sex”. For example, men who stereotyped and vilified on account of

their masculinity are protected by Title IX.

84.     UI also exhibited deliberate indifference by refusing to remedy: (a) its violations of Doe’s rights

under UI Policies, Title IX, and/or guidance promulgated by OCR, and/or (b) its erroneous determination

that Doe violated UI Policies which UI adopted under federal laws and regulations related to Title IX.

85.     UI’s deliberate indifference caused Doe to suffer sexual harassment and/or discrimination so

severe, pervasive or objectively offensive it deprived Doe of access to educational opportunities or

benefits and caused other harms detailed in this Complaint.



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86.    Upon information and belief, UI possesses additional documentation evidencing the unlawful

pattern of gender-biased decision making which preferentially treats female students who falsely accused

male students like Doe of sexual misconduct.

87.    Upon information and belief, UI possesses additional documentation evidencing its refusal to

discipline female students alleged to have sexually assaulted male students.

88.    Because of UI’s violations of Doe’s rights under Title IX and/or UI Policies, Doe has suffered and

will continue to suffer the damages detailed above.

89.    UI’s hostile environment, sexual harassment and/or discrimination caused Doe to be damaged in

an amount to be determined at trial.

E.       COUNT 7 Violation of Title IX – Deliberate Indifference (Against UI)
90.    Doe realleges and incorporates all the allegations contained in preceding paragraphs of this

Complaint as though fully rewritten herein.

91.    UI employees, including but not limited to Individual Defendants, acted with deliberate

indifference towards Doe because of his male gender.

92.    UI employees, including but not limited to Individual Defendants, unlawfully failed to exercise

the authority to institute corrective measures to remedy: (a) State Defendants’ violations of Doe’s rights

under UI Policies, Title IX, guidance promulgated by OCR, and/or the Constitutions of the United States

and/or Iowa; and/or (b) State Defendants’ erroneous determination that Doe violated UI’s policies which

UI adopted under federal laws and regulations related to Title IX.

93.    Much of deliberate indifference had been pledged in this Complaint due to overlap of Title IX

policies. Doe realleges deliberate indifference.

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94.    UI employees, including but not limited to Individual Defendants, exhibited deliberate indifference

by refusing to remedy: (a) State Defendants’ violations of Doe’s rights under UI Policies, Title IX,

guidance promulgated by OCR, and/or the Constitutions of the United States and/or Iowa; and/or (b) UI’s

erroneous determination that Doe violated UI Policies which UI adopted under federal laws and

regulations related to Title IX.

95.    Upon information and belief, State Defendants possess additional documentation evidencing their

gender based deliberate indifference towards Doe and/or other similarly situated male students.

96.    UI’s deliberate indifference caused Doe to be damaged in an amount to be determined at trial.

WHEREFORE, regarding Counts 1-7, Doe demands judgment and relief against UI as follows: (a)

Damages in an amount in excess of Seventy-Five Thousand Dollars ($75,000.00) to compensate Doe’s

past and future pecuniary and/or non-pecuniary damages caused by Defendants’ conduct; (b) Order(s)

requiring UI to reinstate Doe as a student and expunge Doe’s official and unofficial UI files of all

information related to his interactions with Sally and Lisa, including but not limited to charges and

sanctions served, and prohibiting UI from disclosing such information to any third party; (c) judgment for

attorneys’ fees, and/or punitive damages under any applicable statute; (d) judgment for all other reasonable

and customary costs and expenses incurred in pursuit of this action; (e) pre-judgment interest and post

judgment interest as may be permitted by law and statute; and/or (f) such other and further relief as this

court may deem just, proper, equitable, and appropriate.

F.       COUNT 8 Breach of Contract (Against UI)
97.    Doe realleges and incorporates all the allegations contained in preceding paragraphs of this

Complaint as though fully rewritten herein.



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98.    Doe applied to and enrolled at UI and, assisted by his parents, paid tuition and other fees and

expenses. Doe did so in reliance on the understanding, and with the reasonable expectations, among others,

that: (a) UI would implement and enforce UI Policies; and that (b) UI Policies would comply with the

requirements of applicable law.

99.    UI Policies create an express contract or, alternatively, a contract implied in law or in fact, between

UI and Doe. UI violated these contracts by engaging in the conduct detailed in this Complaint

100.   UI improperly and unlawfully applied UI’s Policies in part by not affording Doe rights to which

he was entitled as detailed in part in this Complaint.

101.   UI’s unlawful conduct detailed in this Complaint evidences its repeated and material breaches of

UI’s Policies as well as estoppel and a breach of the implied covenant of good faith and fair dealing

inherent in UI’s Policies.

102.   Doe was expelled from UI without been given a rationale for his expulsion. Doe was entitled to a

formal explanation to why he was being expelled, especially since Doe was the only student expelled from

UI that year and students who had been responsible for rape had not been expelled.

103.   Doe was entitled to mental healthcare and other accommodations he had requested while going

through UI’s Judicial Process, which he was not provided despite requesting.

104.   UI, by being reckless in their decision making, failed to afford Doe an equitable due process.

105.   UI failed to apply the preponderance of evidence standard throughout the UI Judicial Process.

106.   UI charged him full tuition for the semester, despite unlawfully expelling him in the beginning of

that semester and still wants Doe to pay an amount in excess of $24,000.



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107.   Because of all the conduct mentioned above, Doe had criticized UI of breaching its contract with

him in his appeal to the Board.

108.    Although UI’s aforementioned breaches of UI’s Policies were wrongful and without lawful

justification or excuse, a judgment in Doe’s favor regarding his breach of contract claim cannot fully

remedy UI Defendant’s violations of Doe’s due process, and equal protection rights detailed above

because UI Policies were drafted so as to deprive Doe of these rights.

WHEREFORE, regarding Counts 1-7, Doe demands judgment and relief against UI as follows: (a)

Damages in an amount in excess of Seventy-Five Thousand Dollars ($75,000.00) to compensate Doe’s

past and future pecuniary and/or non-pecuniary damages caused by Defendants’ conduct; (b) Order(s)

requiring UI to reinstate Doe as a student and expunge Doe’s official and unofficial UI files of all

information related to his interactions with Sally and Lisa, including but not limited to charges and

sanctions served, and prohibiting UI from disclosing such information to any third party; (c) judgment for

attorneys’ fees, and/or punitive damages under any applicable statute; (d) judgment for all other reasonable

and customary costs and expenses incurred in pursuit of this action; (e) pre-judgment interest and post

judgment interest as may be permitted by law and statute; and/or (f) such other and further relief as this

court may deem just, proper, equitable, and appropriate.

G.       COUNT 9 42 U.S.C. § 1981: Discrimination Based on Race and National
         Origin (Against UI and/or Individual Defendants)
109.   Doe repeats and realleges each and every allegation hereinabove as if fully set forth herein.

110.   The Civil Rights Act of 1964, 42 U.S.C. Section 1981 prohibits discrimination based on race and

national origin, as follows:

       All persons within the jurisdiction of the United States shall have the same right in every State
       and Territory to make and enforce contracts, to sue, be parties, give evidence, and to the full
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       and equal benefit of all laws and proceedings for the security of persons and property as
       enjoyed by white citizens, and shall be subject to like punishment, pains, penalties, taxes,
       licenses, and exactions of every kind, and to no other

111.   The phrase “to make and enforce contracts” refers to the making, performance, modification and

termination of contracts, and the enjoyment of all benefits, privileges, terms, and conditions of the

contractual relationship.” 42 U.S.C.A. § 1981 (West).

112.   Defendant actions were motivated by racial animus and were taken in malicious, willful, wanton,

deliberate indifference to, and reckless disregard of Doe’s rights as guaranteed by 42 U.S.C. § 1981.

113.   Doe can provide many examples. Examples include, but not limited to: The Adjudicator used

racial/national origin stereotypes such as “authoritarian” was used to describe Doe when no reasonable

person upon seeing the text message exchange between Doe and Lisa would have found Doe to be

“authoritarian.”

114.   Upon information and belief, UI had expelled another Asian man for nonviolent sexual misconduct

named A.V.

115.   Upon information and belief, a doctoral student, at least 40 years old at the time, who was white,

was found responsible for sexual harassment due to UI’s consensual relationships with students. Upon

information and belief, the man, C.K. was dating undergraduate students he had power over and was not

expelled and allowed to finish his degree at UI.

116.   Upon information and belief, as with Doe, students of color are found responsible at a higher rate

when accused of sexual misconduct by white students.

117.   Upon information and belief, regardless of guilt, students of color found responsible for sexual

misconduct are given harsher sanctions than white students.

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118.    Upon information and belief, regardless of guilt, students of color found responsible for other

forms of misconduct (such as alcohol violations) are given harsher sanctions than white students.

119.    Upon information and belief, UI suspends or expels international Asian men students who would

struggle to file lawsuits against them. This is because their F-1 status expires as soon as they are expelled,

forcing them to leave the country right away. Chances of returning from many Asia countries are slimmer

due to visa restrictions.

120.    Upon information and belief, white students sufficiently similar to Doe who engaged in similar

offenses were treated more favorably by UI. Upon information and belief, the difference in treatment was

because of his race and/or national origin.

121.    Upon information and belief, white students are given accommodations, such as mental health

counseling, when they ask for them as they go through UI Judicial Process.

122.    Doe had informed UI and the Board what the consequences of finding him falsely responsible

because of their discrimination would be. UI and the Board showed indifference to Doe’s credible fears

and instead said that Doe was trying to gain sympathies.

123.    UI caused Doe to go through a lot of unnecessary anxiety and suffering that came from Doe losing

his F-1 status, applying for political asylum, which has a backlog, and hoping every day they do not deport

him.

124.    Doe’s family wants to visit him in the U.S., especially since this investigation ended. They could

not see him for over four years. They do not want complications in the U.S. visa as that may jeopardize

his younger sister’s career who dreams of coming to the U.S. to attend college in Fall 2020. Doe cannot




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leave the country either as it is highly advisable to stay in the country from the time one applies for political

asylum.

125.    As a direct, foreseeable and proximate result of Defendants’ intentional illegal racial and national

origin discrimination, Doe has suffered damages, including punitive damages, in an amount to be

determined at trial, including, without limitation, damages to physical well-being, emotional and

psychological damages, damages to reputation, past and future economic losses, loss of educational

opportunities, and loss of future career prospects, plus prejudgment interest, attorneys’ fees, expenses,

costs and disbursements.

H.        COUNT 10 Unjust Enrichment (Against UI)
126.    Doe repeats and realleges each and every allegation hereinabove as if fully set forth herein.

127.    Before beginning his second year of Master’s program, Doe paid UI over $40,000 in tuition for

his first year. He had also paid UI expenses from his undergraduate studies.

128.    After expelling Doe without justification, and without credible evidence he had violated UI’s

policies and procedures, UI retained Doe’s tuition.

129.    Doe was expelled within weeks of his starting a new semester and before he could receive credit

for the courses he took during his previous semester for his incompletes.

130.    Doe did not have accommodations/resources available to him as the UI’s sexual misconduct

website did not have a link for resources available to respondents when Doe went through UI’s

investigation and hearing. The accommodations would have helped Doe finish his incompletes from the

previous semester.




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131.    Upon information and belief, UI added resources for respondents after Doe raised his concern in

the Board appeal about not having accommodations available to him during UI Judicial Process.

132.    Doe’s transcript was permanently marked.

133.    It was unjust for UI to retain Doe’s tuition, under these circumstances.

134.    Because of the foregoing, Doe is entitled to damages in an amount to be determined at trial, plus

prejudgment interest.

I.       COUNT 11 Injunctive Relief (Against UI, Angie Reams, and Keller)
135.    Doe realleges and incorporates all the allegations contained in preceding paragraphs of this

Complaint as though fully rewritten herein.

136.    Based on the facts articulated above and below, Doe is entitled to injunctive relief because UI

and/or State Defendants’ discipline of Doe is unlawful and violates Doe’s rights under UI’s policies,

federal and/or state laws.

137.    UI and/or State Defendants’ unlawful discipline of Doe will cause irreparable harm which is

certain, great, actual and not theoretical.

138.    Doe will have to continue his education from Fall 2019 by enrolling in classes offered only in the

Fall semester as his classes are offered only once a year. The longer the break from his education, the

lower the chances of him retaining his knowledge already acquired in his degree will be for when he takes

the comprehensive exam and his licensure exams required to complete his degree.

139.    Doe will also suffer irreparable harm if Doe does not re-apply for his F-1 visa back again soon.

140.    As a direct and proximate result of the Defendants’ violations of Doe’s constitutional rights, Doe,

in the absence of injunctive relief will suffer severe and substantial damages. These damages include but
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not limited to diminished earnings capacity, lost career and business opportunities, litigation expenses

including attorney fees, immigration issues, loss of reputation, humiliation, embarrassment,

inconvenience, mental and emotional anguish and distress, and other compensatory damages, in an

amount to be determined by a jury and the Court

141.   UI and/or State Defendants’ unlawful discipline of Doe cannot be remedied by an award of

monetary damages because of difficulty or uncertainty in proof or calculation.

142.   Based on the facts articulated above, Doe is entitled to injunctive relief which includes, but is not

limited to an Order requiring UI and/or State Defendants expunge Doe’s official UI files of all information

including but not limited to information related to all his interactions with Lisa and Sally, any records kept

by the Dean of Students.

143.   Granting injunctive relief will cause no harm to UI and/or State Defendants because these

defendants have no cognizable interest in the unlawful discipline of Doe.

144.   Granting injunctive relief will advance a significant and appreciable public interest by protecting

members of the public – like Doe –from having their fundamental rights threatened by unlawful

government action.

WHEREFORE, Doe prays judgment as hereinafter set forth.
J.       COUNT 12 Declaratory Judgment - (Violation of Due Process Provisions of
         United States and Iowa Constitutions) (Against UI, The Board, and/or
         Individual Defendants)
145.   Doe realleges and incorporates all the allegations contained in the preceding paragraphs of the

Complaint as though fully rewritten herein.




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146.    Section 9, Article I, Iowa Constitution, guarantees that no person shall be deprived of life, liberty,

or property without “due process of law.” The Due Process Clauses of the Iowa and United States

Constitutions are implicated by higher education disciplinary decisions, including the disciplinary

decisions under UI’s Policies.

147.    As detailed above, Doe and/or Individual Defendants have a dispute about whether the UI Policies

as applied to Doe violated the Due Process Clauses of the United States Constitution, the Due Process of

Law Clause of the Iowa Constitution, and the requirement that any hearing process be consistent with the

customs of a free society.

148.    Doe is entitled to a declaration that UI Policies, as applied to Doe, violate the Due Process Clause

of the United States Constitution and the Due Course of Law Clause of the Iowa Constitution, and entitled

Doe to reinstatement at UI.

149.    Further, as detailed in this Complaint, Doe also has a legal tangible interest in requiring UI to

administer UI Policies, Title IX, and/or OCR guidelines in a lawful manner.

150.    As detailed in this Complaint, UI is opposing Doe’s aforementioned legal tangible interest in part

because of UI’s violations of Doe’s rights under Title IX and/or UI Policies.

151.    Therefore, an actual controversy also exists between Doe and UI concerning said legal tangible

interests.

152.    Judicial intervention is required because unless UI is enjoined, its unlawful acts will cause

irreparable harm to Doe which includes, but is not limited to: (a) denying Doe the benefits of his education

at UI; (b) damage to Doe’s academic and professional reputation; and/or (c) Doe’s inability to enroll at

other institutions of higher education and to pursue his chosen career.

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WHEREFORE, regarding Count 12, Doe demands a Declaratory Judgment that UI violated Doe’s rights

under UI Policies, Title IX and/or OCR regulations.

153.   Doe demands judgment and relief against UI as follows:

(A)    Compensatory and punitive damages in an amount to be determined at trial.

(B)    (a) Order(s) requiring UI to reinstate Doe as a student and expunge Doe’s official and unofficial

UI files of all information related to his interactions with Sally and Lisa, including but not limited to any

records kept by the Dean of Students, charges and sanctions served, and prohibiting UI from disclosing

such information to any third party; (b) judgment for attorneys’ fees under any applicable statute; (c) a

permanent injunction prohibiting UI from: (i) enforcing discipline that resulted from the unconstitutional

hearing, and (ii) subjecting Doe to further disciplinary proceedings; (d) a declaration that (i) UI violated

Doe’s due process rights and its actions were motived by gender (ii) UI violated Doe’s due process rights

and its actions were motivated by race (iii) Doe was unjustly sanctioned by UI (iv) UI’s lack of due process

hurts minorities and people of color the most (d) Judgment for all other reasonable and customary costs

and expenses incurred in pursuit of this action; (e) Pre-judgment interest as may be permitted by law and

statute; and/or (f) such other and further relief as this court may deem just, proper, equitable, and

appropriate.

K.     COUNT 13 1st and 14th Amendments - (Violation of First Amendment Free Speech

Protections of 1st and 14th Amendments) (Against Frost)

154.   Doe reasserts all of the above allegations as set forth herein.

155.   Frost’s Report found that Mr. Doe sexually harassed Lisa Doe based upon, among other things,

wishing her a Christmand and asking her about “the cutest gift she received for the holidays.”

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156.      That text exchange was not unwelcome, or sexually based.

157.      Doe had a 1st Amendment right to engage in such speech with other persons such as Roe.

158.      Doe was punished, in part, based upon that statement that was not hostile, sexually based, or

imminently threatening.

159.      It was protected speech and Frost violated his right by sanctioning him in part based upon that

speech.

PRAYER FOR RELIEF

160.      For the above reasons, Doe seeks nominal, compensatory damages, and attorney fees under 42

U.S.C. Section 1988.

                                              Respectfully submitted,

                                              RESPECTFULLY SUBMITTED,
                                              /s/ Rockne Cole
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